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13
                           IN THE UNITED STATES DISTRICT COURT
14
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                                       SOUTHERN DIVISION
16
       MASIMO CORPORATION,                   ) Case No. 8:20-cv-00048-JVS-JDE
17
       a Delaware corporation; and           )
       CERCACOR LABORATORIES, INC.,          ) JOINT STIPULATION
18
       a Delaware corporation                ) REGARDING PLAINTIFFS’
                                             ) SECOND MOTION TO COMPEL
19
                Plaintiffs,                  ) APPLE TO PRODUCE
                                             ) DOCUMENTS AND FULLY
20
           v.                                ) ANSWER INTERROGATORIES
                                             )
       APPLE INC., a California corporation )) [Discovery  Document: Referred to
21
                                                Magistrate Judge John D. Early]
22
                Defendant.                   )
                                             ) Date: May 20, 2021
23                                           ) Time: 10:00am
                                             )
24                                           ) Ctrm: 6A
                                             )
25                                           ) Discovery Cut-Off:     7/5/2021
                                             )
26                                           ) Pre-Trial Conference: 3/21/2022
                                             ) Trial:                 4/5/2022
27                                           )
                                             ) Hon. James V. Selna
28                                           ) Magistrate Judge John D. Early
                          REDACTED VERSION OF DOCUMENT
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1           Pursuant to Federal Rule of Civil Procedure 37 and Local Rule 37-2, Plaintiffs
 2    Masimo Corporation and Cercacor Laboratories, Inc. (collectively, “Plaintiffs”), as
 3    movant, and Defendant Apple, Inc. (“Apple”), as respondent, through their respective
 4    counsel of record, submit this joint stipulation in connection with Masimo’s Second Motion
 5    To Compel Apple To Produce Documents And Fully Answer Interrogatories. Pursuant to
 6    Local Rule 37-1, this Joint Stipulation was prepared following the parties’ conference of
 7    counsel, which took place on February 16 and 17, 2021.
 8                             I. INTRODUCTORY STATEMENTS
 9    A.    Plaintiffs’ Introductory Statement
10          Plaintiffs filed a first motion to compel regarding technical information. This second
11    motion primarily concerns sales/marketing information, and information about Plaintiffs’
12    former employees who went to Apple. Similar to the first motion, Apple initially agreed
13    to produce responsive documents for some requests. When the Court stayed Plaintiffs’
14    patent claims, Apple withdrew its commitment and argued Plaintiffs “surprised” Apple
15    with a “woefully deficient disclosure” under California Code of Civil Procedure
16    § 2019.210. Ex. 10; Dkt. 259-1 at 7-8.1 Plaintiffs tried to discuss Apple’s other objections
17    while the Section 2019.210 objection was pending, but Apple refused. Ex. 13. After the
18    Court found Plaintiffs’ Section 2019.210 disclosure sufficient (Dkt. 279), Apple waited
19    weeks and unleashed a torrent of new objections and limitations to producing documents.
20    Exs. 21 and 22. Plaintiffs attempted to find a compromise, but were unable to resolve all
21    issues. Plaintiffs address the parties’ disputes below.
22          First, Plaintiffs move to compel on RFPs 82, 98, 99, 107, 163, and 164. Despite this
23    Court overruling Apples Section 2019.210 objection three months ago, the parties meeting
24    for hours on February 16-17, and Plaintiffs sending at least six emails and letters, Apple
25    refuses to provide its position on these RFPs. Apple recently ignored Plaintiffs’ March 25
26

27    1
        All exhibits in Plaintiffs’ sections are attached to the Declaration of Adam B. Powell,
28    filed concurrently. All emphasis in Plaintiffs’ sections is added unless noted otherwise.


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1     letter for weeks and responded on April 11 by again refusing to provide its position.
 2    Plaintiffs regret moving to compel on these RFPs without knowing Apple’s position, but
 3    see no other option now that only three months remain for discovery.
 4          Second, Plaintiffs move to compel on RFPs 101-106, 108, and 109, which seek sales
 5    and marketing information about the Apple Watch. Apple asserts the requests are not
 6    relevant, but the requests are directly relevant to Plaintiffs’ damages and business and
 7    marketing trade secrets. Apple also now claims it cannot “understand” one of these
 8    requests, but Apple previously offered to produce documents “sufficient to show” the
 9    requested information. Apple also claims some requests are too broad because they refer
10    to “physiological monitoring.” But the parties have repeatedly targeted their discovery
11    requests to that subject matter. Indeed, Apple proposed using this term to narrow other
12    RFPs and used the same term in its own RFPs to Plaintiffs.
13          Apple also states it will produce documents for some RFPs only if Apple decides
14    they “relate” to “the alleged trade secrets in Plaintiffs’ Section 2019.210 disclosure . . . .”
15    Ex. 24 at 10-11. But Section 2019.210 is a procedural requirement to “commenc[e]
16    discovery”—not a basis to withhold particular documents.             See Cal. Civ. P. Code
17    § 2019.210. The scope of discovery is broader than the specific trade secrets identified in
18    a Section 2019.210 disclosure. Thus, Section 2019.210 helps guide discovery much like a
19    patent claim guides discovery in a patent case. However, it does not provide a basis to
20    withhold specific responsive documents based on the defendant’s unilateral decision that
21    those specific documents do not relate to Plaintiffs’ Section 2019.210 disclosure.
22          Third, Plaintiffs move to compel on RFPs 165-170, which seek documents about
23    Apple’s sales and marketing of Plaintiffs’ products. Apple’s sole objection to these
24    requests is that they are not relevant, but the requests are directly relevant to Plaintiffs’
25    damages and Plaintiffs’ business and marketing trade secrets.
26          Fourth, Plaintiffs move to compel on RFPs 67-70 and 155-157, which seek
27    information about Apple’s attempts to obtain FDA approval of the Apple Watch and
28    Apple’s clinical trials for the Apple Watch. Apple claims it “has not sought FDA approval

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1     or submitted to or received from the FDA or any other government agency any documents
 2    for any of the Apple Watch products and thus there are no documents responsive to these
 3    RFPs.” Ex. 24 at 9. When Plaintiffs showed that was false, Apple argued it sought
 4    approval of “apps” that run on the Apple Watch—not the watch itself. Ex. 27 at 2. But
 5    Plaintiffs’ RFPs, and the issues in this case, do not distinguish between the Apple Watch
 6    hardware and the Apple “app” software that interacts with such hardware. Indeed, the
 7    “app” at issue here is the Apple “Health” app that is pre-installed on the Apple Watch and
 8    provides measurements obtained by Apple’s hardware. With respect to clinical trials,
 9    Apple again seeks to improperly withhold specific responsive documents that Apple
10    believes do not relate to Plaintiffs’ trade secrets.
11          Fifth, Plaintiffs move to compel on RFPs 226 and 230-235, which seek information
12    about the use and disclosure of Plaintiffs’ trade secrets by Plaintiffs’ former employees.
13    Apple again seeks to withhold specific responsive documents that—in its opinion—do not
14    directly relate to Plaintiffs’ description of trade secrets. That is wrong for the reasons
15    discussed above. Apple also argues it should not have to produce documents on former
16    employees other than the two individuals specifically mentioned in the complaint. But
17    Plaintiffs’ allegations are broader than those two individuals and Apple does not dispute
18    that it employs many former employees on relevant projects.
19          Sixth, Plaintiffs move to compel on RFPs 236-237, 239-241, 244-246, and 248,
20    which seek documents about Apple’s efforts to recruit Plaintiffs’ employees, HR files for
21    Plaintiffs’ former employees, and documents about promotions and terminations. Such
22    documents are relevant to many issues, including to show Apple knew it was obtaining
23    Plaintiffs’ trade secrets. Apple states it will produce only the specific documents within
24    those files that Apple deems relevant. Apple should not be permitted to withhold particular
25    documents within this category of responsive documents. HR files are easy to locate,
26    would not be burdensome to produce, and Apple can redact personal information.
27          Seventh, Plaintiffs move to compel on Interrogatory 10, which seeks information
28    about Apple’s comparisons and testing of competitive products. Apple refuses to provide

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1     any response unless Plaintiffs first confirm that the information in a single document that
 2    Apple cited “reflects the type of information Plaintiffs seek.” Id. But Plaintiffs responded
 3    to Apple’s assertions about that document two months ago, explaining that document does
 4    not provide much of the information sought by this interrogatory.
 5          Finally, Plaintiffs move to compel on RFPs 180, 187, 191, 192, and 197-206, which
 6    concern technical information similar to information at issue in the first motion to compel.
 7    Plaintiffs thought the parties reached an agreement, but Apple raised new objections and
 8    now asserts Apple is withholding responsive documents. Apple presents no valid basis for
 9    withholding documents. The Court should grant Plaintiffs’ motion.
10    B.    Defendant’s Introductory Statement
11          As Apple explained in response to Plaintiffs’ last motion to compel (ECF 353-1),
12    Apple already produced, or has already agreed to produce, responsive information that is
13    relevant and proportional to Plaintiffs’ claims. Moreover, the parties were still negotiating
14    the scope of many of the RFPs at issue on this motion at the time Plaintiffs elected to move
15    forward with the Joint Stipulation process. Plaintiffs jumped the gun and insist on wasting
16    the Court’s time with a second motion that is just as premature and flawed as their first.
17    The additional information Plaintiffs seek has no relation to the alleged trade secrets
18    identified in Plaintiffs’ Section 2019.210 disclosure or to the sole product line (the Apple
19    Watch) that Plaintiffs allege in their Fourth Amended Complaint incorporates those alleged
20    trade secrets. Plaintiffs are simply wrong in asserting that discovery that lacks a nexus to
21    their Section 2019.210 disclosure or their complaint is proper, when the very purpose of
22    both documents is to frame the scope of permissible discovery. Plaintiffs are not entitled
23    to engage in staggeringly overbroad discovery from Apple’s sensitive files, and the burden
24    on Apple of responding to such broad and irrelevant requests far outweighs any potential
25    benefit here because none of that additional discovery is germane to the issues in this case.
26          Plaintiffs’ accusation that Apple reneged on its agreement to respond to their
27    improper requests is false. Apple objected to the requests on the ground that trade secret-
28    related discovery was stayed until the Court resolved the parties’ dispute with respect to

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1     Plaintiffs’ Section 2019.210 disclosure. It would have made no sense for the parties to
 2    discuss Apple’s other objections to trade secret-related requests before the Court resolved
 3    the threshold question of whether Plaintiffs could proceed with trade secret-related
 4    discovery at all. Once the Court ruled on the Section 2019.210 dispute, Apple promptly
 5    informed Plaintiffs that it was prepared to meet and confer about its other objections. At
 6    no point did Apple agree to produce documents responsive to overbroad requests—like
 7    those at issue on this motion—that are not relevant or proportional to this case.
 8          RFPs 82, 98, 99, 107, 163, and 164.            Three of these RFPs request forecast
 9    information that Apple already told Plaintiffs it does not possess. And if Plaintiffs had
10    completed the meet-and-confer process before serving this Joint Stipulation, they would
11    have learned that Apple is already seeking permission to produce any third-party market
12    data—the only information in its possession that comes close to that which Plaintiffs seek.
13    Plaintiffs would have also learned that Apple agrees to produce documents responsive to
14    RFP 82, located based on custodians and search terms. Plaintiffs’ efforts to obtain
15    documents in response to the remaining RFPs are unavailing, because those RFPs extend
16    far beyond the alleged trade secrets in this case.
17          RFPs 101–106, 108, and 109. These RFPs are overbroad and unduly burdensome.
18    They cover documents concerning technology and products that have nothing to do with
19    the misappropriation allegations in this case. Indeed, many of these RFPs seek information
20    regarding irrelevant Apple products nowhere mentioned in the Complaint. The Court
21    should order Apple’s reasonable compromises with respect to these RFPs—tying them to
22    the alleged trade secrets and accused products in this case.
23          RFPs 165–170. These RFPs likewise go beyond the accused products in this case—
24    and, in fact, Plaintiffs barely even attempt to justify their overbreadth. Plaintiffs focus their
25    relevance argument on the fact that they are requesting information about Apple’s
26    marketing of Plaintiffs’ products, but Plaintiffs have provided no explanation as to how
27    Apple’s marketing of Plaintiffs’ products has anything to do with Plaintiffs’ claims that
28    Apple misappropriated Plaintiffs’ alleged trade secrets to sell Apple’s products.

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1           RFPs 67–70 and 155–157. Plaintiffs’ motion to compel documents concerning
 2    FDA approval should be denied because—as Apple has on numerous occasions explained
 3    to Plaintiffs—Apple has not sought FDA approval for the Apple Watch or any “Apple
 4    Watch Product.” Plaintiffs are correct that Apple sought FDA approval for an app that can
 5    be used with the Apple Watch, but the app does not relate—and Plaintiffs do not allege
 6    that the app relates—to the alleged trade secrets or other issues in this case. Documents
 7    concerning that FDA approval process are completely irrelevant.
 8          RFPs 226 and 230–235. These RFPs seek information about a broad swatch of
 9    “Former Employees”—i.e., employees of Apple who previously worked for Plaintiffs.
10    Apple has repeatedly explained to Plaintiffs that Apple employees are not relevant to this
11    case merely because they worked for Plaintiffs in the past. There must be some connection
12    to the claims in this case for Plaintiffs to be entitled to discovery on these topics. Apple
13    has attempted to continue negotiating the list of relevant “Former Employees” with
14    Plaintiffs in an effort to resolve these disputes. But Plaintiffs have refused, instead bringing
15    this motion to compel numerous categories of information related to an overbroad and
16    unresolved list of “Former Employees.”
17          RFPs 236–237, 239–241, 244–246, and 248. Many of these RFPs concern efforts
18    to solicit Plaintiffs’ employees, which are irrelevant because there is no solicitation claim
19    in this case. Nonetheless, Apple agreed to produce responsive discovery relating to the
20    two former employees actually referenced in the complaint—Michael O’Reilly and
21    Marcelo Lamego. Plaintiffs’ requests for more are unjustified—as is their request for full
22    human resources files for O’Reilly, Lamego, and countless other former employees of
23    Plaintiffs. These RFPs are not relevant, and they certainly are not proportional.
24          Interrogatory No. 10. There is nothing for the Court to compel with respect to this
25    interrogatory because Apple never refused to respond. Apple conducted a reasonable
26    investigation to identify responsive information and then sought clarity from Plaintiffs
27    about the interrogatory. Plaintiffs responded with requests for additional information, and
28    the parties moved forward with negotiations. Plaintiffs thereafter abruptly served this Joint

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1     Stipulation, making this dispute entirely premature.
 2          RFPs 180, 187, 191, 192, and 197–206. Apple agreed to produce documents
 3    responsive to RFPs 191, 197, and 202, and therefore those RFPs are not at issue on this
 4    motion. For other RFPs, the requests again are not tethered to the accused products in this
 5    case (as identified in the complaint), and still for other RFPs, the requests again are not
 6    tethered to the alleged trade secrets in this case (as identified in Plaintiffs’ Section 2019.210
 7    disclosure). Plaintiffs’ continued requests for boundless discovery that is not tethered to
 8    the documents setting out their case should be denied.
 9                             [remainder of page left intentionally blank]
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1                     II. PLAINTIFFS’ RFPS 82, 98, 99, 107, 163, AND 164
 2          Pursuant to Local Rule 37-2, below is the full text of Plaintiffs’ RFPs 82, 98, 99,
 3    107, 163, and 164, and Apple’s response to each request. The parties’ respective points
 4    and authorities follow below.
 5          REQUEST FOR PRODUCTION NO. 82:
 6                 All documents including all communications related to complaints,
            concerns, or criticisms about the accuracy or reliability of measurements for
 7
            pulse rate, heart rate, plethysmograph, or detecting arrhythmia for any Apple
 8          Watch Product.
 9          RESPONSE TO REQUEST FOR PRODUCTION NO. 82:
10                Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
11
                    Apple objects to this Request to the extent it seeks documents and
12          things protected from discovery by the attorney-client privilege, the work-
13          product doctrine, the common-interest privilege, and/or any other applicable
            privilege, immunity, or protection. Apple objects to this Request as overbroad
14          and unduly burdensome to the extent it seeks information neither relevant to
15          the issues in the present action nor reasonably calculated to lead to the
            discovery of admissible evidence. Apple objects to this Request to the extent
16          that it seeks information already in Plaintiffs’ possession or information that
17          is obtainable from another source, such as publicly available materials, that is
            more convenient, less burdensome, or less expensive. Apple objects to this
18          Request to the extent it seeks documents related to products that are not
19          relevant to this litigation or documents related to products Plaintiffs have not
            identified in their Complaint or otherwise accused of infringement. Apple
20          objects to this Request as overbroad and unduly burdensome because it is not
21          limited to the publicly released Apple Watch Series 3-5 devices identified and
            alleged in Plaintiffs’ infringement allegations to infringe the Asserted Patents.
22          Apple objects to this Request on the grounds that it is overly broad and unduly
23          burdensome to the extent it requests “[a]ll documents” relating to the subject
            matter of the request. Apple objects to this Request because it seeks “all
24          communications,” which will be negotiated and produced pursuant to the ESI
25          Order in this case. Apple objects to this Request as overly broad and unduly
            burdensome because it is not reasonably limited to the scope of infringement
26          allegations in this litigation. Apple expressly preserves its objection to
27          producing any documents or things that relate to Plaintiffs’ trade secret
            misappropriation claim, even if they also relate to other claims, until Plaintiffs
28          comply with Section 2019.210. Nonetheless, based on this Court’s April 17,

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1           June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will withhold only
 2
            documents or things that relate solely to Plaintiffs’ trade secret
            misappropriation claim until Plaintiffs comply with Section 2019.210—
 3          without waiving, or intending to waive, the preceding objection.
 4                 Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
 5
            Stipulation entered in this case, Apple agrees to produce documents related to
 6          the technical features accused of infringement and responsive to the
            unobjectionable scope of this Request, to the extent such information exists
 7
            and is located after a reasonably diligent search. Unless otherwise expressly
 8          agreed in writing by the parties, a reasonable search shall be limited to a search
            of (i) the files of specific custodians negotiated between the parties, whose
 9
            files are in the possession, custody, or control of Apple, using (ii) specific
10          search terms negotiated between the parties.
11          REQUEST FOR PRODUCTION NO. 98:
12                All documents and things referring or relating to forecasts or
            projections regarding sales, revenue, expenses, and/or profit associated with
13          changes between the Apple Watch Series 3 and the Apple Watch Series 4.
14          RESPONSE TO REQUEST FOR PRODUCTION NO. 98:
15                Apple incorporates by reference its General Objections and Objections
16
            to Definitions and Instructions.
                    Apple objects to this Request to the extent it seeks documents and
17
            things protected from discovery by the attorney-client privilege, the work-
18          product doctrine, the common interest privilege, and/or any other applicable
            privilege, immunity, or protection. Apple objects to this Request as overbroad
19
            and unduly burdensome to the extent it seeks information neither relevant to
20          the issues in the present action nor reasonably calculated to lead to the
            discovery of admissible evidence. Apple objects to this Request as vague,
21
            ambiguous, overly broad, and unduly burdensome because it uses the
22          undefined phrase “associated with changes.” Apple objects to this Request on
            the grounds that it is overly broad and unduly burdensome to the extent it
23
            requests “[a]ll documents and things” relating to the subject matter of the
24          request. Apple objects to this Request as overbroad and unduly burdensome
25
            to the extent it requests information predating the release of the Accused
            Products and, in fact, is not limited to any relevant time period. Apple
26          expressly preserves its objection to producing any documents or things that
27
            relate to Plaintiffs’ trade secret misappropriation claim, even if they also relate
            to other claims, until Plaintiffs comply with Section 2019.210. Nonetheless,
28          based on this Court’s April 17, June 15, and July 14 Orders (Dkt. Nos. 37, 54,

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1           79), Apple will withhold only documents or things that relate solely to
 2
            Plaintiffs’ trade secret misappropriation claim until Plaintiffs comply with
            Section 2019.210—without waiving, or intending to waive, the preceding
 3          objection.
 4                Subject to and without waiver of the foregoing General and Specific
            Objections, Apple is willing to meet and confer to discuss the mutual
 5
            exchange of relevant and reasonable financial information.
 6
            REQUEST FOR PRODUCTION NO. 99:
 7                All documents and things referring or relating to forecasts or
 8          projections regarding sales, revenue, expenses, and/or profit associated with
            changes between the Apple Watch Series 4 and the Apple Watch Series 5.
 9
            RESPONSE TO REQUEST FOR PRODUCTION NO. 99:
10
                  Apple incorporates by reference its General Objections and Objections
11          to Definitions and Instructions.
12                 Apple objects to this Request to the extent it seeks documents and
            things protected from discovery by the attorney-client privilege, the work-
13
            product doctrine, the common- interest privilege, and/or any other applicable
14          privilege, immunity, or protection. Apple objects to this Request as overbroad
            and unduly burdensome to the extent it seeks information neither relevant to
15
            the issues in the present action nor reasonably calculated to lead to the
16          discovery of admissible evidence. Apple objects to this Request as vague,
            ambiguous, overly broad, and unduly burdensome because it uses the
17
            undefined phrase “associated with changes.” Apple objects to this Request on
18          the grounds that it is overly broad and unduly burdensome to the extent it
            requests “[a]ll documents and things” relating to the subject matter of the
19
            request. Apple expressly preserves its objection to producing any documents
20          or things that relate to Plaintiffs’ trade secret misappropriation claim, even if
            they also relate to other claims, until Plaintiffs comply with Section 2019.210.
21
            Nonetheless, based on this Court’s April 17, June 15, and July 14 Orders (Dkt.
22          Nos. 37, 54, 79), Apple will withhold only documents or things that relate
            solely to Plaintiffs’ trade secret misappropriation claim until Plaintiffs comply
23
            with Section 2019.210—without waiving, or intending to waive, the
24          preceding objection.
25                Subject to and without waiver of the foregoing General and Specific
            Objections, Apple is willing to meet and confer to discuss the mutual
26
            exchange of relevant and reasonable financial information.
27

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1           REQUEST FOR PRODUCTION NO. 107:
 2                All documents and things referring or relating to, or otherwise
            evidencing, the impact or projected impact of Defendant’s incorporation of
 3
            any physiological measurement technology in Defendant’s Apple Watch
 4          Products on the sales price or sales volume of any third-party product that
            competes for sales with the Apple Watch Products.
 5
            RESPONSE TO REQUEST FOR PRODUCTION NO. 107:
 6
                  Apple incorporates by reference its General Objections and Objections
 7          to Definitions and Instructions.
 8                 Apple objects to this Request to the extent it seeks documents and
 9          things protected from discovery by the attorney-client privilege, the work-
            product doctrine, the common- interest privilege, and/or any other applicable
10          privilege, immunity, or protection. Apple objects to this Request as overbroad
11          and unduly burdensome to the extent it seeks information neither relevant to
            the issues in the present action nor reasonably calculated to lead to the
12          discovery of admissible evidence. Apple objects to this Request to the extent
13          it seeks documents related to products that are not relevant to this litigation or
            documents related to products Plaintiffs have not identified in their Complaint
14          or otherwise accused of infringement. Apple objects to this Request as
15          overbroad and unduly burdensome because it is not limited to the publicly
            released Apple Watch Series 3-5 devices identified and alleged in Plaintiffs’
16          infringement allegations to infringe the Asserted Patents. Apple objects to this
17          Request on the grounds that it is overly broad and unduly burdensome to the
            extent it requests “[a]ll documents and things” relating to the subject matter
18          of the request. Apple objects to this Request as overbroad and unduly
19          burdensome to the extent it requests information predating the release of the
            Accused Products and, in fact, is not limited to any relevant time period. Apple
20          objects to this Request as vague, ambiguous, overly broad, and unduly
21          burdensome because it is not limited to the asserted claims of the patents
            asserted by Plaintiffs in their Complaint. Apple objects to this Request as
22          vague, ambiguous, overly broad, and unduly burdensome because it uses the
23          undefined phrase “physiological measurement technology.” Apple objects to
            this Request as overly broad and unduly burdensome because it is not
24          reasonably limited to the scope of infringement allegations in this litigation.
25          Apple expressly preserves its objection to producing any documents or things
            that relate to Plaintiffs’ trade secret misappropriation claim, even if they also
26          relate to other claims, until Plaintiffs comply with Section 2019.210.
27          Nonetheless, based on this Court’s April 17, June 15, and July 14 Orders (Dkt.
            Nos. 37, 54, 79), Apple will withhold only documents or things that relate
28          solely to Plaintiffs’ trade secret misappropriation claim until Plaintiffs comply

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1           with Section 2019.210—without waiving, or intending to waive, the
 2
            preceding objection.
                  Subject to and without waiver of the foregoing General and Specific
 3
            Objections and under the provisions of the Protective Order and ESI
 4          Stipulation entered in this case, Apple agrees to produce documents
            responsive to the unobjectionable scope of this Request, to the extent such
 5
            information exists and is located after a reasonably diligent search.
 6
            REQUEST FOR PRODUCTION NO. 163:
 7                All documents and things referring or relating to forecasts or projections
 8          regarding sales, revenue, expenses, and/or profit associated with changes
            between the Apple Watch Series 5 and the Apple Watch Series 6.
 9
            RESPONSE TO REQUEST FOR PRODUCTION NO. 163:
10
                  Apple incorporates by reference its General Objections and Objections
11          to Definitions and Instructions.
12                 Apple objects to this Request to the extent it seeks documents and things
            protected from discovery by the attorney-client privilege, the work-product
13
            doctrine, the common-interest privilege, and/or any other applicable privilege,
14          immunity, or protection. Apple objects to this Request as overbroad and
            unduly burdensome to the extent it seeks information neither relevant to the
15
            issues in the present action nor reasonably calculatedto lead to the discovery
16          of admissible evidence. Apple objects to this Request on the grounds that it is
            overly broad and unduly burdensome because it requests “all documents and
17
            things” relating to the subject matter of the request. Apple objects to this
18          Request as unduly burdensome to the extent it seeks information of a type not
            maintainedby Apple and/or in a format different from the format in which
19
            Apple maintains its datain the normal course of business. Apple objects to this
20          Request because it is seeks discovery related to Plaintiffs’ patent infringement
            allegations, which have been stayedby the Court.
21
                   Subject to and without waiver of the foregoing General and Specific
22
            Objections and under the provisions of the Protective Order and ESI
23          Stipulation entered in this case,in view of the Court’s October 14, 2020 Order
            (Dkt. No. 220) granting Apple’s Motionto Stay, the issues related to Plaintiffs’
24
            patent infringement allegations are moot and thus Apple declines to respond to
25          this Request. Additionally, to the extent this Request seeksdocuments related
            to trade secret discovery, because Plaintiffs’ Section 2019.210 Statement,
26
            dated November 6, 2020, is deficient, including for reasons identified in
27          Apple’s October 16, 2020 letter, and the Court stayed Plaintiffs’ trade secret
28


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1           discovery pending compliance with Section 2019.210, Apple declines to
 2
            respond to this Request at this time.
            REQUEST FOR PRODUCTION NO. 164:
 3
                  All documents and things referring or relating to forecasts or projections
 4
            regarding sales, revenue, expenses, and/or profit associated with including
 5          pulse oximetry in an Apple Watch Product.
 6          RESPONSE TO REQUEST FOR PRODUCTION NO. 164:
 7                Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
 8
                   Apple objects to this Request to the extent it seeks documents and things
 9          protected from discovery by the attorney-client privilege, the work-product
            doctrine, the common-interest privilege, and/or any other applicable privilege,
10
            immunity, or protection. Apple objects to this Request as overbroad and
11          unduly burdensome to the extent it seeks information neither relevant to the
12
            issues in the present action nor reasonably calculatedto lead to the discovery
            of admissible evidence. Apple objects to this Request to the extent it seeks
13          documents related to products that are not relevant to this litigation or
14
            documents related to products Plaintiffs have not identified in their Complaint
            or otherwise accused of infringement. Apple objects to this Request on the
15          grounds that itis overly broad and unduly burdensome because it requests “all
16
            documents and things” relating to the subject matter of the request. Apple
            objects to this Request as unduly burdensome to the extent it seeks
17          information of a type not maintained by Apple and/or in a format different
18          from the format in which Apple maintains its data in the normal course of
            business. Apple objects to this Request because it is seeks discovery related
19          to Plaintiffs’ patent infringement allegations, which have been stayed by the
20          Court.
                   Subject to and without waiver of the foregoing General and Specific
21
            Objections and under the provisions of the Protective Order and ESI
22          Stipulation entered in this case, in view of the Court’s October 14, 2020 Order
            (Dkt. No. 220) granting Apple’s Motion to Stay, the issues related to
23
            Plaintiffs’ patent infringement allegations are moot and thus Apple declines
24          to respond to this Request. Additionally, to the extent this Request seeks
25
            documents related to trade secret discovery, because Plaintiffs’ Section
            2019.210 Statement, dated November 6, 2020, is deficient, including for
26          reasons identified in Apple’s October 16, 2020 letter, and the Court stayed
27
            Plaintiffs’ trade secret discovery pending compliance with Section 2019.210,
            Apple declines to respond to this Request at this time.
28


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1     A.    Plaintiffs’ Position
 2          These RFPs seek a variety of information that is directly relevant to Plaintiffs’
 3    claims. RFP 82 seeks documents about the importance of accurate measurements and
 4    criticisms regarding the accuracy of certain physiological monitoring features of the Apple
 5    Watch, which are relevant at least to showing Apple desired to obtain and incorporate
 6    Plaintiffs’ more accurate technology. RFPs 98, 99, and 163 seek documents about financial
 7    forecasts and projections for changes between various versions of the Apple Watch, which
 8    are relevant to show the value of Plaintiffs’ trade secrets that Apple incorporated into later
 9    versions of the watch. RFPs 107 and 164 seeks documents about the impact or projected
10    impact of incorporating physiological monitoring technology, which is relevant for the
11    same reasons.
12          These RFPs are also proportional to the needs of this case. Rule 26 instructs that
13    courts are to consider “the importance of the issues at stake in the action, the amount in
14    controversy, the parties’ relative access to relevant information, the parties’ resources, the
15    importance of the discovery in resolving the issues, and whether the burden or expense of
16    the proposed discovery outweighs its likely benefit.” Fed. R. Civ. P. 27(b)(1). As
17    discussed above, the discovery requests seek information that is relevant to damages and
18    Plaintiffs’ trade secrets. The accused product (the Apple Watch) is the primary product in
19    Apple’s “wearables” division, which has revenues of nearly $13 billion per quarter. Ex.
20    31 at 2. The requested information is also in Apple’s exclusive possession. Finally, Apple
21    is worth $2 trillion and is the most valuable public company on earth. Ex. 32 at 2. Apple
22    cannot claim that it lacks the resources to gather the requested information. Thus, these
23    RFPs are relevant and proportional to the needs of the case.
24          Unfortunately, Plaintiffs do not know whether Apple will produce responsive
25    documents for any these requests, or what Apple’s objections are. Plaintiffs first served
26    these requests on July 17, 2020, and Apple responded on August 17, 2020. Apple agreed
27    to produce responsive documents for many RFPs, but withdrew that commitment on
28    October 17, 2020, after the Court stayed the patent case by arguing Plaintiffs had not

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1     complied with Section 2019.210. Ex. 10. Plaintiffs tried to discuss Apple’s other
 2    objections, but Apple refused. Ex. 17 (“When Plaintiffs provide a Section 2019.210-
 3    compliant disclosure, Apple will meet and confer with Plaintiffs regarding the relevance
 4    and scope of these RFPs”).
 5          After the Court overruled Apple’s Section 2019.210 objection, Plaintiffs contacted
 6    Apple again on January 27, 2021, to discuss these RFPs. Ex. 20. On February 11, Apple
 7    declined to provide its objections in writing and instead stated that it would “discuss” its
 8    objections for over one-hundred requests live over the phone. Ex. 21 at 2. After Plaintiffs
 9    pressed Apple for its position in writing, Apple provided its position on February 15 for
10    many RFPs, but declined to do so for these RFPs. See Ex. 22. When Apple also declined
11    to provide its position during the meet and confer on February 16 and 17, Plaintiffs again
12    asked Apple for its position on February 19. Ex. 23. On March 9, Apple responded by
13    stating it was “still looking into the questions you raised with respect to these RFPs, and
14    will get back in touch when we have further information.” Ex. 24 at 10. Plaintiffs followed
15    up again on March 25. Ex. 25. When Apple ignored that letter, Plaintiffs followed up
16    again on April 7. Ex. 26. Apple responded on April 11 and again stated it was “still
17    looking into RFPs 98, 99, 107, 163, and 164, and will get back to you with more
18    information as soon as we can.” Ex. 27 at 3. Apple mentioned RFP 82 in its heading, but
19    did not provide its position on that request either. Id. As of the service of this joint
20    stipulation on April 13, 2021, Apple has still not provided its position on these RFPs.
21          Plaintiffs regret having to bring this Motion on these RFPs, but see no other option
22    since Apple is refusing to provide its position. Discovery is set to close in July. See Ex.
23    41. Moreover, Apple recently argued there is so little time left in the schedule that the
24    Court should severely limit Apple’s discovery obligations. Dkt. 332-1 at 1. Plaintiffs
25    served these requests nine months ago and the Court overruled Apple’s Section 2019.210
26    objection three months ago. See Dkt. 279. Plaintiffs waited this long in an effort to resolve
27    the matter informally and avoid burdening the court, but now little time remains in the
28    schedule for Plaintiffs to wait for Apple to respond. Having failed to present its objections

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1     and meet and confer in good faith, Apple should not be permitted to assert objections and
 2    arguments for the first time in its opposition to Plaintiffs’ motion. The Court should order
 3    Apple to produce all documents responsive to RFPs 82, 98, 99, 107, 163, and 164.
 4    B.    Apple’s Position
 5          1.     Plaintiffs Served this Joint Stipulation Before Allowing the Meet and
 6                 Confer Process to Conclude
 7          Plaintiffs served Apple with their portion of this Joint Stipulation before the parties
 8    completed their meet and confers for these RFPs. Had Plaintiffs waited for Apple to
 9    finalize its position, they would have learned that RFPs 82, 98, 99, and 163 do not belong
10    in this motion.
11          RFP 82. Plaintiffs complain that “Apple mentioned RFP 82 in its heading, but did
12    not provide its position on that request,” J.S. 15—but the natural response to Apple’s
13    inadvertent failure to specifically address RFP 82 in the parties’ correspondence about
14    hundreds of RFPs would have been for Plaintiffs to follow-up with Apple about RFP 82,
15    not to serve a Joint Stipulation. If Plaintiffs had followed up and given Apple an
16    opportunity to finalize its position on RFP 82 instead of prematurely serving this Joint
17    Stipulation, they would have learned that Apple agrees to produce documents responsive
18    to RFP 82 identified based on search terms and custodians, and therefore RFP 82 is not at
19    issue on this motion.
20          RFPs 98, 99, and 163. Similarly, Plaintiffs complain that Apple has failed to
21    provide its position on the forecast-related information requested by these RFPs, but they
22    served their Joint Stipulation before the parties had concluded their negotiations concerning
23    this information. Apple repeatedly explained to Plaintiffs that Apple does not create such
24    forecast information for the products at issue in this case (the Apple Watch)—as Plaintiffs
25    admit. Plaintiffs’ Ex. 23, at 314 (acknowledging that “Apple explained that it does not
26    have forecasts ‘in the way that [Plaintiffs] think of them.’”). Apple simply does not have
27    any Apple information responsive to these Requests.
28


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1           After Apple explained this to Plaintiffs during the meet-and-confer process,
 2    Plaintiffs asked what, if anything, Apple looks to for forecast-related information—to
 3    which Apple responded that there may be third-party market research data. That is third-
 4    party information that does not belong to Apple. If Plaintiffs had continued the meet-and-
 5    confer process on this issue, they would have also learned that Apple is in the process of
 6    sending out the requisite notifications and requests for permission to the relevant third
 7    parties to produce this information to Plaintiffs. Apple informed Plaintiffs that it was still
 8    “looking into the questions [Plaintiffs] raised with respect to these RFPs” several times.
 9    Plaintiffs’ Ex. 24, at 327; see also Plaintiffs’ Ex. 27, at 349. But, instead of waiting for
10    Apple to obtain permissions to produce third-party documents, Plaintiffs served this
11    premature Joint Stipulation. To be clear, assuming there are no objections to production
12    from the third parties, Apple will produce to Plaintiffs any such third-party information
13    responsive to these RFPs. Apple is not aware of anything further in its possession, custody,
14    or control that it could produce in response to these RFPs.
15          2.     Plaintiffs’ RFPs 107 and 164 Are Overbroad Because They Exceed the
16                 Scope of Plaintiffs’ Alleged Trade Secrets
17          Finally, Plaintiffs’ RFPs 107 and 164 are demonstrably overbroad. As with the other
18    RFPs, however, if Plaintiffs had simply met and conferred further, they would have learned
19    that Apple has no objection to producing responsive documents so long as the RFPs are
20    limited to the alleged trade secrets Plaintiffs have put forth in their portion of the Joint
21    Stipulation as the sole justification for the RFPs. The narrative Plaintiffs are trying to
22    create about these RFPs is wrong. Apple was ready and willing to continue the meet-and-
23    confer discussions about these RFPs before Plaintiffs took the drastic step of serving a Joint
24    Stipulation. In any event, Apple’s position on these RFPs is set forth below.
25          RFPs 107 and 164 are overbroad because they are not tied to Plaintiffs’ alleged trade
26    secrets. In Plaintiffs’ words, RFPs 107 and 164 “seek documents about the impact or
27    projected impact of incorporating physiological monitoring technology,” which Plaintiffs
28    contend are “relevant to show the value of Plaintiffs’ trade secrets that Apple incorporated

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1     into later versions of the watch.” J.S. 14. But the concept raised by these RFPs—
 2    “physiological monitoring technology”—goes beyond Plaintiffs’ purported justification
 3    for these RFPs—the alleged “trade secrets” Plaintiffs have accused Apple of incorporating.
 4    In other words, Plaintiffs are requesting more information than that which pertains to the
 5    alleged “trade secrets” they have put forth as the sole justification for the information. That
 6    is, by definition, overbroad—because the requested information goes well beyond that
 7    which is relevant to the claims in this case. Accordingly, the RFPs in their current
 8    formulation fail Rule 26(b) scrutiny. See Cancino Castellar v. McAleenan, 2020 WL
 9    1332485, at *5 (S.D. Cal. Mar. 23, 2020) (“Regardless of its broad nature, however,
10    relevance is not without ‘ultimate and necessary boundaries,’” so “courts often link the
11    elements of a cause of action with the discovery sought.”).
12          In addition, Plaintiffs ignore the very purpose of Section 2019.210, which, as
13    explained below in Section III.B., infra, is to define the boundaries of trade secret discovery
14    before it begins, and to assist this Court and the parties in determining whether Plaintiffs’
15    requested discovery falls within those boundaries. See Computer Econ., Inc. v. Gartner
16    Grp., Inc., 50 F. Supp. 2d 980, 985 (S.D. Cal. 1999) (Section 2019.210 “fram[es] the
17    appropriate scope of discovery” and assists in “determin[ing] whether plaintiff’s discovery
18    requests fall within that scope”); see also, e.g., Albert’s Organics, Inc. v. Holzman, 2020
19    WL 4368205, at *3 (N.D. Cal. July 30, 2020) (“[S]ection 2019.210 . . . assists the court
20    and parties in defining the appropriate scope of discovery.” (citation omitted)).
21          Finally, Plaintiffs’ suggestion that Apple “failed to present its objections and meet
22    and confer in good faith” about RFPs 107 and 164, J.S. 15–16, is plain wrong. Apple has
23    complained about the overbreadth of both RFPs from the beginning—which is precisely
24    why the parties have a dispute about them. The RFPs are overbroad and untethered to the
25    alleged trade secrets in this case—and, therefore, Plaintiffs’ motion to compel should be
26    denied with respect to both RFPs 107 and 164.
27                            [remainder of page left intentionally blank]
28


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1                       III. PLAINTIFFS’ RFPS 101-106, 108, AND 109
 2          Pursuant to Local Rule 37-2, below is the full text of Plaintiffs’ RFPs 101-106, 108,
 3    and 109, and Apple’s response to each request. The parties’ respective points and
 4    authorities follow below.
 5          REQUEST FOR PRODUCTION NO. 101:
 6               All documents and things concerning any competitive analysis of any
            competitor to the Apple Watch Products.
 7
            RESPONSE TO REQUEST FOR PRODUCTION NO. 101:
 8
                  Apple incorporates by reference its General Objections and Objections
 9          to Definitions and Instructions.
10                 Apple objects to this Request to the extent it seeks documents and things
11          protected from discovery by the attorney-client privilege, the work-product
            doctrine, the common-interest privilege, and/or any other applicable privilege,
12          immunity, or protection. Apple objects to this Request as overbroad and
13          unduly burdensome to the extent it seeks information neither relevant to the
            issues in the present action nor reasonably calculatedto lead to the discovery
14          of admissible evidence. Apple objects to this Request to the extent it seeks
15          documents related to products that are not relevant to this litigation or
            documents related to products Plaintiffs have not identified in their Complaint
16          or otherwise accused of infringement. Apple objects to this Request as
17          overbroad and unduly burdensome because it is not limited to the publicly
            released Apple Watch Series3-5 devices identified and alleged in Plaintiffs’
18          infringement allegations to infringe the Asserted Patents. Apple objects to this
19          Request as vague, ambiguous, overly broad, andunduly burdensome because
            it uses the undefined phrase “competitor to the Apple Watch Products.” Apple
20          objects to this Request on the grounds that it is overly broad and unduly
21          burdensome to the extent it requests “[a]ll documents and things” relating to
            the subject matter of the request. Apple objects to this Request as overbroad
22          and unduly burdensome to the extent it requests information predating the
23          release of the Accused Products and, in fact, is not limited to any relevant time
            period. Apple objects to this Request as vague, ambiguous, overly broad, and
24          unduly burdensome because it is not limited to the asserted claims of the
25          patents asserted by Plaintiffs in their Complaint. Apple expressly preserves its
            objection to producing any documents or things that relateto Plaintiffs’ trade
26          secret misappropriation claim, even if they also relate to other claims, until
27          Plaintiffs comply with Section 2019.210. Nonetheless, based on this Court’s
            April 17, June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will
28          withhold only documents or things that relate solely to Plaintiffs’ trade secret

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1           misappropriation claim until Plaintiffs comply with Section 2019.210—
 2
            without waiving, or intending to waive,the preceding objection.
                  Subject to and without waiver of the foregoing General and Specific
 3
            Objections,Apple is willing to meet and confer with Plaintiffs to discuss the
 4          scope of this Request.
 5          REQUEST FOR PRODUCTION NO. 102:
 6                 All documents and things related to Apple’s evaluation of the health
            care marketfor Apple products including the Apple Watch Products, including
 7          but not limited to market size, market importance to Apple’s business,
 8          evaluation of target customers, and Apple’s considerations in entering the
            health care market.
 9
            RESPONSE TO REQUEST FOR PRODUCTION NO. 102:
10
                  Apple incorporates by reference its General Objections and Objections
11          to Definitions and Instructions.
12                  Apple objects to this Request to the extent it seeks documents and things
            protected from discovery by the attorney-client privilege, the work-product
13
            doctrine, the common-interest privilege, and/or any other applicable privilege,
14          immunity, or protection. Apple objects to this Request as overbroad and
            unduly burdensome to the extent it seeks information neither relevant to the
15
            issues in the present action nor reasonably calculated to lead to the discovery
16          of admissible evidence. Apple objects to this Request as vague,ambiguous,
            overly broad, and unduly burdensome because it uses the undefined phrases
17
            “health care market” and “importance.” Apple objects to this Request to the
18          extent it seeks documents related to products that are not relevant to this
            litigation or documentsrelated to products Plaintiffs have not identified in their
19
            Complaint or otherwise accusedof infringement. Apple objects to this Request
20          as vague, ambiguous, overly broad, andunduly burdensome because it uses
            the undefined phrase “Apple products.” Apple objects to this Request as
21
            overbroad and unduly burdensome because it is not limited to the publicly
22          released Apple Watch Series 3-5 devices identified and alleged in Plaintiffs’
            infringement allegations to infringe the Asserted Patents. Apple objects to this
23
            Requeston the grounds that it is overly broad and unduly burdensome to the
24          extent it requests “[a]ll documents and things” relating to the subject matter
25
            of the request. Apple objects to this Request as overbroad and unduly
            burdensome to the extent it requests informationpredating the release of the
26          Accused Products and, in fact, is not limited to any relevanttime period. Apple
27
            objects to this Request as vague, ambiguous, overly broad, and unduly
            burdensome because it is not limited to the asserted claims of the patents
28          asserted by Plaintiffs in their Complaint. Apple expressly preserves its

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1           objection to producing any documents or things that relate to Plaintiffs’ trade
 2
            secret misappropriation claim, even if they also relate to other claims, until
            Plaintiffs comply with Section 2019.210. Nonetheless, based on this Court’s
 3          April 17, June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will
 4          withhold only documents or things that relate solely to Plaintiffs’ trade secret
            misappropriation claim until Plaintiffs comply with Section 2019.210—
 5          without waiving, or intending to waive, the preceding objection.
 6                 Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
 7
            Stipulation entered in this case,Apple agrees to produce documents responsive
 8          to the unobjectionable scope of this Request, to the extent such information
            exists and is located after a reasonably diligent search.
 9
            REQUEST FOR PRODUCTION NO. 103:
10
                  All documents and things relating to differences, similarities, or
11          comparisons between the consumer market and the health care market for
12          Apple Watch Products.
13          RESPONSE TO REQUEST FOR PRODUCTION NO. 103:

14
                  Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
15
                    Apple objects to this Request to the extent it seeks documents and things
16          protected from discovery by the attorney-client privilege, the work-product
            doctrine, the common-interest privilege, and/or any other applicable privilege,
17
            immunity, or protection. Apple objects to this Request as overbroad and
18          unduly burdensome to the extent it seeks information neither relevant to the
            issues in the present action nor reasonably calculated to lead to the discovery
19
            of admissible evidence. Apple objects to this Request as vague, ambiguous,
20          overly broad, and unduly burdensome because it uses the undefined phrase
            “consumer market and the health care market.” Apple objects to this Request
21
            to the extent it seeks documents related to products that are not relevant to this
22          litigation or documents related to products Plaintiffs have not identified in
            their Complaint or otherwise accused of infringement. Apple objects to this
23
            Request as overbroad and unduly burdensome because it is not limited to the
24          publicly released Apple Watch Series 3-5 devices identified and alleged in
25
            Plaintiffs’ infringement allegations to infringe the Asserted Patents. Apple
            objects to this Request on the grounds that it is overly broad and unduly
26          burdensome to the extent it requests “[a]ll documents and things” relating to
27
            the subject matter of the request. Apple objects to this Request as overbroad
            and unduly burdensome to the extent it requests information predating the
28          release of the Accused Products and, in fact, is not limited to any relevant time

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1           period. Apple objects to this Request as vague, ambiguous, overly broad, and
 2
            unduly burdensome because it is not limited to the asserted claims of the
            patents asserted by Plaintiffs in their Complaint. Apple expressly preserves its
 3          objection to producing any documents or things that relate to Plaintiffs’ trade
 4          secret misappropriation claim, even if they also relate to other claims, until
            Plaintiffs comply with Section 2019.210. Nonetheless, based on this Court’s
 5          April 17, June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will
 6          withhold only documents or things that relate solely to Plaintiffs’ trade secret
            misappropriation claim until Plaintiffs comply with Section 2019.210—
 7          without waiving, or intending to waive, the preceding objection.
 8                Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
 9
            Stipulation entered in this case, Apple agrees to produce documents
10          responsive to the unobjectionable scope of this Request, to the extent such
11
            information exists and is located after a reasonably diligent search.
            REQUEST FOR PRODUCTION NO. 104:
12
                  All documents and things that relate to Apple’s efforts to promote
13          and/or market any of the Apple Watch Products.
14          RESPONSE TO REQUEST FOR PRODUCTION NO. 104:
15                Apple incorporates by reference its General Objections and Objections
16
            to Definitions and Instructions.
                    Apple objects to this Request to the extent it seeks documents and
17
            things protected from discovery by the attorney-client privilege, the work-
18          product doctrine, the common- interest privilege, and/or any other applicable
            privilege, immunity, or protection. Apple objects to this Request as overbroad
19
            and unduly burdensome to the extent it seeks information neither relevant to
20          the issues in the present action nor reasonably calculated to lead to the
            discovery of admissible evidence. Apple objects to this Request to the extent
21
            that it seeks information already in Plaintiffs’ possession or information that
22          is obtainable from another source, such as publicly available materials, that is
            more convenient, less burdensome, or less expensive. Apple objects to this
23
            Request to the extent it seeks documents related to products that are not
24          relevant to this litigation or documents related to products Plaintiffs have not
25
            identified in their Complaint or otherwise accused of infringement. Apple
            objects to this Request as overbroad and unduly burdensome because it is not
26          limited to the publicly released Apple Watch Series 3-5 devices identified and
27
            alleged in Plaintiffs’ infringement allegations to infringe the Asserted Patents.
            Apple objects to this Request on the grounds that it is overly broad and unduly
28          burdensome to the extent it requests “[a]ll documents and things” relating to

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1           the subject matter of the request. Apple objects to this Request as overbroad
 2
            and unduly burdensome to the extent it requests information predating the
            release of the Accused Products and, in fact, is not limited to any relevant time
 3          period. Apple expressly preserves its objection to producing any documents
 4          or things that relate to Plaintiffs’ trade secret misappropriation claim, even if
            they also relate to other claims, until Plaintiffs comply with Section 2019.210.
 5          Nonetheless, based on this Court’s April 17, June 15, and July 14 Orders (Dkt.
 6          Nos. 37, 54, 79), Apple will withhold only documents or things that relate
            solely to Plaintiffs’ trade secret misappropriation claim until Plaintiffs comply
 7          with Section 2019.210—without waiving, or intending to waive, the
 8          preceding objection.
                  Subject to and without waiver of the foregoing General and Specific
 9
            Objections and under the provisions of the Protective Order and ESI
10          Stipulation entered in this case, Apple agrees to produce documents
11
            responsive to the unobjectionable scope of this Request, to the extent such
            information exists and is located after a reasonably diligent search.
12
            REQUEST FOR PRODUCTION NO. 105:
13                 All documents and things that relate to any market studies, market
14          share, competition, and/or competitor products relating to any of the Apple
            Watch Products.
15
            RESPONSE TO REQUEST FOR PRODUCTION NO. 105:
16
                  Apple incorporates by reference its General Objections and Objections
17          to Definitions and Instructions.
18                 Apple objects to this Request to the extent it seeks documents and
            things protected from discovery by the attorney-client privilege, the work-
19
            product doctrine, the common- interest privilege, and/or any other applicable
20          privilege, immunity, or protection. Apple objects to this Request as overbroad
            and unduly burdensome to the extent it seeks information neither relevant to
21
            the issues in the present action nor reasonably calculated to lead to the
22          discovery of admissible evidence. Apple objects to this Request to the extent
            it seeks documents related to products that are not relevant to this litigation or
23
            documents related to products Plaintiffs have not identified in their Complaint
24          or otherwise accused of infringement. Apple objects to this Request as vague,
25
            ambiguous, overly broad, and unduly burdensome because it uses the
            undefined phrase “relating to any of the Apple Watch Products.” Apple
26          objects to this Request as overbroad and unduly burdensome because it is not
27
            limited to the publicly released Apple Watch Series 3-5 devices identified and
            alleged in Plaintiffs’ infringement allegations to infringe the Asserted Patents.
28          Apple objects to this Request on the grounds that it is overly broad and unduly

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1           burdensome to the extent it requests “[a]ll documents and things” relating to
 2
            the subject matter of the request. Apple objects to this Request as overbroad
            and unduly burdensome to the extent it requests information predating the
 3          release of the Accused Products and, in fact, is not limited to any relevant time
 4          period. Apple objects to this Request as vague, ambiguous, overly broad, and
            unduly burdensome because it is not limited to the asserted claims of the
 5          patents asserted by Plaintiffs in their Complaint. Apple expressly preserves its
 6          objection to producing any documents or things that relate to Plaintiffs’ trade
            secret misappropriation claim, even if they also relate to other claims, until
 7          Plaintiffs comply with Section 2019.210. Nonetheless, based on this Court’s
 8          April 17, June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will
            withhold only documents or things that relate solely to Plaintiffs’ trade secret
 9          misappropriation claim until Plaintiffs comply with Section 2019.210—
10          without waiving, or intending to waive, the preceding objection.

11
                  Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
12          Stipulation entered in this case, Apple agrees to produce documents
13
            responsive to the unobjectionable scope of this Request, to the extent such
            information exists and is located after a reasonably diligent search.
14
            REQUEST FOR PRODUCTION NO. 106:
15                 All documents and things referring or relating to, or otherwise
16          evidencing, valuations of any physiological monitoring technology or
            intellectual property relating to physiological monitoring technology.
17
            RESPONSE TO REQUEST FOR PRODUCTION NO. 106:
18
                  Apple incorporates by reference its General Objections and Objections
19          to Definitions and Instructions.
20                 Apple objects to this Request to the extent it seeks documents and
            things protected from discovery by the attorney-client privilege, the work-
21
            product doctrine, the common- interest privilege, and/or any other applicable
22          privilege, immunity, or protection. Apple objects to this Request as overbroad
            and unduly burdensome to the extent it seeks information neither relevant to
23
            the issues in the present action nor reasonably calculated to lead to the
24          discovery of admissible evidence. Apple objects to this Request to the extent
25
            it seeks documents related to products that are not relevant to this litigation or
            documents related to products Plaintiffs have not identified in their Complaint
26          or otherwise accused of infringement. Apple objects to this Request on the
27
            grounds that it is overly broad and unduly burdensome to the extent it requests
            “[a]ll documents and things” relating to the subject matter of the request.
28          Apple objects to this Request as overbroad and unduly burdensome to the

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1           extent it requests information predating the release of the Accused Products
 2
            and, in fact, is not limited to any relevant time period. Apple objects to this
            Request as vague, ambiguous, overly broad, and unduly burdensome because
 3          it uses the undefined phrase “physiological monitoring technology.” Apple
 4          objects to this Request as overly broad and unduly burdensome because it is
            not reasonably limited to the scope of infringement allegations in this
 5          litigation. Apple expressly preserves its objection to producing any documents
 6          or things that relate to Plaintiffs’ trade secret misappropriation claim, even if
            they also relate to other claims, until Plaintiffs comply with Section 2019.210.
 7          Nonetheless, based on this Court’s April 17, June 15, and July 14 Orders (Dkt.
 8          Nos. 37, 54, 79), Apple will withhold only documents or things that relate
            solely to Plaintiffs’ trade secret misappropriation claim until Plaintiffs comply
 9          with Section 2019.210—without waiving, or intending to waive, the
10          preceding objection.

11
                  Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
12          Stipulation entered in this case, Apple agrees to produce documents
13
            responsive to the unobjectionable scope of this Request, to the extent such
            information exists and is located after a reasonably diligent search.
14
            REQUEST FOR PRODUCTION NO. 108:
15                 All documents and things referring or relating to, or otherwise
16          evidencing, any internal intellectual property strategy, business strategy, or
            plan relating to physiological monitoring technology.
17
            RESPONSE TO REQUEST FOR PRODUCTION NO. 108:
18
                  Apple incorporates by reference its General Objections and Objections
19          to Definitions and Instructions.
20                 Apple objects to this Request to the extent it seeks documents and
            things protected from discovery by the attorney-client privilege, the work-
21
            product doctrine, the common- interest privilege, and/or any other applicable
22          privilege, immunity, or protection. Apple objects to this Request as overbroad
            and unduly burdensome to the extent it seeks information neither relevant to
23
            the issues in the present action nor reasonably calculated to lead to the
24          discovery of admissible evidence. Apple objects to this Request to the extent
25
            it seeks documents related to products that are not relevant to this litigation or
            documents related to products Plaintiffs have not identified in their Complaint
26          or otherwise accused of infringement. Apple objects to this Request on the
27
            grounds that it is overly broad and unduly burdensome to the extent it requests
            “[a]ll documents and things” relating to the subject matter of the request.
28          Apple objects to this Request as overbroad and unduly burdensome to the

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1           extent it requests information predating the release of the Accused Products
 2
            and, in fact, is not limited to any relevant time period. Apple objects to this
            Request as vague, ambiguous, overly broad, and unduly burdensome because
 3          it uses the undefined phrase “physiological monitoring technology.” Apple
 4          objects to this Request as overly broad and unduly burdensome because it is
            not reasonably limited to the scope of infringement allegations in this
 5          litigation. Apple expressly preserves its objection to producing any documents
 6          or things that relate to Plaintiffs’ trade secret misappropriation claim, even if
            they also relate to other claims, until Plaintiffs comply with Section 2019.210.
 7          Nonetheless, based on this Court’s April 17, June 15, and July 14 Orders (Dkt.
 8          Nos. 37, 54, 79), Apple will withhold only documents or things that relate
            solely to Plaintiffs’ trade secret misappropriation claim until Plaintiffs comply
 9          with Section 2019.210—without waiving, or intending to waive, the
10          preceding objection.

11
                  Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
12          Stipulation entered in this case, Apple agrees to produce documents
13
            responsive to the unobjectionable scope of this Request, to the extent such
            information exists and is located after a reasonably diligent search.
14
            REQUEST FOR PRODUCTION NO. 109:
15                 All documents and things referring or relating to forecasts, projections,
16          or strategic evaluations regarding Defendant’s consideration of a purchase,
            acquisition, or license of technology from any company concerning
17
            physiological monitoring.
18          RESPONSE TO REQUEST FOR PRODUCTION NO. 109:
19                Apple incorporates by reference its General Objections and Objections
20          to Definitions and Instructions.
                   Apple objects to this Request to the extent it seeks documents and things
21
            protected from discovery by the attorney-client privilege, the work-product
22          doctrine, the common-interest privilege, and/or any other applicable privilege,
            immunity, or protection. Apple objects to this Request as overbroad and
23
            unduly burdensome to the extent it seeks information neither relevant to the
24          issues in the present action nor reasonably calculatedto lead to the discovery
25
            of admissible evidence. Apple objects to this Request to the extent it seeks
            documents or information that are subject to any protective order interest,
26          privacy interest, contractual obligation, non-disclosure agreement,
27
            confidentiality agreement, secrecy order, or other such confidentiality
            obligation owed to any third party. Apple objects to this Request to the extent
28          it seeks documents related to productsthat are not relevant to this litigation or

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1           documents related to products Plaintiffs have notidentified in their Complaint
 2
            or otherwise accused of infringement. Apple objects to this Request on the
            grounds that it is overly broad and unduly burdensome to the extent it requests
 3          “[a]ll documents and things” relating to the subject matter of the request. Apple
 4          objects to this Request as overbroad and unduly burdensome to the extent it
            requests information predating the release of the Accused Products and, in
 5          fact, is not limited toany relevant time period. Apple objects to this Request
 6          as vague, ambiguous, overly broad, and unduly burdensome because it uses
            the undefined phrase “physiological monitoring.” Apple objects to this
 7          Request as overly broad and unduly burdensome because it is not reasonably
 8          limited to the scope of infringement allegations in this litigation. Apple
            expressly preserves its objection to producing any documents or things that
 9          relate to Plaintiffs’ trade secret misappropriation claim, even if they also relate
10          to other claims, until Plaintiffs comply with Section 2019.210. Nonetheless,
            based on thisCourt’s April 17, June 15, and July 14 Orders (Dkt. Nos. 37, 54,
11          79), Apple will withhold only documents or things that relate solely to
12          Plaintiffs’ trade secret misappropriation claim until Plaintiffs comply with
            Section 2019.210—without waiving, or intending to waive, the preceding
13          objection.
14                Subject to and without waiver of the foregoing General and Specific
15
            Objections and under the provisions of the Protective Order and ESI
            Stipulation entered in this case, Apple agrees to produce documents
16          responsive to the unobjectionable scope of this Request, to the extent such
17          information exists and is located after a reasonably diligent search.
      A.    Plaintiffs’ Position
18
            Parties “may obtain discovery regarding any nonprivileged matter that is relevant to
19
      any party’s claim or defense and proportional to the needs of the case.” Fed. R. Civ. P.
20
      26(b)(1). The propounding party bears an initial burden of making a “minimal showing of
21
      relevance.” DeSilva v. Allergan USA, Inc., 2020 WL 5947827, at *3 (C.D. Cal. Sept. 1,
22
      2020). “Once the minimal showing of relevance is made, ‘[t]he party who resists discovery
23
      has the burden to show that discovery should not be allowed, and has the burden of
24
      clarifying, explaining, and supporting its objections.’” Id. (quoting DIRECTV, Inc. v.
25
      Trone, 209 F.R.D. 455, 458 (C.D. Cal. 2002)). As discussed below, RFPs 101-106, 108,
26
      and 109 seek relevant information and are proportional to the needs of the case. Apple
27

28


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1     raises a number of objections and attempts to limit its production, but fails to show
 2    discovery should be limited.
 3          1.     RFPs 101-106, 108, and 109 Seek Relevant Information And Are
 4                 Proportional To The Needs Of The Case
 5          RFPs 101-106, 108, and 109 seek sales and marketing information about the Apple
 6    Watch, and information relevant to the significance and value of various features of the
 7    Apple Watch. This information is relevant to Plaintiffs’ trade secrets and damages. In
 8    particular, RFPs 101-106 seek documents about analysis of products that compete against
 9    the Apple Watch, Apple’s evaluation of healthcare and consumer sales, Apple’s efforts to
10    promote the Apple Watch, market studies and market share, and valuations of
11    physiological monitoring technology. RFP 108 seeks documents about Apple’s internal
12    intellectual property strategy and business plans relating to physiological monitoring. RFP
13    109 seeks documents about Apple’s forecasts, projections, and strategic evaluations
14    regarding Apple purchasing and licensing physiological monitoring technology.
15          California law entitles a trade secret owner to recover actual damages, unjust
16    enrichment, or a reasonable royalty. Cal. Civ. Code § 3426.3(a) and (b). Evidence related
17    to Apple’s profit due to the misappropriation is highly relevant to the calculation of
18    damages. Evidence comparing the Apple Watch to Plaintiffs’ products or technology or
19    any other health care technology, is relevant to the value of Plaintiffs’ technology in the
20    Apple Watch. Evidence showing Apple desired improved physiological monitoring to
21    enter or expand sales is relevant to the undue benefit Apple received based on Plaintiffs’
22    trade secrets. Apple’s marketing documents will show the significance Apple placed on
23    improved physiological monitoring performance. It would also support Apple’s motive to
24    misappropriate Plaintiffs’ trade secrets. The evidence discussed above is thus relevant to
25    many forms of damages. Cal. Civ. Code § 3426.3(a) and (b).
26          These requests are also relevant to Plaintiffs’ business and marketing plans and
27    strategies trade secrets. One such trade secret recites:
28


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1                  a.    Apple’s Relevance and Overbreadth Objections Lack Merit
 2          RFPs 101-102. Apple objects to these requests because they purportedly seek
 3    information that is not relevant to the claims or defenses in this case. Ex. 24 at 11. But
 4    Apple raised only a boilerplate relevance objection and never attempted to support it.
 5    Apple’s most recent April 11 letter also argues RFP 102 was not proportional to the needs
 6    of the case. Ex. 27 at 3. But Apple raised no proportionality objection in its written
 7    responses. As discussed above, these RFPs are relevant to certain trade secrets and
 8    Plaintiffs’ damages case. See Section II.A.1, supra. Thus, Apple’s objections to RFPs
 9    101-102 lack merit.
10          RFP 103. Apple originally committed to producing documents “sufficient to show
11    the differences, similarities, or comparisons between the consumer market and the health
12    care market, to the extent such documents exist and can be located following a reasonable
13    search.” Ex. 22 at 2. Apple eventually agreed to remove its “sufficient to show” limitation
14    for many RFPs in exchange for Plaintiffs removing their “sufficient to show” limitation on
15    various RFPs. Ex. 40 at 1-2. However, Apple then refused to produce any documents in
16    response to this RFP, now claiming it does not “understand the distinction Plaintiffs appear
17    to be attempting to draw between ‘the consumer market’ and ‘the health care market,’”
18    and, “without an understanding of the seeming non-sensical distinction between those
19    markets, Apple does not know how to go about looking for responsive documents.” Ex.
20    24 at 11. Apple’s new objection lacks merit because Plaintiffs are asking for Apple’s
21    documents about Apple’s understanding of differences, similarities, and comparisons
22    between consumer and health care sales. Plaintiffs’ understanding is not relevant to Apple
23    providing responsive documents.
24

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1                                                 But that is not a basis to refuse discovery. See
 2    Carrizosa v. Stassinos, 2006 WL 1581953, at *1 (N.D. Cal. June 6, 2006) (explaining “the
 3    propriety of discovery does not turn on one party’s belief that the claims are without
 4    merit”); Manzo v. Cty. of Santa Clara, 2019 WL 2866047, at *2 (N.D. Cal. July 3, 2019)
 5    (explaining “the Court does not assess the ultimate merits of the claim or defense” for
 6    motions to compel); Elkin v. New York Life Ins. Co., 2017 WL 4047235, at *2 (C.D. Cal.
 7    Sept. 8, 2017) (“[T]he current motion presents a discovery dispute, and the Court is not
 8    resolving the merits of the parties’ claims and defenses.”). Apple’s objection lacks merit.
 9          On April 11, Apple raised yet another new objection by arguing RFP 103 was
10    “overly broad” because it asked for documents concerning “differences, similarities, or
11    comparisons.” Ex. 27 at 3. But Apple offered no argument or evidence to support that
12    objection. Apple offered to “further discuss” this RFP, but the parties have already
13    attended multiple conferences of counsel, exchanged eight letters, and sent numerous other
14    emails all about this specific RFP. See Exs. 18-27; Powell Decl. ¶ 2. Apple should not be
15    able to postpone resolution indefinitely by adding new objections months into the parties’
16    discussions. That is particularly true because Apple is relying on the discovery deadline
17    approaching in three months to ask the Court to dramatically limit its discovery obligations.
18    Dkt. 332-1 at 1.
19          RFP 104. Apple argues this request is “overbroad because, as written, it would pick
20    up any advertising or marketing ever done for the Apple Watch.” Ex. 24 at 11. But
21    Plaintiffs offered to limit this RFP to physiological monitoring features. Id. Apple argued
22    that is still not narrow enough and limited its response to “light-based physiological
23    monitoring,” which would “exclude, for example, an accelerometer.” Id.
24          Apple’s objection to the term “physiological monitoring” lacks merit. The term
25    “physiological monitoring” appropriately limits these RFPs to exclude features of the
26    Apple Watch that are not at issue, such as the clock and calendar. The parties have
27    repeatedly used this common term to target relevant issues in other aspects of this case.
28    For example, the protective order requires experts to identify work in “non-invasive

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1     physiological monitoring technologies.” Dkt. 67 at 14. The prosecution bar Apple sought
 2    in this case similarly refers to “non-invasive monitoring.” Id. at 17. Apple has also agreed
 3    that the term “physiological monitoring” appropriately narrows the scope of RFPs in this
 4    case. See Ex. 17 at 2 (Apple agreeing to limit RFPs 214 and 215 to “Apple implementing
 5    any physiological monitoring products”); Ex. 21 at 2 and 4 (Apple suggesting the parties
 6    limit RFPs 207, 244, and 246 to “physiological monitoring”). Apple also used the same
 7    term in its own RFPs to Plaintiffs just a few weeks ago. See, e.g., Ex. 30 at RFP 132 (“All
 8    Documents reflecting Your efforts to track Apple’s development and marketing of any
 9    non-invasive physiological monitoring technology”), id. at RFP 133 (“All of Your draft
10    and published technical bulletins and whitepapers relating to non-invasive physiological
11    monitoring technology”).
12          Moreover, Plaintiffs’ sales and marketing trade secrets are not limited to the
13    physiological directly parameters at issue in the technical trade secrets. See Ex. 28 ¶ 43.1;
14    see also Ex. 29 at 8-9.         Thus, Apple’s marketing efforts with respect to the
15    electrocardiogram feature, for example, are relevant to Plaintiffs’ sales and marketing trade
16    secrets. Additionally, discovery on such parameters is relevant to damages because it
17    shows the value Apple places on performance and accuracy. Such evidence is relevant to
18    show the value and importance that Apple placed on acquiring Plaintiffs’ technology.
19          Apple’s alternate proposal to limit this request to “light-based physiological
20    monitoring” to “exclude, for example, an accelerometer” also lacks merit. See Ex. 24 at
21    11. As discussed, marketing information for other physiological parameters, such as the
22    watch’s electrocardiogram feature, is relevant to Plaintiffs’ trade secrets and damages.
23    Apple’s reference to an accelerometer also makes no sense because an accelerometer is a
24    sensor,2 not a physiological parameter like pulse rate, oxygen saturation, or
25    electrocardiogram. Moreover, accelerometers can be used in the calculation of light-based
26

27    2
       An accelerometer is “an instrument for measuring acceleration or for detecting and
28    measuring vibrations.” See https://www.merriam-webster.com/dictionary/accelerometer.


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1     parameters. For example, an accelerometer can be used to detect motion that would
 2    decrease the accuracy of the oxygen saturation calculation.3
 3          RFP 105. Apple’s March 9, letter articulated no objections to this RFP, but limited
 4    its production based on Section 2019.210. Ex. 24 at 10. That is inappropriate for the
 5    reasons discussed below. See Section II.A.2.b, infra. In its April 11 letter, Apple newly
 6    argued that RFP 105 is “overbroad” because, as written, it would pick up any market
 7    studies ever done for the Apple Watch. Ex. 27 at 4. As an initial matter, Apple should not
 8    be permitted to inject new objections months into the meet and confer process. Regardless,
 9    Apple’s new objection lacks merit because Apple makes no attempt to show the number of
10    market studies is so high that producing them would be burdensome. If Apple were to
11    articulate such an objection in the future, Plaintiffs would be willing to limit this RFP to
12    “physiological monitoring,” which is an appropriate limitation for all of the reasons
13    discussed above.
14          RFPs 106, 108, and 109. Apple similarly objects to these RFPs as overbroad based
15    on the term “physiological monitoring.” Ex. 24 at 10. That objection lacks merit for the
16    reasons discussed above. Rather than impose a “light-based physiological monitoring”
17    limitation as it did for RFP 104, Apple instead applies a unilateral Section 2019.210
18    limitation. That limitation lacks merit for the reasons discussed below.
19                 b.    Apple’s Unilateral Section 2019.210 Limitation Lacks Merit
20          Apple has stated it will produce documents for RFPs 105, 106, 108, and 109 only if
21    Apple determines that they relate to “the alleged trade secrets in Plaintiffs’ Section
22    2019.210 disclosure . . . .” Ex. 24 at 10-11. As discussed above, Apple has no valid
23    objection to these RFPs. Thus, Apple cannot withhold specific documents that Apple
24

25
      3
26      Patient motion has long caused inaccurate readings in pulse oximeters, which leads to
      many problems including blindness in premature infants. Ex. 28 ¶ 11. Plaintiffs’
27    revolutionized pulse oximetry by creating technology that provided accurate measurements
28    in the presence of motion and low peripheral blood flow. Id.


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1     unilaterally determines are not “relevant” to Plaintiffs’ Section 2019.210. See Kilroy v.
 2    L.A. Unified Sch. District Board of Educ., 2018 WL 6071089, at *1 (March 7, 2018) (“If
 3    the responding party does not offer a valid objection, it must produce all requested
 4    documents that are in its possession, custody, or control.”). Just like any other case, Apple
 5    must produce responsive documents and cannot unilaterally limit its production to
 6    documents that Apple considers “relevant.”
 7          Apple’s limitation is also inappropriate because sales and marketing information
 8    regarding physiological monitoring is relevant to damages even if not directly relevant to
 9    a particular trade secret. Apple’s evaluation of the relevant market(s) and the importance
10    of accurate measurements are directly relevant to damages even if a particular document
11    does not show misappropriation of trade secrets. That is true even for other physiological
12    monitoring technologies, such as the electrocardiogram feature. Thus, Apple cannot limit
13    its production to information that directly shows misappropriation.
14          Moreover, Section 2019.210 is a procedural requirement to “commenc[e]
15    discovery”—not a basis to withhold documents. See Cal. Civ. P. Code § 2019.210. As the
16    California Court of Appeal explained, the “designation should be liberally construed, and
17    reasonable doubts about its sufficiency resolved in favor of allowing discovery to go
18    forward.” Brescia v. Angelin, 172 Cal. App. 4th 133, 149 (2009); Advanced Modular
19    Sputtering, Inc. v. Superior Court, 132 Cal. App. 4th 826, 837 (2005) (“Any doubt about
20    discovery is to be resolved in favor of disclosure.”).
21          The California Court of Appeal also explained the scope of discovery is broader than
22    the specific trade secrets identified in a Section 2019.210 disclosure.          See Perlan
23    Therapeutics, Inc. v. Superior Ct., 178 Cal. App. 4th 1333 (2009). In requiring a plaintiff
24    to identify its trade secrets with “reasonable particularity,” the court explained that “[i]f,
25    through discovery, [Plaintiff] uncovers information suggesting defendants misappropriated
26    additional trade secrets, it may have good cause to amend its trade secret statement under
27    appropriate circumstances.” Id. at 1350. The court credited plaintiff’s concern that a
28    narrow identification of trade secrets could “constrain[]” discovery and “prevent [plaintiff]

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1     from ever finding out about trade secrets that were stolen.” Id. at 1351, n.12. The Court
 2    addressed that concern by explaining “it is important to remember that the parties may
 3    conduct discovery ‘regarding any matter, not privileged, that is relevant to the subject
 4    matter involved in the pending action . . . if the matter either is itself admissible in evidence
 5    or appears reasonably calculated to lead to the discovery of admissible evidence.’” Id.
 6    (modification in original).4
 7          Apple has previously cited Computer Econ., Inc. v. Gartner Grp., Inc., 50 F. Supp.
 8    2d 980, 985 (S.D. Cal. 1999), for the proposition that one purpose of Section 2019.210 is
 9    to “fram[e] the appropriate scope of discovery and in determining whether plaintiff’s
10    discovery requests fall within that scope.” That may be true, but it does not provide a basis
11    for Apple to withhold discovery as to particular documents based on Apple’s own decision
12    that the document does not relate to Plaintiffs’ Section 2019.210 statement. A Section
13    2019.210 statement guides the Court’s decision as to whether a discovery request seeks
14    relevant documents much like a patent claim guides discovery in a patent case. Once the
15    Court has determined that a request seeks relevant information, however, the defendant
16    should not be permitted to withhold particular responsive documents merely because the
17    defendant contends that they do not directly relate to a particular trade secret. Such an
18    approach would enable a defendant to create undisclosed gaps in its document production,
19    with the opposing party having no ability to challenge withheld discovery.
20          Permitting Apple to withhold specific documents based on Section 2019.210 would
21    be extremely prejudicial because Apple has already shown that its view of relevance is
22    much narrower than Plaintiffs. As discussed in Plaintiffs’ first motion to compel, Apple
23    has already improperly withheld discovery on its pulse-rate algorithm just because it
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      4
26     The discovery standard in state court differs from federal court, but Perlan still shows the
      scope of discovery is broader than Section 2019.210. Here, Plaintiffs here are entitled to
27    “discovery regarding any nonprivileged matter that is relevant to any party’s claim or
28    defense and proportional to the needs of the case . . . .” Fed. R. Civ. P. 26(b).


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1     believes it did not misappropriate Plaintiffs’ trade secrets. Apple has also argued it should
 2    not have to produce documents showing it “considered” Plaintiffs’ trade secrets because
 3    “considering is not relevant.” Ex. 22 at 5. That is contrary to law. See PMC, Inc. v.
 4    Kadisha, 78 Cal. App. 4th 1368, 1383 (2000); SkinMedica, Inc. v. Histogen Inc., 869 F.
 5    Supp. 2d 1176, 1197 (S.D. Cal. 2012). Apple’s limitation would also allow it to withhold
 6    evidence showing it misappropriated other trade secrets of which Plaintiffs are not yet
 7    aware. Plaintiffs are entitled to learn of such additional acts of misappropriation. See
 8    Perlan Therapeutics, 178 Cal. App. 4th at 1350. Allowing Apple to unilaterally make this
 9    relevance determination amounts to self-help limiting discovery.
10          Accordingly, Apple has not shown why discovery should be limited. The Court
11    should overrule Apple’s objections and order Apple to produce all responsive documents.
12    B.    Apple’s Position
13          1.     Plaintiffs’ RFPs 101-105 Are Overbroad And Unduly Burdensome
14          RFPs 101–105 are “hopelessly overbroad, resulting in an undue burden” to Apple
15    because they seek information regarding functionality, competitors, markets, and products
16    “not tied to the specific allegations at issue.” Castle v. Lugo, 2020 WL 5356935, at *5
17    (C.D. Cal. June 19, 2020) (Early, J.). These RFPs seek all documents concerning (1) any
18    competitive analysis of any competitor to the Apple Watch Products, even if they do not
19    offer the functionality at issue, (2) Apple’s evaluation of the health care market for any
20    Apple products, even though only the Apple Watch is mentioned in the complaint, (3)
21    Apple’s comparison of undefined health care and consumer markets for the Apple Watch,
22    and (4)–(5) Apple’s efforts to promote and/or market, and any market studies, market
23    share, and competition relating to, any Apple Watch Products, even if the marketing has
24    nothing to do with allegedly misappropriating technology.
25          In an effort to justify these requests, Plaintiffs focus on small subsets of documents
26    within the RFPs’ broader scope, but they ignore the huge swaths of irrelevant information
27    the requests would also require Apple to produce—including information regarding wholly
28    irrelevant Apple products nowhere mentioned in the complaint.            Apple has offered

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1     reasonable compromises to narrow the scope of the RFPs to relevant information, but
 2    Plaintiffs have rejected all of them. Because it is not incumbent on the Court “to rewrite
 3    the requests itself,” Plaintiffs’ motion should be denied. Koeper v. BMW of N. Am., LLC,
 4    2018 WL 6016915, at *1 (C.D. Cal. May 21, 2018) (denying motion to compel when the
 5    court “might have been willing to consider allowing some discovery pertaining to” relevant
 6    information “had the document requests been sufficiently narrowly written”).
 7          Plaintiffs’ “proportionality” arguments do not save these requests. Plaintiffs claim
 8    that Apple is “the most valuable public company on earth.” J.S. 29. But Apple’s resources
 9    are not unlimited and do not give Plaintiffs license to take whatever discovery they wish.
10    Even when dealing with “a large corporation with substantial resources,” the “Court should
11    not be—and is not—insensitive to the[] costs” associated with overbroad discovery. City
12    of Sterling Heights Gen. Emps.’ Ret. Sys. v. Prudential Fin., Inc., 2015 WL 5055241, at *3
13    (D.N.J. Aug. 21, 2015); see Koeper, 2018 WL 6016915, at *1 (explaining that the
14    “significant effort” required to gather large sets of information cannot be ignored even
15    when a defendant has “substantial resources”). Accepting Plaintiffs’ argument to the
16    contrary would mean that any party would be subject to overbroad and disproportionate
17    discovery solely based on its financial success. That is not a tenable reading of the
18    proportionality requirements of Rule 26.       Plaintiffs also claim that the amount in
19    controversy is high, but even if a high amount in controversy were license to engage in
20    overbroad discovery (it is not), Plaintiffs notably refuse to provide any information to
21    Apple—in interrogatory responses or otherwise, Samplin Decl. Ex. E, at 55 (3.12.2021
22    Samplin Ltr. at 3); id. Ex. F, at 62 (4.2.2021 Kachner Ltr. at 5)—as to what this amount in
23    controversy might be. Plaintiffs have failed to show that their requests are proportional to
24    the needs of this case.
25          RFP 101. RFP 101 seeks “[a]ll documents and things concerning any competitive
26    analysis of any competitor to the Apple Watch Products” (emphasis added). On its face,
27    this request is impermissibly overbroad: it encompasses documents relating to any product
28    that presently competes—or could compete—with the Apple Watch regardless of whether

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1     that product either provides, or is even capable of providing, functionality that competes
 2    with the technology claimed to be a trade secret in this case. See Anokiwave, Inc. v. Rebeiz,
 3    2019 WL 3935817, at *2 (S.D. Cal. Aug. 20, 2019) (denying motion to compel because
 4    there was no showing that information sought was “relevant to the claims and trade secrets
 5    as alleged by Plaintiff”); In re Outlaw Labs., LP Litig., 2020 WL 4436364, at *5 (S.D. Cal.
 6    Aug. 3, 2020) (holding RFP overbroad where it “include[ed], but [was] not limited to”
 7    accused products). Plaintiffs cite no authority to support their burdensome request.
 8          The Apple Watch provides a host of functionality that has nothing to do with the
 9    claimed secrets in this case—e.g., Phone and Messaging, Apple Pay, Siri, Maps, Hotel or
10    Car Key Replacement, Remote Control Functions, Passbook Integration for travel, Digital
11    Touch Communication, and Calendar Notifications—to name a few.                       See, e.g.,
12    https://www.apple.com/apple-watch-se/). Rule 26 does not require Apple to produce
13    documents related to any competitive analysis of any product that purports to compete with
14    any of the foregoing functionality without regard to whether the document relates to the
15    alleged trade secrets at issue. Id. In an attempt to compromise, Apple proposed to produce
16    documents responsive to this RFP that relate to the Apple products accused of
17    incorporating Plaintiffs’ alleged trade secrets. Plaintiffs’ Ex. 27, at 349 (4.11.2021 Samplin
18    Ltr. at 3). Plaintiffs rejected Apple’s proposal in favor of their overly broad request.
19          With respect to proportionality, Plaintiffs argue that Apple did not raise a
20    proportionality objection in its response to this request, J.S. 30, but Apple did expressly
21    object to the overbreadth and burdensomeness of this request on three separate grounds,
22    see J.S. 19, and offered “to meet and confer . . . to discuss the scope of this Request,” id. at
23    19–20. That is more than sufficient to preserve Apple’s proportionality objection. Cf.
24    Westheimer Regency I, L.P. v. Great Lakes Reinsurance (UK) SE, 2018 WL 7198642, at
25    *2 n.3 (W.D. Tex. Aug. 15, 2018) (objection that RFP “exceed[ed] the scope of authorized
26    discovery by seeking documents beyond the parties’ claims or defenses,” “essentially
27    raise[ed] a proportionality argument,” and was therefore not waived). And regardless of
28    the specific terminology used in Apple’s objections, Plaintiffs do not have a right under

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1     Rule 26(b)(1) to obtain discovery that is not “proportional to the needs of the case.” Id.
 2    To suggest otherwise renders the rule a nullity. See Moody v. Cty. of Santa Clara, 2019
 3    WL 3302722, at *2 (N.D. Cal. July 23, 2019) (objections aside, “[t]he parties and the court
 4    have a collective responsibility to consider the proportionality of all discovery and consider
 5    it in resolving discovery disputes”).
 6          A more limited version of RFP 101 is sufficient—namely, documents concerning
 7    any competitive analysis of any product providing functionality that competes with those
 8    portions of the Apple Watch Products claimed to incorporate Plaintiffs’ trade secrets.
 9    Anything beyond this limitation is overbroad and unduly burdensome.
10          RFP 102. RFP 102 seeks “[a]ll documents and things related to Apple’s evaluation
11    of the health care market for Apple products including the Apple Watch Products”
12    (emphasis added). This request is overbroad on its face. Plaintiffs have not alleged that
13    any product manufactured by Apple, except for the Apple Watch Series 4, 5, and 6,
14    purportedly “include[] Plaintiffs’ technologies.” Plaintiffs’ Ex. 28, at 362–63 (4th AC,
15    ¶ 25). Apple invents and manufactures a host of products that are completely unrelated to
16    this lawsuit—e.g., the Mac, iPad, iPhone, and Apple TV. As currently phrased, this RFP
17    would encompass a hypothetical market evaluation concerning the use of the Apple TV in
18    a hospital, which is obviously irrelevant. See MedImpact Healthcare Sys., Inc. v. IQVIA
19    Inc., 2021 WL 719649, at *2 (S.D. Cal. Feb. 24, 2021) (Plaintiffs’ Amended Complaint
20    “confirm[s] that this case is about . . . “PBM”[] products offered by IQVIA. . . . Plaintiffs’
21    RFPs, however, are not limited to PBM products. Because Plaintiffs’ RFPs would require
22    Defendants to produce documents on products not at issue in this case, the Court declines
23    to compel . . . further responses.”); Outlaw Labs., 2020 WL 4436364, at *5 (RFP was
24    overbroad where it “include[ed], but [was] not limited to” accused products).
25          Plaintiffs purport to justify their broad RFP by arguing it seeks information relevant
26    to damages. Plaintiffs’ Ex. 25, at 334 (3.25.2021 Powell Ltr.). Plaintiffs thus appear to be
27    arguing that they may seek damages for products that have not been pleaded as misusing
28    their alleged secrets. Again, Plaintiffs cite no authority for this illogical proposition—

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1     because the case law prohibits such overreaching. See MedImpact Healthcare, 2021 WL
 2    719649, at *2. And even if they could cite authority (which, again, they have not attempted
 3    to do), Plaintiffs still have not demonstrated how such an RFP possibly could comport with
 4    the proportionality requirement of Rule 26.         When asked to explain their damages
 5    justification, Plaintiffs declined to do so. Plaintiffs’ Ex. 42, at 681 (4.13.2021 Powell Ltr.).
 6          As with RFP 101 above, Plaintiffs argue that Apple supposedly did not raise a
 7    proportionality objection in its response to this request, J.S. 30. But for the reasons cited
 8    above with regard to RFP 101, this assertion fails.
 9          A more limited version of RFP 102 is sufficient—namely, documents concerning
10    Apple’s evaluation of the health care market for the Apple Watch Products. Anything
11    beyond this limitation is overbroad and unduly burdensome.
12          RFP 103. RFP 103 seeks “[a]ll documents and things relating to differences,
13    similarities, or comparisons between the consumer market and the health care market for
14    Apple Watch Products.” Apple initially objected to this Request as “vague, ambiguous,
15    overly broad, and unduly burdensome because it uses the undefined phrase “consumer
16    market and the health care market.” J.S. 21. Nevertheless, during meet and confers, Apple
17    proposed to produce documents “sufficient to show the differences, similarities, or
18    comparisons between the consumer market and the health care market, to the extent such
19    documents exist and can be located following a reasonable search.” Plaintiffs’ Ex. 22, at
20    301 (Samplin 2.15.2021 email to Powell at 2).5 After further analysis of how it might
21    collect such documents, Apple concluded that it did not understand how Plaintiffs “ha[d]
22    attempted to draw” the line “between ‘the consumer market’ and ‘the health care market.’”
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         Plaintiffs also argue that Apple somehow “newly asserted an overbreadth objection.
26    Plaintiffs are wrong: Apple specifically objected on the basis of overbreadth. See J.S. 19.
      During the meet and confer, Apple further explained the request was overbroad “once a
27    sufficient to show limitation is removed.” Plaintiffs’ Ex. 27, at 349 (4.11.2021 Samplin
28    Ltr. at 3).


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1     Plaintiffs’ Ex. 27, at 349 (4.11.2021 Samplin Ltr. at 3). Apple explained this to Plaintiffs
 2    and requested clarification. Id.
 3          Plaintiffs claim that their “understanding is not relevant.” J.S. 30 (emphasis added).
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11                                                        Plaintiffs’ understanding of these markets
12    is thus central to complying with this request. Rather than explain this difference, Plaintiffs
13    simply declared that “the parties reached an impasse.” Plaintiffs’ Ex. 42, at 681 (4.13.2021
14    Powell Ltr. at 3).
15          Apple’s vagueness and overbreadth objections—and its simple request for
16    clarification—are indisputably proper.
17                                                           Plaintiffs also refer to various markets
18    inconsistently in their public filings. For example, Masimo’s 2021 10-K describes “market
19    opportunities in both the hospital and non-hospital care settings,” Samplin Decl. Ex. L, at
20    195, “the fire/alternate care market,” “markets such as the physician office and emergency
21    departments,” id. at 197, the “consumer market,” id. at 192, and sales in “emergency
22    medical service (EMS) providers, physician offices, veterinarians, [and] long term care
23    facilities,” id. at 190. In its 2015 10-K, Masimo also disclosed that it “launched iSpO 2®,
24    a non-medical use pulse oximeter intended for sports and aviation use,” which it is
25    purportedly “marketing . . . in accordance with the FDA’s current policy and enforcement
26    discretion which indicates that pulse oximeters that are not intended for medical purposes
27    can be marketed directly to consumers . . . .” Samplin Decl. Ex. M, at 246 (Masimo 2015
28    10-K) (emphasis added). And Masimo further disclosed in its 2021 10-K that it sells its

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1     “non-medical/consumer products through e-commerce Internet sites. Samplin Decl. Ex.
 2    L, at 223. Do Plaintiffs claim that the “consumer” market encompasses both medical and
 3    non-medical uses? Do they claim that the “consumer” market is any sale of their products
 4    to consumers, regardless of use—i.e., even if for consumers’ health care? Do Plaintiffs
 5    claim that the “health care market” includes “alternate care” and “long term care facilities”?
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10          Finally, Plaintiffs incorrectly assert that
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15          RFP 104. RFP 104 seeks “[a]ll documents and things that relate to Apple’s efforts
16    to promote and/or market any of the Apple Watch Products.” Like RFP 101, this request
17    is facially overbroad because it encompasses documents relating to any effort to market the
18    Apple Watch regardless of whether that marketing relates to functionality or technology
19    claimed to be a trade secret in this case.          See Anokiwave, 2019 WL 3935817, at
20    *2.7 Recognizing this fact, Plaintiffs now offer to limit this request to any advertising or
21    marketing ever done for “physiological monitoring” for the Apple Watch.
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24      For this reason, Plaintiffs’ citations to Carrizosa v. Stassinos, 2006 WL 1581953, at *1
      (N.D. Cal. June 6, 2006), Manzo v. Cty. of Santa Clara, 2019 WL 2866047, at *2 (N.D.
25    Cal. July 3, 2019), and Elkin v. New York Life Ins. Co., 2017 WL 4047235, at *2 (C.D. Cal.
26    Sept. 8, 2017) are pointless.
      7
27      As currently phrased, this RFP also would appear to encompass documents relating to
      Plaintiffs’ alleged hospital strategy trade secrets, recently dismissed in the Court’s order of
28
      April 21, 2021. See Samplin Decl Ex. H, at 145–46, 148 (Order at 5–6, 8) (dismissing

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1           This “limit,” unfortunately, does not cure the RFP’s overbreadth. During the parties’
 2    negotiations, Apple explored with Plaintiffs the possibility of at a minimum limiting this
 3    RFP to “light-based physiological monitoring,” which would “exclude, for example, an
 4    accelerometer.” See Plaintiffs’ Ex. 23, at 315; Plaintiffs’ Ex. 24, at 328. Apple initially
 5    considered this possibility because Plaintiffs suggested this limitation in response to
 6    Apple’s objections to Interrogatories Nos. 7 and 8. See id. at 312. Plaintiffs refused even
 7    this limitation, arguing that documents relating to non-light based physiologic monitoring
 8    was somehow relevant to damages. Plaintiffs’ Ex. 23, at 315. But Plaintiffs have not
 9    accused any non-light-based functionalities of misappropriating their alleged trade secrets,
10    and therefore cannot possibly have any claim to damages based on those unrelated
11    functionalities. Moreover, Apple’s intent with respect to this RFP was the same as its
12    proposal for Interrogatory No. 7—agreeing “to limit the scope of the information sought
13    to ‘light-based physiological monitoring’ related to the alleged trade secrets in Plaintiffs’
14    Section 2019.210 disclosure.” Plaintiffs’ Ex. 24, at 321–22 (emphasis added) (explaining
15    this limitation for Interrogatory No. 7). At no point did Apple agree to provide discovery
16    untethered from Plaintiffs’ alleged trade secrets. Again, the Apple Watch does far more
17    than what Plaintiffs claim involves their alleged secrets: the Apple Watch Series 4 and
18    later provide “fall detection,” through inclusion of a “next generation accelerometer and
19    gyroscope,” which allows the Apple Watch to detect a person’s “immobility” after “hard
20    falls occur.” Samplin Decl. Ex. K, at 180 (09.12.2018 Apple Watch Series 4 Press
21    Release). Mobility is an indicator of physiological function. Id. Plaintiffs do not allege
22    Apple stole such technologies, or that their alleged marketing secrets “directly” relate to
23    these technologies.
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28    alleged secrets 44.1–44.4).


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1                                                 . Plaintiffs’ Ex. 28, at 446–47 (4th AC ¶ 246).
 2    Because their complaint does not support this overreaching discovery request, Plaintiffs
 3    speculate that “accelerometers can be used in the calculation of light-based parameters.”
 4    J.S. 32–33. Such speculation does not justify even their “narrowed” request—particularly
 5    where Plaintiffs’ alleged trade secrets have nothing to do with any accelerometer
 6    functionality, and Apple has proposed a simple, workable solution that is proportional to
 7    the needs to the case—limit the RFP to the marketing the technologies actually alleged in
 8    the complaint. See MedImpact Healthcare, 2021 WL 719649, at *2.
 9          Plaintiffs’ arguments to the contrary make no sense. Plaintiffs assert that the “parties
10    have repeatedly used [the term ‘physiological monitoring’] to target relevant issues,” and
11    argue that Apple has agreed to this phrase in the protective order and to limit other RFPs.
12    J.S. 31–32. To be clear, Apple has consistently used the term “physiological monitoring”
13    to refer to the specific physiological monitoring functionalities that are related to Plaintiffs’
14    alleged trade secrets. Apple has never agreed that “physiological monitoring” may refer
15    to other, unrelated functionalities simply because they could monitor a person’s
16    physiological parameters in some way. Although Plaintiffs half-heartedly argue that
17    discovery into such unrelated features is somehow relevant to damages and to the purported
18    “value and importance that Apple placed on” supposedly acquiring Plaintiffs’ alleged trade
19    secrets, J.S. 32,8 they do not explain how that is the case (it is not). Discovery into
20    technology unrelated to Plaintiffs’ alleged trade secrets is irrelevant both to Apple’s
21    alleged efforts to acquire the claimed secrets and to damages concerning the alleged
22    misappropriation of the same.
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26     Plaintiffs’ attempt to argue relevance based on the purported “value and importance” to
      Apple of any physiological parameter should be rejected. To the extent there is any
27    purportedly relevant “value and importance” here, it must be tied to Plaintiffs’ alleged trade
28    secrets. See Plaintiffs’ Ex. 28, at 369–375 (4th AC ¶¶ 40.16, 41.6, 42.6, 43.8, 44.7, 45.4).


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1           Plaintiffs also argue “physiological monitoring” is an appropriate limiting term
 2    because “the protective order requires experts to identify work in ‘non-invasive
 3    physiological monitoring technologies.’” J.S. 31–32. But a proposed expert’s prior
 4    experience with broad categories of technologies that may have contributed to that expert’s
 5    expertise has no relevance to the scope of permitted discovery, which must be limited to
 6    the specific technologies that are at issue in this case. Moreover, the protective order was
 7    negotiated in the context of both the trade secret and patent case. The phrase “physiological
 8    monitoring” is too broad to serve as a limit now that the parties are litigating only the trade
 9    secret claim. Also unavailing is Plaintiffs’ argument that “Apple has . . . agreed that the
10    term ‘physiological monitoring’ appropriately narrows the scope of RFPs.” J.S. 32. The
11    referenced RFPs—RFPs 214 and 215—request documents relating to meetings and
12    agreements, respectively, between Apple and Plaintiffs. All such meetings and agreements
13    known to Apple have concerned Plaintiffs’ technology, see Plaintiffs’ Ex. 28, at 360, 437
14    (4th AC ¶¶ 19, 230); thus, the term “physiological monitoring” in this context would
15    exclude technologies Plaintiffs do not produce, e.g., non-light-based technologies.9
16          Finally, Plaintiffs baldly assert that “Apple’s marketing of any physiological
17    parameter” also is relevant to damages. Plaintiffs’ Ex. 42, at 681 (04.13.2021 Powell Ltr.
18    3 (emphasis added)). The example they provide to support that assertion is the Apple
19    Watch’s “electrocardiogram feature.” J.S. 34. But Plaintiffs have not accused that feature
20    of misappropriating their alleged trade secrets, and it is thus irrelevant to any issue in this
21    case, including damages. As discussed below (Section III.B.2), Plaintiffs’ attempt to obtain
22    discovery of irrelevant physiological parameters on the theory that “any physiological
23    parameter” is relevant to damages ignores that Plaintiffs cannot seek damages on a theory
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         RFPs 207, 244, and 246—also referenced by Plaintiffs—similarly request documents
27    related to Apple’s interactions with hospitals, which have not concerned non-light-based
28    technologies like accelerometers.


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1     of misappropriation that is absent from the complaint. Cal. Civ. Code § 3426.3 (requiring
 2    causation).
 3          RFP 105. RFP 105 seeks “[a]ll documents and things that relate to any market
 4    studies, market share, competition, and/or competitor products relating to any of the Apple
 5    Watch Products.” As with RFPs 101 and 104, this request is not tailored to the needs of
 6    the case.10 Plaintiffs assert that “Apple makes no attempt to show the number of market
 7    studies is so high that producing them would be burdensome.” J.S. 33. Plaintiffs misstate
 8    the scope of this RFP by falsely suggesting it seeks only “market studies.” The plain text
 9    of the RFP disproves their argument: “[a]ll documents and things that relate to any market
10    studies, market share, competition, and/or competitor products relating to any of the Apple
11    Watch Products” (emphasis added). Not only does this RFP seek overbroad discovery into
12    anything related to market studies, it goes even further to seek discovery into anything that
13    relates to competition and/or competitor products relating to the Apple Watch. As
14    explained above, such competition would involve products and functionalities that have
15    nothing to do with this case. Accordingly, this RFP is overbroad and not proportional. See
16    Anokiwave, 2019 WL 3935817, at *2.
17          In any event, Apple yet again proposed a sensible solution appropriately tailored to
18    the claims and defenses in this case: “to produce all documents and things relating to
19    market studies for any technology that accomplishes the same functions as the alleged trade
20    secrets in Plaintiffs’ Section 2019.210 disclosure.” Plaintiffs’ Ex. 27, at 350 (4.11.2021
21    Samplin Ltr. at 4). In response, Plaintiffs simply declared the parties were at “an impasse”
22    and served their portion of this Joint Stipulation. Plaintiffs’ Ex. 25, at 335 (3.25.2021
23    Powell Ltr. at 3); Plaintiffs’ Ex. 42, at 681 (4.13.2021 Powell Ltr. at 3).
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26       Plaintiffs incorrectly argue that Apple should not be permitted to assert “new” objections
      to this Request because Apple’s March 9 meet and confer correspondence “articulated no
27    objections to this RFP.” J.S. 33. Plaintiffs ignore that Apple’s response to this RFP
28    expressly asserted multiple overbreadth and burden objections. See J.S. 23–24.


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1            2.     Plaintiffs’ RFPs 106, 108, and 109 Are Likewise Overbroad And Unduly
 2                  Burdensome
 3           As with RFPs 101, 104, and 105, RFPs 106, 108, and 109 are facially overbroad and
 4    not tailored to the needs of this case, and Apple objected accordingly. Again, these RFPs
 5    contain no limitations that address the alleged trade secrets, the technologies, or the accused
 6    products at issue. Instead, the RFPs cover every valuation (RFP 106); every intellectual
 7    property strategy, business strategy, or plan (RFP 108); and every forecast, projection, or
 8    strategic evaluation regarding a purchase, acquisition, or license (RFP 109) relating to any
 9    physiological monitoring technology—even if not alleged to be a misappropriated trade
10    secret—for iPhones, iPads, and a host of other irrelevant Apple products.
11           Apple requested that Plaintiffs propose a reasonable limitation to narrow these RFPs.
12    Plaintiffs’ Ex. 22, at 300 (2.15.2021 Samplin email). Plaintiffs refused to provide such a
13    limitation. Plaintiffs’ Ex. 23, at 314 (2.19.2021 Powell Ltr. at 5). In an effort to
14    compromise, Apple offered to limit the RFPs to the claimed trade secrets in Plaintiffs’
15    Section 2019.210 disclosure—i.e., to produce all documents referring or relating to (i)
16    valuations of the alleged trade secrets in Plaintiffs’ Section 2019.210 disclosure (RFP 106);
17    (ii) internal intellectual property strategy, business strategy, or plans relating to the alleged
18    trade secrets in Plaintiffs 2019.210 disclosure (RFP 108); and (iii) forecasts, projections,
19    or strategic evaluations regarding Apple’s consideration of a purchase, acquisition, or
20    license from any company of technology that accomplishes the same functions as the
21    alleged trade secrets in Plaintiffs’ 2019.210 disclosure (RFP 109). Plaintiffs’ Ex. 24, at 327
22    (3.9.2021 Samplin Ltr. at 10). This compromise provides the information Plaintiffs seek
23    while reasonably limiting the discovery to the actual technology and products at issue in
24    this case. Plaintiffs rejected Apple’s proposal. Plaintiffs’ Ex. 25, at 334 (3.25.2021 Powell
25    Ltr. at 2).
26           Plaintiffs make no effort to justify the “hopelessly overbroad” request for “records
27    that facially are not tied to the specific allegations at issue here”—the technology and
28    products unrelated to this case. Castle v. Lugo, 2020 WL 5356935, at *5 (C.D. Cal. June

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1     19, 2020) (denying motion to compel when subject matter of document request was “not
 2    tied in any way to the particular issues in this case,” which resulted in an undue burden).11
 3    Plaintiffs’ only argument is that Apple cannot limit its discovery obligations to the trade
 4    secrets Plaintiffs have put at issue. As set forth below, Plaintiffs’ argument fails: the
 5    Section 2019.210 disclosure provides reasonable limitations on discovery to ensure
 6    proportionality. Plaintiffs’ attempt to seek discovery of technology and products unrelated
 7    to this case is not proportional to the needs of the case. See id.; Koeper, 2018 WL 6016915,
 8    at *1; MedImpact, 2021 WL 719649, at *2; Outlaw Labs., 2020 WL 4436364, at *5.
 9          Numerous courts have confirmed: “[t]he trade secret designation mandated by
10    Section 2019.210 . . . functions like” a “pleading” “in a trade secret case because it limits
11    the scope of discovery. . . .” Perlan Therapeutics, Inc. v. Superior Court, 178 Cal. App.
12    4th 1333, 1346 (2009) (emphasis added); see, e.g., M/A-COM Tech. Sols., Inc. v. Litrinium,
13    Inc., 2019 WL 4284523, at *5 (C.D. Cal. June 11, 2019) (Early, J.); Gatan, Inc. v. Nion
14    Co., 2018 WL 2117379, at *2 (N.D. Cal. May 8, 2018). In other words, a Section 2019.210
15    statement “delineate[s] the scope of permissible discovery.” Id. at 992; see also Albert’s
16    Organics, Inc. v. Holzman, 2020 WL 4368205, at *3 (N.D. Cal. July 30, 2020) (“[S]ection
17    2019.210 . . . assists the court and parties in defining the appropriate scope of discovery.”
18    (citation omitted)); BioD, LLC v. Amnio Tech., LLC, 2014 WL 3864658, at *5 (D. Ariz.
19    Aug. 6, 2014) (explaining that a Section 2019.210 disclosure serves to limit discovery “to
20    ensure that plaintiffs are not on a fishing expedition” and so that “the court and defendants
21    can discern the relevancy of plaintiffs’ discovery requests” (emphasis added)); Advante
22    Int’l Corp v. Mintel Learning Tech., 2006 WL 3371576, at *3 n.4 (N.D. Cal. Nov. 21,
23    2006) (Cal. Civ. Proc. Code § 2019.210 “provides an appropriate guide in the absence of
24

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      11
26        RFP 108’s reference to “business strategy or plan” would also appear to encompass
      documents relating to Plaintiffs’ alleged hospital strategy trade secrets, recently dismissed
27    in the Court’s order of April 21, 2021. See Samplin Decl. Ex. H, at 145–46, 148 (Order at
28    5–6, 8) (dismissing alleged secrets 44.1–44.4).


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1     specific provisions in the federal rules governing trade secret discovery.”); Advanced
 2    Modular Sputtering, Inc. v. Superior Court, 132 Cal. App. 4th 826, 835 (2005) (explaining
 3    that a Section 2019.210 statement “is not itself a pleading but it functions like one in a trade
 4    secret case because it limits the scope of discovery in much the same way as the allegations
 5    of a complaint limit discovery in other types of civil actions”); Diodes, Inc. v. Franzen,
 6    260 Cal. App. 2d 244, 253 (Ct. App. 1968) (noting that one purpose of a trade secret
 7    description is “to give both the court and the defendant . . . reasonable guidance in
 8    ascertaining the scope of appropriate discovery”). Plaintiffs agree—admitting that Section
 9    2019.210 “fram[es] the appropriate scope of discovery” and assists “in determining
10    whether plaintiff’s discovery requests fall within that scope.” J.S. 35 (quoting Computer
11    Econ., 50 F. Supp. at 985 and agreeing, “[t]hat may be true”); see also Samplin Decl. Ex.
12    G, at 103–04 (ECF 259-1 at 35–36 (quoting Advanced Modular, 132 Cal. App. 4th at 835,
13    and recognizing that a purpose of Section 2019.210 is to “control the scope of . . .
14    discovery”). Thus, Plaintiffs recognize that the RFPs in this trade secret case must relate
15    to the alleged secrets identified in their Section 2019.210 disclosure.          Nevertheless,
16    Plaintiffs argue that Apple may not rely on Plaintiffs’ Section 2019.210 disclosure as a
17    guide to identifying and producing documents that are relevant and responsive to the claims
18    and defenses in this case. J.S. 33–34 (citing Plaintiffs’ Ex. 24 at 10–11 (327–28)).
19    Plaintiffs are wrong, and none of their justifications support their misguided position.
20          Plaintiffs first claim that, even if the sales and marketing information regarding
21    physiological monitoring is not relevant to misappropriation of any of their alleged trade
22    secrets, the discovery is still “relevant to damages.” J.S. 34. But Plaintiffs ignore causation
23    completely.     California Civil Code § 3426.3 limits damages in a trade secret
24    misappropriation case to “actual loss caused by misappropriation,” “unjust enrichment
25    caused by misappropriation,” or a reasonable royalty to cover for the “period of time the
26    use could have been prohibited.” Id. § 3426.3(a)-(b). In each instance, damages are
27    expressly tied to the alleged misappropriation. Thus, Apple’s “evaluation of the relevant
28    market(s) and the importance of accurate measurements” or documents relating to “other

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1     physiological monitoring technologies, such as the electrocardiogram feature” that do not
 2    relate to misappropriation of the trade secrets at issue cannot be relevant to damages. See
 3    MedImpact, 2021 WL 719649, at *2; In re Outlaw Labs., 2020 WL 4436364, at *5.
 4    Plaintiffs have made no showing to the contrary, nor have they identified any authority for
 5    their claim that discovery could be relevant to damages when unrelated to the alleged
 6    misappropriation at issue in this case.
 7          Plaintiffs’ second argument is just as flawed. Plaintiffs assert that they need not
 8    limit their discovery requests to their alleged trade secrets because “Section 2019.210 is a
 9    procedural requirement to ‘commenc[e] discovery.’” J.S. 34. But it would make no sense
10    for Section 2019.210 to prevent commencement of discovery until Plaintiffs sufficiently
11    describe their alleged trade secrets, but then throw open the doors to discovery that is
12    untethered to those alleged secrets. The caselaw is clear that Section 2019.210 not only
13    controls commencement of discovery in a trade secret case, but also guides the discovery
14    process.
15          Plaintiffs next argue that Perlan Therapeutics permits trade-secret related discovery
16    somehow to be “broader than the specific trade secrets identified in a Section 2019.210
17    disclosure.” J.S. 34–35 (citing 178 Cal. App. 4th at 1346). Plaintiffs’ reliance on Perlan
18    is misplaced. Perlan merely explains that a trade secret disclosure may be amended based
19    on a showing of good cause. Id. at 1350. The case proves Apple’s point—as there would
20    be no need to amend a trade secret disclosure after discovery commences if that disclosure
21    plays no role in the ongoing discovery process. Nothing in Perlan suggests that a Plaintiff
22    is entitled—in the first instance—to discovery outside the bounds of the identified trade
23    secrets, which Plaintiffs admit they are seeking here. J.S. 36 (arguing Apple’s purported
24    “limitation would . . . allow it to withhold evidence showing it misappropriated other
25    trade secrets of which Plaintiffs are not yet aware. Plaintiffs are entitled to learn of such
26    additional acts of misappropriation”) (emphasis added)). Such a rule would vitiate two
27    primary purposes of the trade secret disclosure rule: (1) to “prevent[] plaintiffs from using
28    the discovery process as a means to obtain the defendant’s trade secrets,” and (2) to

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1     “fram[e] the appropriate scope of discovery and in determining whether plaintiff's
 2    discovery requests fall within that scope.” Perlan, 178 Cal. App. 4th at 1343. Indeed, the
 3    Perlan court explained that it is the trade secret plaintiff who controls the scope of
 4    discovery to which it is entitled—by choosing how to describe the alleged trade secrets at
 5    issue in its Section 2019.210 disclosure. See id. n.12 (confirming that it was “conceivable”
 6    that a narrow trade secret description “could theoretically prevent” a plaintiff from learning
 7    about additional misappropriation). Ignoring Plaintiffs’ Section 2019.210 disclosure to
 8    permit discovery regarding unpleaded secrets is contrary to the law. See id.; see also
 9    Jobscience, Inc. v. CVPartners, Inc., 2014 WL 1724763, at *3 (N. D. Cal. May 1, 2014)
10    (condemning trade secret disclosure where Plaintiff “conceded that nine of the eleven items
11    promised in the complaint were not disclosed in its statement of alleged trade secrets”).
12          Plaintiffs’ attempt to distinguish Computer Economics, Inc. v. Gartner Group., Inc.
13    also fails. Relying on that case, Plaintiffs inexplicably argue that discovery should not be
14    tied to their trade secret description because a “Section 2019.210 statement guides the
15    Court’s decision as to whether a discovery request seeks relevant documents,” J.S. 35
16    (emphasis added)—implying that Section 2019.210 can assist only the Court, and not a
17    defendant, in that regard. But this distinction makes no sense and is wrong as a matter of
18    law. To the extent Plaintiffs are suggesting that Apple should ask the Court to rule on the
19    scope of each discovery request it receives from Plaintiffs in reference to the Section
20    2019.210 disclosure before undertaking its own evaluation of the scope of that request,
21    such a proposition is absurd and unworkable. Plaintiffs’ assertion that Apple cannot
22    evaluate the relevance of Plaintiffs’ discovery requests vis-à-vis their Section 2019.210
23    disclosure and object when such requests are overbroad, see J.S. 35, is likewise wrong.
24    Rule 26 does not require Apple to turn over all of its files to Plaintiffs regardless of
25    relevance so that Plaintiffs can be the sole arbiters of what information relates to their
26    alleged trade secrets. As Diodes (which was cited by Computer Economics) makes clear,
27    Section 2019.210 provides to “both the court and the defendant . . . reasonable guidance in
28    ascertaining the scope of appropriate discovery.” 260 Cal. App. 2d at 253 (emphasis

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1     added); see also Albert’s Organics, Inc. v. Holzman, 2020 WL 4368205, at *3 (N.D. Cal.
 2    July 30, 2020) (“[S]ection 2019.210 . . . assists the court and parties in defining the
 3    appropriate scope of discovery.” (quoting Soc. Apps, LLC v. Zynga, Inc., 2012 WL
 4    2203063, at *2 (N.D. Cal. June 14, 2012)) (emphasis added)). A key purpose of Section
 5    2019.210 is to provide a lens through which both the Court and the parties (including the
 6    defendant) can evaluate the boundaries of trade secret-related discovery requests. Where,
 7    as here, Plaintiffs’ RFPs lie far outside those boundaries, production should be denied.12
 8          Plaintiffs also argue once the Court has made a decision “as to whether a discovery
 9    request seeks relevant documents,” “the defendant should not be permitted to withhold
10    particular responsive documents merely because the defendant contends that they do not
11    directly relate to a particular trade secret.” J.S. 35. But that is a straw man—the Court has
12    not yet ruled that these specific requests seek relevant documents.             And Plaintiffs’
13    unsupported position is illogical in any event. Merely because a document is “responsive”
14    to an improper request does not make it relevant or discoverable. Nor do Plaintiffs explain
15    how a party is supposed to identify and produce documents relevant to the claims and
16    defenses and responsive to requests if that party is not permitted to exercise some good
17    faith judgment.
18          Equally unavailing is Plaintiffs’ attempt to analogize this dispute to patent law.
19    Plaintiffs assert that their “Section 2019.210 statement guides the Court’s decision as to
20    whether a discovery request seeks relevant documents much like a patent claim guides
21    discovery in a patent case.” J.S. 35. That may be true, but it does not support Plaintiffs’
22    attempts to seek discovery unrelated to their alleged trade secrets. In fact, Plaintiffs’
23

24    12
        Plaintiffs also cite Brescia v. Angelin, 172 Cal. App. 4th 133, 149 (2009), and Advanced
25    Modular Sputtering, Inc. v. Superior Court, 132 Cal. App. 4th 826, 837 (2005), for the
26    unremarkable proposition that any reasonable doubt about discovery should be resolved in
      favor of allowing discovery to proceed. J.S. 34. But, as explained below, there is no doubt
27    here that Plaintiffs’ requests are not related to their alleged trade secrets enumerated in their
28    Section 2019.210 disclosure.


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1     analogy, if taken to its logical conclusion, contradicts their argument: if, for example,
 2    Plaintiffs were to serve a discovery request in a patent infringement case that was unrelated
 3    to the patent claims asserted in that case, such a request would be beyond the scope of
 4    permissible discovery. Any defendant would object in such circumstances precisely as
 5    Apple has done here, where Plaintiffs have served requests that are not related to their
 6    alleged trade secrets.
 7          Plaintiffs’ position boils down to the unfounded assertion that Apple will somehow
 8    act improperly by “creat[ing] undisclosed gaps in its document production,” thereby
 9    impeding their “ability to challenge withheld discovery.” J.S. 35. Plaintiffs attempt to
10    justify this meritless contention by claiming Apple has (1) “already improperly withheld
11    discovery on its                         just because it believes it did not misappropriate
12    Plaintiffs’ trade secrets,” and (2) “argued it should not have to produce documents showing
13    it ‘considered’ Plaintiffs’ trade secrets because ‘considering is not relevant.’” Id. at 35–36
14    (citing Plaintiffs’ Ex. 22 at 5 (304)). The first assertion is false. As Apple explained in the
15    parties’ April 22, 2021 Joint Stipulation, it made available for inspection source code for
16    the (undisputed) only version of the Apple Watch that calculates oxygen saturation—the
17    Series 6, Plaintiffs’ Ex. 24, at 325, and has also made available for inspection source code
18    for the “for the relevant operation and functions of the” earlier versions of the Apple Watch,
19    id. at 326. In any event, Plaintiffs grossly mischaracterize Apple’s relevance objections,
20    which are based not on Apple’s belief that it did not misappropriate Plaintiffs’ alleged trade
21    secrets, but on the fact that Plaintiffs’ document requests go well beyond the boundaries
22    established by those alleged trade secrets. The second assertion cites to Apple’s discussion
23    of a completely separate RFP—No. 209, see Plaintiffs’ Ex. 22 at 304—and is thus
24    irrelevant. More importantly, whether a request seeks information about Apple’s alleged
25    implementation of a trade secret or its mere consideration of implementation does not
26    change the analysis—that request must still be tied to Plaintiffs’ alleged trade secrets
27    identified in their Section 2019.210 disclosure.
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1           None of Plaintiffs’ cases tip the scale in their favor. Plaintiffs cite Kilroy v. L.A.
 2    Unified School District Board of Education for the proposition that a party “must produce
 3    all requested documents . . . in its possession, custody, or control” if it “does not offer a
 4    valid objection.” 2018 WL 6071089, at *1 (March 7, 2018); see J.S. 34. As explained
 5    above, Apple’s objections are valid and rest on well-established principles. Plaintiffs cite
 6    PMC, Inc. v. Kadisha, 78 Cal. App. 4th 1368, 1383 (2000), and SkinMedica, Inc. v.
 7    Histogen Inc., 869 F. Supp. 2d 1176, 1197 (S.D. Cal. 2012), for the proposition that Apple
 8    should be subject to discovery because it “‘considered’ Plaintiffs’ trade secrets.” J.S. 36.
 9    Plaintiffs fail to explain what is meant by their allegation that Apple “considered” certain
10    of their alleged trade secrets, but in any event, neither cited case concerns discovery nor
11    mentions the import of a party’s mere “consideration” of another’s alleged trade secrets.
12    Plaintiffs offer no authority suggesting they are entitled to discovery beyond the bounds of
13    their own Section 2019.210 disclosure—the purpose of which is to identify the alleged
14    trade secrets that they contend are at issue in this case.
15                            [remainder of page left intentionally blank]
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1                                IV. PLAINTIFFS’ RFPS 165-170
 2          Pursuant to Local Rule 37-2, below is the full text of Plaintiffs’ RFPs 165-170, and
 3    Apple’s response to each request. The parties’ respective points and authorities follow
 4    below.
 5          REQUEST FOR PRODUCTION NO. 165:
 6               All documents and things related to Masimo’s MightySat pulse
            oximeter.
 7
            RESPONSE TO REQUEST FOR PRODUCTION NO. 165:
 8
                  Apple incorporates by reference its General Objections and Objections
 9          to Definitions and Instructions.
10                 Apple objects to this Request to the extent it seeks documents and things
11          protected from discovery by the attorney-client privilege, the work-product
            doctrine, the common-interest privilege, and/or any other applicable privilege,
12          immunity, or protection. Apple objects to this Request as overbroad and
13          unduly burdensome to the extent it seeks information neither relevant to the
            issues in the present action nor reasonably calculatedto lead to the discovery
14          of admissible evidence. Apple objects to this Request to the extent that it seeks
15          information already in Plaintiffs’ possession or information that is obtainable
            from another source, such as publicly available materials, that is more
16          convenient, less burdensome, or less expensive. Apple objects to this
17          Request as overbroad and unduly burdensome to the extent it seeks
            documents not within Apple’s possession, custody, or control. Apple objects
18          to this Request on the grounds that it is overly broad and unduly burdensome
19          because it requests “all documents and things” relating to the subject matter
            of the request. Apple objects to this Request because it is seeks discovery
20          related to Plaintiffs’ patent infringement allegations, which have been stayed
21          by the Court.
22                 Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
23          Stipulation entered in this case, in view of the Court’s October 14, 2020 Order
24          (Dkt. No. 220) granting Apple’s Motion to Stay, the issues related to
            Plaintiffs’ patent infringement allegations are moot and thus Apple declines
25          to respond to this Request. Additionally, to the extent this Request seeks
26          documents related to trade secret discovery, because Plaintiffs’ Section
            2019.210 Statement, dated November 6, 2020, is deficient, including for
27          reasons identified in Apple’s October 16, 2020 letter, and the Court stayed
28          Plaintiffs’ trade secret discovery pending compliance with Section 2019.210,


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1           Apple declines to respond to this Request at this time.
 2          REQUEST FOR PRODUCTION NO. 166:
 3                All documents and things related to Masimo’s iSpO2 pulse oximeter.
 4          RESPONSE TO REQUEST FOR PRODUCTION NO. 166:
 5                Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
 6
                    Apple objects to this Request to the extent it seeks documents and
 7          things protected from discovery by the attorney-client privilege, the work-
            product doctrine, the common- interest privilege, and/or any other applicable
 8
            privilege, immunity, or protection. Apple objects to this Request as overbroad
 9          and unduly burdensome to the extent it seeks information neither relevant to
            the issues in the present action nor reasonably calculated to lead to the
10
            discovery of admissible evidence. Apple objects to this Request to the extent
11          that it seeks information already in Plaintiffs’ possession or information that
12
            is obtainable from another source, such as publicly available materials, that is
            more convenient, less burdensome, or less expensive. Apple objects to this
13          Request as overbroad and unduly burdensome to the extent it seeks documents
14
            not within Apple’s possession, custody, or control. Apple objects to this
            Request on the grounds that it is overly broad and unduly burdensome because
15          it requests “all documents and things” relating to the subject matter of the
16
            request. Apple objects to this Request because it is seeks discovery related to
            Plaintiffs’ patent infringement allegations, which have been stayed by the
17          Court.
18                 Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
19
            Stipulation entered in this case, in view of the Court’s October 14, 2020 Order
20          (Dkt. No. 220) granting Apple’s Motion to Stay, the issues related to
            Plaintiffs’ patent infringement allegations are moot and thus Apple declines
21
            to respond to this Request. Additionally, to the extent this Request seeks
22          documents related to trade secret discovery, because Plaintiffs’ Section
            2019.210 Statement, dated November 6, 2020, is deficient, including for
23
            reasons identified in Apple’s October 16, 2020 letter, and the Court stayed
24          Plaintiffs’ trade secret discovery pending compliance with Section 2019.210,
25
            Apple declines to respond to this Request at this time.
            REQUEST FOR PRODUCTION NO. 167:
26
                 All documents and things related to Apple marketing or selling
27          Masimo’s MightySat pulse oximeter, including but not limited to all
28          documents and things related to Apple’s inclusion of MightySat on Apple’s

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1           website, Apple’s removal of MightySat from Apple’s website, and Apple’s
 2
            communications with customers about the MightySat.
            RESPONSE TO REQUEST FOR PRODUCTION NO. 167:
 3
                  Apple incorporates by reference its General Objections and Objections
 4
            to Definitions and Instructions.
 5                 Apple objects to this Request to the extent it seeks documents and
 6          things protected from discovery by the attorney-client privilege, the work-
            product doctrine, the common- interest privilege, and/or any other applicable
 7          privilege, immunity, or protection. Apple objects to this Request as overbroad
 8          and unduly burdensome to the extent it seeks information neither relevant to
            the issues in the present action nor reasonably calculated to lead to the
 9          discovery of admissible evidence. Apple objects to this Request as vague,
10          ambiguous, overly broad, and unduly burdensome, including because it uses
            the undefined phrase “Apple marketing or selling Masimo’s MightySat pulse
11          oximeter.” Apple objects to this Request to the extent that it seeks information
12          already in Plaintiffs’ possession or information that is obtainable from another
            source, such as publicly available materials, that is more convenient, less
13          burdensome, or less expensive. Apple objects to this Request as overbroad
14          and unduly burdensome to the extent it seeks documents not within Apple’s
            possession, custody, or control. Apple objects to this Request on the grounds
15          that it is overly broad and unduly burdensome because it requests “all
16          documents and things” relating to the subject matter of the request. Apple
            further objects to this Request to the extent it seeks production of ESI in a
17
            manner other than that which is to be negotiated between the parties pursuant
18          to the ESI Order in this case. Apple objects to this Request because it is seeks
            discovery related to Plaintiffs’ patent infringement allegations, which have
19
            been stayed by the Court.
20                 Subject to and without waiver of the foregoing General and Specific
21          Objections and under the provisions of the Protective Order and ESI
            Stipulation entered in this case, in view of the Court’s October 14, 2020 Order
22          (Dkt. No. 220) granting Apple’s Motion to Stay, the issues related to
23          Plaintiffs’ patent infringement allegations are moot and thus Apple declines
            to respond to this Request. Additionally, to the extent this Request seeks
24          documents related to trade secret discovery, because Plaintiffs’ Section
25          2019.210 Statement, dated November 6, 2020, is deficient, including for
            reasons identified in Apple’s October 16, 2020 letter, and the Court stayed
26          Plaintiffs’ trade secret discovery pending compliance with Section 2019.210,
27          Apple declines to respond to this Request at this time.
28


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1           REQUEST FOR PRODUCTION NO. 168:
 2                All documents and things related to Apple marketing or selling
            Masimo’s iSpO2pulse oximeter, including but not limited to all documents
 3
            and things related to Apple Magazine’s publication of marketing materials for
 4          iSpO2 and Apple’s communicationswith customers about iSpO2.
 5          RESPONSE TO REQUEST FOR PRODUCTION NO. 168:
 6                Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
 7
                   Apple objects to this Request to the extent it seeks documents and
 8          things protected from discovery by the attorney-client privilege, the work-
 9          product doctrine, the common- interest privilege, and/or any other applicable
            privilege, immunity, or protection. Apple objects to this Request as overbroad
10          and unduly burdensome to the extent it seeks information neither relevant to
11          the issues in the present action nor reasonably calculated to lead to the
            discovery of admissible evidence. Apple objects to this Request as vague,
12          ambiguous, overly broad, and unduly burdensome, including because it uses
13          the undefined phrase “Apple marketing or selling Masimo’s iSpO2 pulse
            oximeter.” Apple objects to this Request to the extent that it seeks information
14          already in Plaintiffs’ possession or information that is obtainable from another
15          source, such as publicly available materials, that is more convenient, less
            burdensome, or less expensive. Apple objects to this Request as overbroad
16          and unduly burdensome to the extent it seeks documents not within Apple’s
17          possession, custody, or control. Apple objects to this Request on the grounds
            that it is overly broad and unduly burdensome because it requests “all
18          documents and things” relating to the subject matter of the request. Apple
19          further objects to this Request to the extent it seeks production of ESI in a
            manner other than that which is to be negotiated between the parties pursuant
20          to the ESI Order in this case. Apple objects to this Request because it is seeks
21          discovery related to Plaintiffs’ patent infringement allegations, which have
            been stayed by the Court.
22
                   Subject to and without waiver of the foregoing General and Specific
23          Objections and under the provisions of the Protective Order and ESI
24          Stipulation entered in this case, in view of the Court’s October 14, 2020 Order
            (Dkt. No. 220) granting Apple’s Motion to Stay, the issues related to
25          Plaintiffs’ patent infringement allegations are moot and thus Apple declines
26          to respond to this Request. Additionally, to the extent this Request seeks
            documents related to trade secret discovery, because Plaintiffs’ Section
27          2019.210 Statement, dated November 6, 2020, is deficient, including for
28          reasons identified in Apple’s October 16, 2020 letter, and the Court stayed


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1           Plaintiffs’ trade secret discovery pending compliance with Section 2019.210,
 2
            Apple declines to respond to this Request at this time.
            REQUEST FOR PRODUCTION NO. 169:
 3
                  All documents and things related to Apple’s sales or marketing of
 4
            Masimo’s MightySat pulse oximeter, including but not limited to
 5          communications discussing salesor marketing of the MightySat in relation to
            Apple’s own marketing, research, or product development for Apple’s own
 6
            pulse oximetry product.
 7          RESPONSE TO REQUEST FOR PRODUCTION NO. 169:
 8                Apple incorporates by reference its General Objections and Objections
 9          to Definitions and Instructions.
                   Apple objects to this Request to the extent it seeks documents and
10
            things protected from discovery by the attorney-client privilege, the work-
11          product doctrine, the common- interest privilege, and/or any other applicable
12
            privilege, immunity, or protection. Apple objects to this Request as overbroad
            and unduly burdensome to the extent it seeks information neither relevant to
13          the issues in the present action nor reasonably calculated to lead to the
14
            discovery of admissible evidence. Apple objects to this Request as vague,
            ambiguous, overly broad, and unduly burdensome, including because it uses
15          the undefined phrase “Apple’s sales or marketing of Masimo’s MightySat
16
            pulse oximeter.” Apple objects to this Request on the grounds that it is overly
            broad and unduly burdensome because it requests “all documents and things”
17          relating to the subject matter of the request. Apple further objects to this
18          Request to the extent it seeks production of ESI in a manner other than that
            which is to be negotiated between the parties pursuant to the ESI Order in this
19          case. Apple objects to this Request because it is seeks discovery related to
20          Plaintiffs’ patent infringement allegations, which have been stayed by the
            Court.
21
                   Subject to and without waiver of the foregoing General and Specific
22          Objections and under the provisions of the Protective Order and ESI
            Stipulation entered in this case, in view of the Court’s October 14, 2020 Order
23
            (Dkt. No. 220) granting Apple’s Motion to Stay, the issues related to
24          Plaintiffs’ patent infringement allegations are moot and thus Apple declines
25
            to respond to this Request. Additionally, to the extent this Request seeks
            documents related to trade secret discovery, because Plaintiffs’ Section
26          2019.210 Statement, dated November 6, 2020, is deficient, including for
27
            reasons identified in Apple’s October 16, 2020 letter, and the Court stayed
            Plaintiffs’ trade secret discovery pending compliance with Section 2019.210,
28          Apple declines to respond to this Request at this time.

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1           REQUEST FOR PRODUCTION NO. 170:
 2                All documents and things related to Apple’s sales or marketing of
            Masimo’s iSpO2 pulse oximeter, including but not limited to communications
 3
            discussing sales or marketing of the iSpO2 pulse oximeter in relation to
 4          Apple’s own marketing, research, or product development for Apple’s own
            pulse oximetry product.
 5
            RESPONSE TO REQUEST FOR PRODUCTION NO. 170:
 6
                  Apple incorporates by reference its General Objections and Objections
 7          to Definitions and Instructions.
 8                 Apple objects to this Request to the extent it seeks documents and
 9          things protected from discovery by the attorney-client privilege, the work-
            product doctrine, the common- interest privilege, and/or any other applicable
10          privilege, immunity, or protection. Apple objects to this Request as overbroad
11          and unduly burdensome to the extent it seeks information neither relevant to
            the issues in the present action nor reasonably calculated to lead to the
12          discovery of admissible evidence. Apple objects to this Request as vague,
13          ambiguous, overly broad, and unduly burdensome, including because it uses
            the undefined phrase “Apple’s sales or marketing of Masimo’s iSpO2 pulse
14          oximeter.” Apple objects to this Request to the extent that it seeks information
15          already in Plaintiffs’ possession or information that is obtainable from another
            source, such as publicly available materials, that is more convenient, less
16          burdensome, or less expensive. Apple objects to this Request as overbroad
17          and unduly burdensome to the extent it seeks documents not within Apple’s
            possession, custody, or control. Apple objects to this Request on the grounds
18          that it is overly broad and unduly burdensome because it requests “all
19          documents and things” relating to the subject matter of the request. Apple
            further objects to this Request to the extent it seeks production of ESI in a
20          manner other than that which is to be negotiated between the parties pursuant
21          to the ESI Order in this case. Apple objects to this Request because it is seeks
            discovery related to Plaintiffs’ patent infringement allegations, which have
22          been stayed by the Court.
23                 Subject to and without waiver of the foregoing General and Specific
24          Objections and under the provisions of the Protective Order and ESI
            Stipulation entered in this case, in view of the Court’s October 14, 2020 Order
25          (Dkt. No. 220) granting Apple’s Motion to Stay, the issues related to
26          Plaintiffs’ patent infringement allegations are moot and thus Apple declines
            to respond to this Request. Additionally, to the extent this Request seeks
27          documents related to trade secret discovery, because Plaintiffs’ Section
28          2019.210 Statement, dated November 6, 2020, is deficient, including for


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1           reasons identified in Apple’s October 16, 2020 letter, and the Court stayed
 2
            Plaintiffs’ trade secret discovery pending compliance with Section 2019.210,
            Apple declines to respond to this Request at this time.
 3
      A.    Plaintiffs’ Position
 4
            RFPs 165-170 seek documents about Apple’s sales and marketing of Plaintiffs’
 5
      products that interact with Apple’s products and that Apple has sold, including the
 6
      MightySAT and iSpO2 products. Masimo MightySAT and Masimo iSpO2 are pulse
 7
      oximeters that are sold to consumers. Exs. 39-40. Thus, these products directly compete
 8
      against at least the physiological monitoring portion of the Apple Watch sold to consumers.
 9
            Apple’s sales and marketing efforts with respect to these products is directly relevant
10
      to trade secret misappropriation and damages. As discussed,
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                                                               The RFPs are also proportional to
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      the needs of the case for the same reasons discussed above. Among other things, these
23
      RFPs seek relevant information, the amount in controversy is high, and Apple cannot claim
24
      it lacks resources to search because it is the most valuable public company on earth.
25
            Apple’s written responses included pages of boilerplate objections. The Court need
26
      not consider such “general or boilerplate objections” that Apple did not maintain and
27
      explain. Nguyen, 2019 WL 4579259, at *3. During the meet and confer, Apple objected
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1     to RFPs 165-170 as “overly broad and unduly burdensome” because Plaintiffs purportedly
 2    had not “articulated a justification for why these RFPs are appropriately tailored to seek
 3    documents relevant to and proportional to the issues in this case.” Ex. 24 at 10. But
 4    Plaintiffs explained why these requests were relevant during the parties’ meet and confer.
 5    As discussed above, these RFPs are relevant to many issues and proportional to the needs
 6    of the case. Thus, Apple’s objection to RFPs 165-170 lacks merit.
 7          Accordingly, Apple has not shown why discovery should be limited. The Court
 8    should overrule Apple’s objections and order Apple to produce all responsive documents.
 9    B.    Apple’s Position
10          Plaintiffs seek “all documents and things” relating to the Masimo MightySAT and
11    Masimo iSpO2 products—products that have no relevance to the trade secret
12    misappropriation allegations in this case. Plaintiffs never provided “any justification for
13    why these RFPs are appropriately tailored to seek documents relevant to and proportional
14    to the issues in this case.” Plaintiffs’ Ex. 24, at 327 (3.9.2021 Samplin Ltr. at 10). Instead,
15    Plaintiffs merely claimed that the requests “are appropriate and need not be narrowed
16    further.” Plaintiffs’ Ex. 23, at 315 (2.19.2021 Powell Ltr. at 6). As a compromise, Apple
17    offered to produce—and did produce—sales information relating to Plaintiffs’ products.
18    Plaintiffs’ Ex. 24, at 327 (3.9.2021 Samplin Ltr. at 10); Samplin Decl. ¶ 10 (exemplary
19    documents produced by Apple that are responsive to these RFPs include a spreadsheet
20    bearing bates number APL-MAS_00082917). Rather than conferring further, Plaintiffs
21    responded with their portion of this Joint Stipulation. Plaintiffs’ Ex. 42, at 681 (4.13.2021
22    Powell Ltr. at 3).
23          Plaintiffs’ portion of this Joint Stipulation for the first time provides a cursory
24    attempt to explain why these RFPs are relevant to this case. Notably, Plaintiffs focus only
25    on sales and marketing information covered by these RFPs; Plaintiffs make no effort to
26    justify RFPs 165 and 166, which overbroadly request every document “related to” the
27    MightySAT or iSpO2 products. Plaintiffs’ motion to compel should be denied as to RFPs
28    165 and 166 on that basis alone. See Castle v. Lugo, 2020 WL 5356935, at *1 (C.D. Cal.

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1     June 19, 2020) (“Discovery requests that seek irrelevant information are inherently unduly
 2    burdensome.”).
 3          Moreover, Plaintiffs’ attempt to limit the relevance of these RFPs to the marketing
 4    of Plaintiffs’ products (since Apple already produced the sales information in its possession
 5    to Plaintiffs) does not salvage their burdensome and disproportionate scope. Plaintiffs have
 6    provided no explanation as to how Apple’s marketing of Plaintiffs’ products has anything
 7    to do with Plaintiffs’ claims that Apple misappropriated Plaintiffs’ alleged trade secrets to
 8    sell Apple’s products. Plaintiffs also baldly claim that such information would “show the
 9    value of Apple’s undue benefit from misappropriating Plaintiffs’ trade secret.” J.S. 61.
10    But they have never alleged any connection between the marketing of Plaintiffs’ products
11    (or that any such marketing incorporated Plaintiffs’ trade secrets) and any purported benefit
12    relating to Apple’s sales or marketing of Apple products; thus, such information irrelevant.
13    See MedImpact, 2021 WL 719649, at *2 (declining to “require Defendants to produce
14    documents on products not at issue”). Plaintiffs’ only attempt to draw any connection to
15    the alleged misappropriation in this case demonstrates the extent of their overreach: they
16    want all marketing information relating to Plaintiffs’ products because “
17

18                                 ” J.S. 61 (emphasis added). Such a speculative theory—
19    disconnected from Plaintiffs’ actual trade secret allegations in this case—should be
20    rejected. Cheng v. AIM Sports, Inc., 2011 WL 13196557, at *5–6 (C.D. Cal. Mar. 30,
21    2011) (“It was defendants’ obligation to narrowly tailor their discovery requests; the Court
22    will not allow defendants to engage in a fishing expedition.”).
23          Moreover, Plaintiffs’ requests for every document relating to these products is not
24    proportional to the needs of this case. Id. at *5 (“Although defendants state that the
25    requested documents are relevant to their counterclaims, defendants have completely failed
26    to demonstrate how all documents pertaining to [Topic A], as well as all documents related
27    to [Topic B], are relevant to those counterclaims. Thus, the Court concludes that any likely
28    benefit of the requested discovery is outweighed by the burden of production.”). Indeed,

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1     Plaintiffs conceded that this information is not important to resolving the issues in this case
 2    as Plaintiffs, in seeking ESI from Dr. O’Reilly and others, have not requested any discovery
 3    or search terms referring to the MightySAT or iSpO2 products. Plaintiffs’ other arguments
 4    as to proportionality fail for the reasons discussed above. See Section III.B.1, supra.
 5                            [remainder of page left intentionally blank]
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1                          V. PLAINTIFFS’ RFPS 67-70 AND 155-157
 2          Pursuant to Local Rule 37-2, below is the full text of Plaintiffs’ RFPs 67-70 and 155-
 3    157, and Apple’s response to each request. The parties’ respective points and authorities
 4    follow below.
 5          REQUEST FOR PRODUCTION NO. 67:
 6                All documents and things concerning any attempt to obtain FDA
            approval of any of the Apple Watch Products.
 7
            RESPONSE TO REQUEST FOR PRODUCTION NO. 67:
 8
                  Apple incorporates by reference its General Objections and Objections
 9          to Definitions and Instructions.
10                  Apple objects to this Request to the extent it seeks documents and things
11          protected from discovery by the attorney-client privilege, the work-product
            doctrine, the common-interest privilege, and/or any other applicable privilege,
12          immunity, or protection. Apple objects to this Request as overbroad and
13          unduly burdensome to the extent it seeks information neither relevant to the
            issues in the present action nor reasonably calculatedto lead to the discovery
14          of admissible evidence. Apple objects to this Request to the extent that it seeks
15          information already in Plaintiffs’ possession or information that is obtainable
            from another source, such as publicly available materials, that is more
16          convenient, less burdensome, or less expensive. Indeed, documents sought
17          by this Request are publicly available and easily accessible by Plaintiffs.
            Apple objects to this Request to the extent it seeks documents related to
18          products that are not relevant to this litigation or documents related to products
19          Plaintiffs have not identified in their Complaint or otherwise accused of
            infringement. Apple objects to this Request as overbroad and unduly
20          burdensome because it is not limited to the publicly released Apple Watch
21          Series 3-5 devices identified and alleged in Plaintiffs’ infringement
            allegations to infringe the Asserted Patents. Apple objects to this Request on
22          the grounds that it is overly broad and unduly burdensome to the extent it
23          requests “[a]ll documents and things” relating to the subject matter of the
            request. Apple objects to this Request as overbroad and unduly burdensome
24          to the extent it requests information predating the release of the Accused
25          Products and, in fact, is not limited to any relevant time period. Apple objects
            to this Request to the extent it seeks documents or information that are subject
26          to any protective order interest, privacy interest, contractual obligation, non-
27          disclosure agreement, confidentiality agreement, secrecy order, or other such
            confidentiality obligation owed to any third party. Apple expressly preserves
28          its objection to producing any documents or things that relate to Plaintiffs’

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1           trade secret misappropriation claim, even if they also relate to other claims,
 2
            until Plaintiffs comply with Section 2019.210. Nonetheless, based on this
            Court’s April 17, June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple
 3          will withhold only documents or things that relate solely to Plaintiffs’ trade
 4          secret misappropriation claim until Plaintiffs comply with Section
            2019.210—without waiving, or intending to waive, the preceding objection.
 5
                  Subject to and without waiver of the foregoing General and Specific
 6          Objections, Apple is willing to meet and confer with Plaintiffs to discuss the
            scope of this Request.
 7
            REQUEST FOR PRODUCTION NO. 68:
 8
                  All documents and things concerning the FDA approval of any of the
 9          Apple Watch Products.
10          RESPONSE TO REQUEST FOR PRODUCTION NO. 68:
11                Apple incorporates by reference its General Objections and Objections
12
            to Definitions and Instructions.
                   Apple objects to this Request to the extent it seeks documents and things
13
            protected from discovery by the attorney-client privilege, the work-product
14          doctrine, the common-interest privilege, and/or any other applicable privilege,
            immunity, or protection. Apple objects to this Request as overbroad and
15
            unduly burdensome to the extent it seeks information neither relevant to the
16          issues in the present action nor reasonably calculatedto lead to the discovery
            of admissible evidence. Apple objects to this Request to the extent that it seeks
17
            information already in Plaintiffs’ possession or information that is obtainable
18          from another source, such as publicly available materials, that is more
            convenient, less burdensome, or less expensive. Indeed, documents sought by
19
            this Request are publicly available and easily accessible by Plaintiffs. Apple
20          objects to thisRequest to the extent it seeks documents related to products that
            are not relevant to thislitigation or documents related to products Plaintiffs
21
            have not identified in their Complaint or otherwise accused of infringement.
22          Apple objects to this Request as overbroad and unduly burdensome because
            it is not limited to the publicly released Apple Watch Series 3-5 devices
23
            identified and alleged in Plaintiffs’ infringement allegations to infringe the
24          Asserted Patents. Apple objects to this Request on the grounds that it is overly
25
            broad and unduly burdensome to the extent it requests “[a]ll documentsand
            things” relating to the subject matter of the request. Apple objects to this
26          Request as overbroad and unduly burdensome to the extent it requests
27
            information predating therelease of the Accused Products and, in fact, is not
            limited to any relevant time period. Apple objects to this Request to the extent
28          it seeks documents or information that are subject to any protective order

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1           interest, privacy interest, contractual obligation, non- disclosure agreement,
 2
            confidentiality agreement, secrecy order, or other such confidentiality
            obligation owed to any third party. Apple expressly preserves itsobjection to
 3          producing any documents or things that relate to Plaintiffs’ trade secret
 4          misappropriation claim, even if they also relate to other claims, until
            Plaintiffs comply with Section 2019.210. Nonetheless, based on this Court’s
 5          April 17, June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will
 6          withhold only documents or things that relate solely to Plaintiffs’ trade secret
            misappropriation claim until Plaintiffs comply with Section 2019.210—
 7          without waiving, or intending to waive, the preceding objection.
 8                Subject to and without waiver of the foregoing General and Specific
            Objections, Apple is willing to meet and confer with Plaintiffs to discuss the
 9
            scope of this Request.
10
            REQUEST FOR PRODUCTION NO. 69:
11                 All documents and things submitted to or received from the FDA or any
12          other governmental agency that refer or relate to the Apple Watch Products.
13          RESPONSE TO REQUEST FOR PRODUCTION NO. 69:

14
                  Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
15
                   Apple objects to this Request to the extent it seeks documents and things
16          protected from discovery by the attorney-client privilege, the work-product
            doctrine, the common-interest privilege, and/or any other applicable privilege,
17
            immunity, or protection. Apple objects to this Request as overbroad and
18          unduly burdensome to the extent it seeks information neither relevant to the
            issues in the present action nor reasonably calculatedto lead to the discovery
19
            of admissible evidence. Apple objects to this Request to the extent that it seeks
20          information already in Plaintiffs’ possession or information that is obtainable
            from another source, such as publicly available materials, that is more
21
            convenient, less burdensome, or less expensive. Indeed, documents sought by
22          this Request are publicly available and easily accessible by Plaintiffs. Apple
            objects to thisRequest to the extent it seeks documents related to products that
23
            are not relevant to thislitigation or documents related to products Plaintiffs
24          have not identified in their Complaint or otherwise accused of infringement.
25
            Apple objects to this Request as overbroad and unduly burdensome because
            it is not limited to the publicly released Apple Watch Series 3-5 devices
26          identified and alleged in Plaintiffs’ infringement allegations to infringe the
27
            Asserted Patents. Apple objects to this Request on the grounds that it is overly
            broad and unduly burdensome to the extent it requests “[a]ll documents and
28          things” relating to the subject matter of the request. Apple objects to this

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1           Request as overbroad and unduly burdensome to the extent it requests
 2
            information predating the release of the Accused Products and, in fact, is not
            limited to any relevant time period. Apple objects to this Request to the extent
 3          it seeks documents or information that are subject to any protective order
 4          interest, privacy interest, contractual obligation, non- disclosure agreement,
            confidentiality agreement, secrecy order, or other such confidentiality
 5          obligation owed to any third party. Apple expressly preserves its objection to
 6          producing any documents or things that relate to Plaintiffs’ trade secret
            misappropriation claim, even if they also relate to other claims, until Plaintiffs
 7          comply with Section 2019.210. Nonetheless, based on this Court’s April 17,
 8          June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will withhold only
            documents or things that relate solely to Plaintiffs’ trade secret
 9          misappropriation claim until Plaintiffs comply with Section 2019.210—
10          without waiving, or intending to waive, the preceding objection.

11
                  Subject to and without waiver of the foregoing General and Specific
            Objections, Apple is willing to meet and confer with Plaintiffs to discuss the
12          scope of this Request.
13          REQUEST FOR PRODUCTION NO. 70:
14                All documents and things that refer or relate to clinical trials of the
            Apple WatchProducts.
15
            RESPONSE TO REQUEST FOR PRODUCTION NO. 70:
16
                  Apple incorporates by reference its General Objections and Objections
17          to Definitions and Instructions.
18                  Apple objects to this Request to the extent it seeks documents and
            things protected from discovery by the attorney-client privilege, the work-
19
            product doctrine, the common- interest privilege, and/or any other applicable
20          privilege, immunity, or protection. Apple objects to this Request as overbroad
            and unduly burdensome to the extent it seeks information neither relevant to
21
            the issues in the present action nor reasonably calculated to lead to the
22          discovery of admissible evidence. Apple objects to this Request to the extent
            that it seeks information already in Plaintiffs’ possession or information that
23
            is obtainable from another source, such as publicly available materials, that is
24          more convenient, less burdensome, or less expensive. Apple objects to this
25
            Request to the extent it seeks documents related to products that are not
            relevant to this litigation or documents related to products Plaintiffs have not
26          identified in their Complaint or otherwise accused of infringement. Apple
27
            objects to this Request as overbroad and unduly burdensome because it is not
            limited to the publicly released Apple Watch Series 3-5 devices identified and
28          alleged in Plaintiffs’ infringement allegations to infringe the Asserted Patents.

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1           Apple objects to this Request on the grounds that it is overly broad and unduly
 2
            burdensome to the extent it requests “[a]ll documents and things” relating to
            the subject matter of the request. Apple objects to this Request as vague,
 3          ambiguous, overly broad, and unduly burdensome because it uses the
 4          undefined phrase “clinical trials.” Apple objects to this Request as overbroad
            and unduly burdensome to the extent it requests information predating the
 5          release of the Accused Products and, in fact, is not limited to any relevant time
 6          period. Apple objects to this Request as vague, ambiguous, overly broad, and
            unduly burdensome because it is not limited to the asserted claims of the
 7          patents asserted by Plaintiffs in their Complaint. Apple expressly preserves its
 8          objection to producing any documents or things that relate to Plaintiffs’ trade
            secret misappropriation claim, even if they also relate to other claims, until
 9          Plaintiffs comply with Section 2019.210. Nonetheless, based on this Court’s
10          April 17, June 15, and July 14 Orders (Dkt. Nos. 37, 54, 79), Apple will
            withhold only documents or things that relate solely to Plaintiffs’ trade secret
11          misappropriation claim until Plaintiffs comply with Section 2019.210—
12          without waiving, or intending to waive, the preceding objection.

13
                   Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
14          Stipulation entered in this case, Apple agrees to produce documents related to
15
            the technical features accused of infringement and responsive to the
            unobjectionable scope of this Request, to the extent such information exists
16          and is located after a reasonably diligent search.
17          REQUEST FOR PRODUCTION NO. 155:
18               All documents and things concerning any decision by Apple not to seek
            FDA approval of the pulse oximetry feature of any Apple Watch Product.
19
            RESPONSE TO REQUEST FOR PRODUCTION NO. 155:
20
                  Apple incorporates by reference its General Objections and Objections
21          to Definitions and Instructions.
22                 Apple objects to this Request to the extent it seeks documents and
            things protected from discovery by the attorney-client privilege, the work-
23
            product doctrine, the common- interest privilege, and/or any other applicable
24          privilege, immunity, or protection. Apple objects to this Request as overbroad
25
            and unduly burdensome to the extent it seeks information neither relevant to
            the issues in the present action nor reasonably calculated to lead to the
26          discovery of admissible evidence. Apple objects to this Request to the extent
27
            it seeks documents related to products that are not relevant to this litigation or
            documents related to products Plaintiffs have not identified in their Complaint
28          or otherwise accused of infringement. Apple objects to this Request on the

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1           grounds that it is overly broad and unduly burdensome because it requests “all
 2
            documents and things” concerning the subject matter of the request. Apple
            objects to this Request because it is seeks discovery related to Plaintiffs’
 3          patent infringement allegations, which have been stayed by the Court.
 4                 Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
 5
            Stipulation entered in this case, in view of the Court’s October 14, 2020 Order
 6          (Dkt. No. 220) granting Apple’s Motion to Stay, the issues related to
            Plaintiffs’ patent infringement allegations are moot and thus Apple declines
 7
            to respond to this Request. Additionally, to the extent this Request seeks
 8          documents related to trade secret discovery, because Plaintiffs’ Section
            2019.210 Statement, dated November 6, 2020, is deficient, including for
 9
            reasons identified in Apple’s October 16, 2020 letter, and the Court stayed
10          Plaintiffs’ trade secret discovery pending compliance with Section 2019.210,
11
            Apple declines to respond to this Request at this time.
            REQUEST FOR PRODUCTION NO. 156:
12
                  All documents and things concerning any attempt to obtain FDA
13          approval of the pulse oximetry feature of any Apple Watch Product.
14          RESPONSE TO REQUEST FOR PRODUCTION NO. 156:
15                Apple incorporates by reference its General Objections and Objections
16
            to Definitions and Instructions.
                   Apple objects to this Request to the extent it seeks documents and
17
            things protected from discovery by the attorney-client privilege, the work-
18          product doctrine, the common-interest privilege, and/or any other applicable
            privilege, immunity, or protection. Apple objects to this Request as overbroad
19
            and unduly burdensome to the extent it seeks information neither relevant to
20          the issues in the present action nor reasonably calculated to lead to the
            discovery of admissible evidence. Apple objects to this Request to the extent
21
            it seeks documents related to products that are not relevant to this litigation or
22          documents related to products Plaintiffs have not identified in their Complaint
            or otherwise accused of infringement. Apple objects to this Request on the
23
            grounds that it is overly broad and unduly burdensome because it requests “all
24          documents and things” concerning the subject matter of the request. Apple
25
            objects to this Request because it is seeks discovery related to Plaintiffs’
            patent infringement allegations, which have been stayed by the Court.
26
                  Subject to and without waiver of the foregoing General and Specific
27          Objections and under the provisions of the Protective Order and ESI
            Stipulation entered in this case, in view of the Court’s October 14, 2020 Order
28


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1           (Dkt. No. 220) granting Apple’s Motion to Stay, the issues related to
 2
            Plaintiffs’ patent infringement allegations are moot and thus Apple declines
            to respond to this Request. Additionally, to the extent this Request seeks
 3          documents related to trade secret discovery, because Plaintiffs’ Section
 4          2019.210 Statement, dated November 6, 2020, is deficient, including for
            reasons identified in Apple’s October 16, 2020 letter, and the Court stayed
 5          Plaintiffs’ trade secret discovery pending compliance with Section 2019.210,
 6          Apple declines to respond to this Request at this time.
            REQUEST FOR PRODUCTION NO. 157:
 7
                   All documents and things submitted to or received from the FDA or any
 8
            other governmental agency that refer or relate to the pulse oximetry feature of
 9          any Apple Watch Product.
10          RESPONSE TO REQUEST FOR PRODUCTION NO. 157:
11                 Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions. Apple objects to this Request to the extent it
12          seeks documents and things protected from discovery by the attorney-client
13          privilege, the work-product doctrine, the common- interest privilege, and/or
            any other applicable privilege, immunity, or protection. Apple objects to this
14          Request as overbroad and unduly burdensome to the extent it seeks
15          information neither relevant to the issues in the present action nor reasonably
            calculated to lead to the discovery of admissible evidence. Apple objects to
16          this Request to the extent it seeks documents related to products that are not
17          relevant to this litigation or documents related to products Plaintiffs have not
            identified in their Complaint or otherwise accused of infringement. Apple
18          objects to this Request on the grounds that it is overly broad and unduly
19          burdensome because it requests “all documents and things” relating to the
            subject matter of the request. Apple objects to this Request because it is seeks
20          discovery related to Plaintiffs’ patent infringement allegations, which have
21          been stayed by the Court.
22                 Subject to and without waiver of the foregoing General and Specific
            Objections and under the provisions of the Protective Order and ESI
23          Stipulation entered in this case, in view of the Court’s October 14, 2020 Order
24          (Dkt. No. 220) granting Apple’s Motion to Stay, the issues related to
            Plaintiffs’ patent infringement allegations are moot and thus Apple declines
25          to respond to this Request. Additionally, to the extent this Request seeks
26          documents related to trade secret discovery, because Plaintiffs’ Section
            2019.210 Statement, dated November 6, 2020, is deficient, including for
27          reasons identified in Apple’s October 16, 2020 letter, and the Court stayed
28


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1           Plaintiffs’ trade secret discovery pending compliance with Section 2019.210,
 2
            Apple declines to respond to this Request at this time.
      A.    Plaintiffs’ Position
 3
            RFPs 67-70 and 155-157 seek documents about any attempt to obtain FDA approval
 4
      for the Apple Watch, as well as documents submitted to the FDA or other governmental
 5
      agencies even if not connected to any attempt to obtain FDA approval. RFP 70 seeks
 6
      documents about clinical trials for the Apple Watch. RFPs 155-157 seek documents about
 7
      Apple’s decision to attempt or not attempt to seek FDA approval for the pulse oximetry
 8
      feature of the Apple Watch, and documents submitted to the FDA or other governmental
 9
      agencies regarding physiological monitoring features of the Apple Watch.
10
            These requests are relevant to many issues in the case. First, responsive documents
11
      would summarize how Apple’s products function and, thus, are relevant to the technical
12
      trade secrets addressed primarily in Plaintiffs’ co-pending first motion to compel. Second,
13
      Apple’s communications with the FDA are relevant to damages because they would reveal
14
      what importance Apple placed on being able to offer accurate technology. Such evidence
15
      would also be relevant to
16
                                                         All such evidence is highly relevant to
17
      the undue benefit Apple received by misappropriating Plaintiffs’ trade secrets. Third,
18
      responsive documents are also relevant to Plaintiffs’ business and marketing trade secrets.
19
      As discussed,
20

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                                                    The RFPs are also proportional to the needs
27
      of the case for the same reasons discussed above. Among other things, these RFPs seek
28


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1     relevant information, the amount in controversy is high, and Apple cannot claim it lacks
 2    resources to search because it is the most valuable public company on earth.
 3          Apple’s written responses included pages of boilerplate objections. The Court need
 4    not consider such “general or boilerplate objections” that Apple did not maintain and
 5    explain. Nguyen, 2019 WL 4579259, at *3. During the meet and confer, Apple appeared
 6    to drop all of its objections for these requests. Ex. 24 at 9. For RFPs 67-69 and 155-157,
 7    Apple stated it “has not sought FDA approval or submitted to or received from the FDA or
 8    any other government agency any documents for any of the Apple Watch products and thus
 9    there are no documents responsive to these RFPs.” Id. That is demonstrably false. Not
10    only has Apple submitted documents to the FDA, it actively promotes the watch as being
11    FDA cleared for certain physiological monitoring techniques. See Ex. 33 at 2-3.
12          Apple confirmed it is not relying on any technical differences in the “approval” and
13    “clearance” processes at the FDA. Ex. 27 at 2. Instead, Apple asserts it has no responsive
14    documents because it obtained “FDA approval of ‘apps’ utilized by certain Apple
15    products” that are “unrelated to the operation of the products themselves.” Id. Apple’s
16    argument lacks merit and is deeply concerning because it suggests that Apple may be
17    limiting its entire production by excluding information about “apps” that run on the “Apple
18    Watch.” Indeed, the “app” at issue here is the Apple “Health” app that is pre-installed on
19    the Apple Watch and provides measurements obtained by Apple’s hardware. The Court
20    should order Apple to produce responsive documents—for these RFPs and all other
21    RFPs—even if they relate to Apple’s “apps” on the Apple Watch rather than the Apple
22    Watch hardware itself.
23          For RFP 70, Apple stated it will produce documents only “to the extent they relate
24    to the alleged trade secrets in Plaintiffs’ Section 2019.210 disclosure . . . .” Ex. 24 at 9.
25    Because Apple dropped all of its objections, however, Apple cannot self-select documents
26    it chooses to produce. See Kilroy, 2018 WL 6071089, at *1. Apple’s Section 2019.210
27    limitation also lacks merit for the reasons discussed above. See Section III.A.2.b, supra.
28    As discussed, sales and marketing information regarding other physiological parameters is

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1     relevant to damages even if it is not directly relevant to a particular trade secret. Apple’s
 2    limitation would also permit it to withhold vast and unknown information if Apple
 3    determines the information in a particular document is not directly relevant to Plaintiffs’
 4    Section 2019.210 statement.      As discussed, permitting such a unilateral decision of
 5    relevance would be extremely prejudicial, particularly because Apple has already indicated
 6    that it has a very narrow view of relevance in this case. Apple’s limitation would also
 7    allow it to withhold evidence showing it misappropriated other trade secrets of which
 8    Plaintiffs are not yet aware. That would be improper. See Perlan Therapeutics, 178 Cal.
 9    App. 4th at 1350.
10          Accordingly, Apple has not shown why discovery should be limited. The Court
11    should overrule Apple’s objections and order Apple to produce all responsive documents.
12    B.    Apple’s Position
13          Apple has not sought FDA approval for the Apple Watch, or any “Apple Watch
14    Product.” While Plaintiffs are correct that Apple did seek FDA approval for an app that
15    can be used with the Apple Watch, the app does not relate—and Plaintiffs do not allege
16    that the app relates—to the alleged trade secrets or other issues in this case.
17          Indeed, the app offers an ECG feature that does not use the optical sensors or other
18    technology Plaintiffs allege Apple has misappropriated. The FDA’s de novo classification
19    request for the ECG app—which is publicly available—provides a description of how the
20    ECG process works, explaining that the ECG app uses “electrodes on the back of the device
21    which are in continuous contact with the user’s wrist” to “acquire the electrical potential
22    between the electrodes and digital crown” so that it can “display a visual representation of
23    the ECG waveform.” Samplin Decl. Ex. I, at 156 (FDA De Novo Classification Request
24    for ECG App at 3); see also id. Ex. J, at 170 (09.11.2018 Letter from FDA to Apple re
25    ECG app marketing authorization, at 1) (“The ECG app is a software-only mobile medical
26    application intended for use with the Apple Watch to create, record, store, transfer, and
27    display a single channel electrocardiogram (ECG) similar to a Lead I ECG.” (emphasis
28    added)). This summary of how the ECG app works demonstrates conclusively that it does

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1     not use optical signals or other optical sensing features at issue in this lawsuit. Thus,
 2    discovery about the process for FDA review or clearance of the ECG app is not germane
 3    to this dispute.
 4           Plaintiffs’ arguments regarding these RFPs condense down to the boilerplate
 5    assertion that Apple should be forced to engage in boundless discovery because it is a large
 6    company with “resources.” J.S. 73. But even when dealing with “a large corporation with
 7    substantial resources,” the “Court should not be—and is not—insensitive to the[] costs”
 8    associated with overbroad discovery. Sterling Heights, Inc., 2015 WL 5055241, at *3; see
 9    Koeper, 2018 WL 6016915, at *1 (explaining that the “significant effort” required to gather
10    large sets of information cannot be ignored even when a defendant has “substantial
11    resources”). This argument—which any plaintiff could make in any case against Apple (or
12    any other large company), regardless of subject matter—should not outweigh the fact that
13    the discovery sought by these RFPs is wholly irrelevant, and requiring Apple to search for
14    and produce documents related to its FDA filings is disproportionate to the needs of the
15    case. “[C]ourts are required to limit discovery” where, as here, “the burden or expense of
16    the proposed discovery outweighs its likely benefit; such is ‘the essence of proportionality,’
17    an all-too-often ignored discovery principle.” In re Glumetza Antitrust Litig., 2020 WL
18    3498067, at *7 (N.D. Cal. June 29, 2020) (citing Fed. R. Civ. P. 26(b)(1) and Apple Inc. v.
19    Samsung Elecs. Co., 2013 WL 4426512, at *3 (N.D. Cal. Aug. 14, 2013)); see also P&P
20    Imports LLC v. Johnson Enters. LLC, 2020 WL 4258817, at *1 (C.D. Cal. Apr. 16, 2020)
21    (Early, J.) (explaining that “discovery requests that seek irrelevant information are
22    inherently unduly burdensome”) (citing Wheel Grp. Holdings, LLC v. Cub Elecparts, Inc.,
23    2018 WL 6264980, at *4 (C.D. Cal. Sept. 4, 2018)). Plaintiffs’ arguments to the contrary
24    are unavailing.
25           First, Plaintiffs argue that the RFPs are relevant because “responsive documents
26    would summarize how Apple’s products function.” J.S. 72. As discussed above, the
27    operation of Apple’s ECG app is irrelevant to the issues in this case. Nothing in Plaintiffs’
28    Complaint or its Section 2019.210 disclosure implicates the ECG app for which Apple

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1     sought FDA approval. And, in any event, Apple has produced myriad other documents
 2    that “summarize how Apple’s products function” as it relates to the issues in this case,
 3    including visual bills of material (BOMs), detailed structural drawings of the sensor
 4    module, circuit diagrams for photodiodes, engineer requirement specification (ERS)
 5    documents, design presentations, source code, and user guides. Plaintiffs completely fail
 6    to identify what types of relevant non-duplicative information they believe they would
 7    obtain from these RFPs that they have not obtained, or could not obtain, from previously
 8    produced documents. With respect to information related to clinical trials requested by
 9    RFP 70, Apple has already agreed to provide (to the extent they exist) “documents related
10    to the technical features accused of infringement and responsive to the unobjectionable
11    scope of this Request,” id. at 69—i.e., the scope framed by Plaintiffs’ trade secret
12    misappropriation allegations.13 These past and forthcoming productions are sufficient to
13    provide Plaintiffs with information on “how Apple’s products functions.” Id. at 72.
14          Second, Plaintiffs claim that “Apple’s communications with the FDA are relevant to
15    damages because they would reveal what importance Apple placed on being able to offer
16    accurate technology” and that “[s]uch evidence would also be relevant to
17

18           ” Id. Plaintiffs cite no facts or law suggesting that Apple’s pursuit of FDA clearance
19    for an app that is wholly unrelated to the technology at issue in this case has any relevance
20    to damages or                         Plaintiffs do not even attempt to explain why they
21    believe Apple’s FDA communications would reveal the “importance Apple placed on
22    being able to offer accurate technology.” Nor do they explain how such information
23    informs damages. And, in any event, Apple is producing other documents that are more
24    likely to inform Plaintiffs’ damages assessment, including surveys, market research, and
25    sales and financial data relating to the products accused in this case.
26

27    13
        Apple will produce documents related to Plaintiffs’ patent infringement allegations if
28    and when the stay of the patent infringement case is lifted.


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1           Third, Plaintiffs argue that responsive documents are “relevant to Plaintiffs’ business
 2    and marketing trade secrets” because they reflect
 3

 4                                               and therefore relate to alleged trade secret 43.1.
 5    Id. But Apple’s interactions with the FDA regarding an app that is not at issue in this
 6    litigation have no bearing on any alleged trade secret or any other allegations in the
 7    Complaint. Alleged trade secret 43.1 involves
 8

 9                                                            Plaintiffs’ Ex. 28, at 372.
10

11

12

13

14          Apple disputes Plaintiffs’ repeated and unfounded accusation that Apple included
15    improper “boilerplate objections.” See, e.g., J.S. 73. A boilerplate objection is one that
16    does not “set[] forth any explanation or argument why the requested documents are not
17    relevant.” A. Farber & Partners, Inc. v. Garber, 234 F.R.D. 186, 188 (C.D. Cal. 2006)
18    (quoted in Nguyen, 2019 WL 4579259, at *3). Apple clearly explained the bases for all of
19    its objections, including its relevance objections.14
20                            [remainder of page left intentionally blank]
21

22

23

24    14
         Plaintiffs are also wrong that “Apple appeared to drop all of its objections for these
25    requests.” J.S. 73. Rather, Apple explained that no responsive documents exist because
26    Apple never sought FDA approval for the “Apple Watch Products” or for any Apple Watch
      feature applicable to this case (including its pulse oximetry feature). The fact that Apple
27    did not specifically discuss its objections in conjunction with informing Plaintiffs that no
28    responsive documents exist does not mean Apple “dropped” its objections.


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1                          VI. PLAINTIFFS’ RFPS 226 AND 230-235
 2          Pursuant to Local Rule 37-2, below is the full text of Plaintiffs’ RFPs 226 and 230-
 3    235, and Apple’s response to each request. The parties’ respective points and authorities
 4    follow below.
 5          REQUEST FOR PRODUCTION NO. 226:
 6                All documents and things owned by, created in whole or in part by, or
            originating with, Masimo or Cercacor.
 7
            RESPONSE TO REQUEST FOR PRODUCTION NO. 226:
 8
                  Apple incorporates by reference its General Objections and Objections
 9          to Definitions and Instructions.
10                 Apple objects to this Request as overbroad and unduly burdensome to
11          the extent it seeks information neither relevant to the issues in the present
            action nor reasonably calculated to lead to the discovery of admissible
12          evidence and is not limited to any relevant time period. Apple objects to this
13          Request to the extent that it seeks information already in Plaintiffs’
            possession. Apple objects to this Request on the grounds that it is overly broad
14          and unduly burdensome because it requests “all documents and things”
15          relating to the subject matter of the Request, regardless of the subject matter
            of the documents and things. In addition, to the extent it seeks trade secret-
16          related discovery, Apple objects to this Request as vague and ambiguous,
17          including because Plaintiffs have not complied with Section 2019.210.

18
            REQUEST FOR PRODUCTION NO. 230:
                   All documents and things authored by, prepared by, provided by,
19
            reviewed by, orin the possession, custody, or control of any Former Employee
20          that relate to Masimo or Cercacor or any Masimo or Cercacor products or
            technologies, including, without limitation, internal and external
21
            communications, and any studies, reports, memoranda,presentations, or other
22          documents.
23          RESPONSE TO REQUEST FOR PRODUCTION NO. 230:
24                Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
25
                  Apple objects to this Request as overbroad and unduly burdensome to
26          the extent it seeks information neither relevant to the issues in the present
27          action nor reasonably calculated to lead to the discovery of admissible
            evidence and is not limited to any relevant time period. Apple objects to this
28          Request as overbroad and unduly burdensome to the extent it seeks documents

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1           not within Apple’s possession, custody, or control. Apple objects to this
 2
            Request to the extent that it seeks information already in Plaintiffs’ possession
            or information that is obtainable from another source, such as publicly
 3          available materials, that is more convenient, less burdensome, or less
 4          expensive. Appleobjects to this Request on the grounds that it is overly broad
            and unduly burdensome because it requests “all documents and things”
 5          relating to the subject matter of the Request. In addition, to the extent it seeks
 6          trade secret-related discovery, Apple objects to this Request as vague and
            ambiguous, including because Plaintiffs have not complied with Section
 7          2019.210.
 8          REQUEST FOR PRODUCTION NO. 231:
 9                 All documents and things authored by, prepared by, provided by,
            reviewed by, orin the possession, custody, or control of any Former Employee
10
            that relate to any of the Apple Watch Products, including, without limitation,
11          internal and external communications, and any studies, reports, memoranda,
            presentations, or other documents.
12
            RESPONSE TO REQUEST FOR PRODUCTION NO. 231:
13
                  Apple incorporates by reference its General Objections and Objections
14          to Definitions and Instructions.
15                 Apple objects to this Request as overbroad and unduly burdensome to
16
            the extent it seeks information neither relevant to the issues in the present
            action nor reasonably calculated to lead to the discovery of admissible
17          evidence and is not limited to any relevant time period. Apple objects to this
18          Request to the extent that it seeks information that is obtainable from another
            source, such as publicly available materials, that is more convenient, less
19          burdensome, or less expensive. Apple objects to this Request on the grounds
20          that it is overly broad and unduly burdensome because it requests “all
            documents and things” relating to the subject matter of the Request. In
21          addition, to the extent it seeks trade secret-related discovery, Apple objects to
22          this Request as vague and ambiguous, including because Plaintiffs have not
            complied with Section 2019.210.
23
            REQUEST FOR PRODUCTION NO. 232:
24
                   All publications, technical papers, white papers, internal
25          memorandums, conference proceedings, book chapters, speeches, and/or
            technical presentations, whether published or not, that were authored in whole
26
            or in part, authorized, or reviewedby any Former Employee that relate to any
27          of the Apple Watch Products.
28


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1           RESPONSE TO REQUEST FOR PRODUCTION NO. 232:
 2                Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
 3
                   Apple objects to this Request as overbroad and unduly burdensome to
 4
            the extent it seeks information neither relevant to the issues in the present
 5          action nor reasonably calculated to lead to the discovery of admissible
            evidence and is not limited to any relevant time period. Apple objects to this
 6
            Request to the extent that it seeks information that is obtainable from another
 7          source, such as publicly available materials, that is more convenient, less
            burdensome, or less expensive. Apple objects to this Request on the grounds
 8
            that it is overly broad and unduly burdensome because it requests “all
 9          publications, technical papers, white papers, internal memorandums,
            conference proceedings, book chapters, speeches, and/or technical
10
            presentations” relating to the subject matter of the Request. In addition, to the
11          extent it seeks trade secret-related discovery, Apple objects to this Request as
            vague and ambiguous, including because Plaintiffs have not complied with
12
            Section 2019.210. Apple objects to this Request to the extent it is duplicative
13          and/or cumulative of Plaintiffs’ Request for Production No. 231.
14          REQUEST FOR PRODUCTION NO. 233:
15                All publications, technical papers, white papers, internal
            memorandums, conference proceedings, book chapters, speeches, and/or
16          technical presentations, whether published or not, that were authored in whole
17          or in part, authorized, or reviewed by any Former Employee that relate to
            Masimo or Cercacor or any Masimo or Cercacor product or technology.
18
            RESPONSE TO REQUEST FOR PRODUCTION NO. 233:
19
                  Apple incorporates by reference its General Objections and Objections
20          to Definitions and Instructions.
21                 Apple objects to this Request as overbroad and unduly burdensome to
            the extent it seeks information neither relevant to the issues in the present
22
            action nor reasonably calculated to lead to the discovery of admissible
23          evidence and is not limited to any relevant time period. Apple objects to this
            Request to the extent that it seeks information that is obtainable from another
24
            source, such as publicly available materials, that is more convenient, less
25          burdensome, or less expensive. Apple objects to this Request to the extent that
            it seeks information already in Plaintiffs’ possession. Apple objects to this
26
            Request on the grounds that it is overly broad and unduly burdensome because
27          it requests “all publications, technical papers, white papers, internal
            memorandums, conference proceedings, book chapters, speeches, and/or
28


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1           technical presentations” relating to the subject matter of the Request. In
 2
            addition, to the extent it seeks trade secret-related discovery, Apple objects to
            this Request as vague and ambiguous, including because Plaintiffs have not
 3          complied with Section 2019.210. Apple objects to this Request to the extent
 4          it is duplicative and/or cumulative of Plaintiffs’ Request for Production No.
            223.
 5
            REQUEST FOR PRODUCTION NO. 234:
 6
                  All documents and things that refer or relate to any physiological
 7          monitoring technology that was developed or manufactured by Plaintiffs or
            any Former Employee,or that Apple received or obtained from Plaintiffs or
 8
            any Former Employee.
 9          RESPONSE TO REQUEST FOR PRODUCTION NO. 234:
10                Apple incorporates by reference its General Objections and Objections
11           to Definitions and Instructions.

12
                   Apple objects to this Request as compound. Apple objects to this
             Request to the extent it seeks documents and things protected from discovery
13           by the attorney-client privilege, the work-product doctrine, the common-
14
             interest privilege, and/or any other applicable privilege, immunity, or
             protection. Apple objects to this Request as overbroad and unduly
15           burdensome to the extent it seeks information neither relevant to the issues
16
             in the present action nor reasonably calculated to lead to the discovery of
             admissible evidence. Apple objects to this Request as vague, ambiguous,
17           overly broad, and unduly burdensome, including because it uses the
18           undefined phrase “physiological monitoring technology.” Apple objects to
             this Request as overbroad and unduly burdensome to the extent it seeks
19           documents not within Apple’s possession, custody, or control. Apple objects
20           to this Request to the extent that it seeks information already in Plaintiffs’
             possession. Apple objects to this Request on the grounds that it is overly
21           broad and unduly burdensome because it requests “all documents and things”
22           relating to the subject matter of the Request. Apple objects to this Request to
             the extent it is duplicative and/or cumulative of Plaintiffs’ Request for
23           Production No. 222.
24                 Because Plaintiffs’ Section 2019.210 Statement, dated November 6,
25
             2020, is deficient, including for reasons identified in Apple’s October 16,
             2020 letter, and the Court stayed Plaintiffs’ trade secret discovery pending
26           compliance with Section 2019.210, Apple declines to respond to this Request
27
             at this time. Within thirty days after Apple (or the Court) determines that
             Plaintiffs have provided an amended disclosure that complies with Section
28


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1            2019.210, Apple will amend its response to this Request, to the extent
 2
             necessary.
            REQUEST FOR PRODUCTION NO. 235:
 3
                   All documents and things that refer or relate to any disclosure by
 4
            Plaintiffs or any Former Employee to Apple regarding physiological
 5          monitoring technology.
 6          RESPONSE TO REQUEST FOR PRODUCTION NO. 235:
 7                Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
 8
                   Apple objects to this Request to the extent it seeks documents and
 9          things protected from discovery by the attorney-client privilege, the work-
            product doctrine, the common- interest privilege, and/or any other applicable
10
            privilege, immunity, or protection. Apple objects to this Request as overbroad
11          and unduly burdensome to the extent it seeks information neither relevant to
12
            the issues in the present action nor reasonably calculated to lead to the
            discovery of admissible evidence. Apple objects to this Request as vague,
13          ambiguous, overly broad, and unduly burdensome, including because it uses
14
            the undefined phrase “physiological monitoring technology.” Apple objects
            to this Request on the grounds that it is overly broad and unduly burdensome
15          because it requests “all documents and things” relating to the subject matter
16
            of the Request. Apple objects to this Request to the extent it is duplicative
            and/or cumulative of Plaintiffs’ Request for Production Nos. 222 and 234.
17
                   Because Plaintiffs’ Section 2019.210 Statement, dated November 6,
18          2020, is deficient, including for reasons identified in Apple’s October 16,
            2020 letter, and the Court stayed Plaintiffs’ trade secret discovery pending
19
            compliance with Section 2019.210, Apple declines to respond to this Request
20          at this time. Within thirty days after Apple (or the Court) determines that
            Plaintiffs have provided an amended disclosure that complies with Section
21
            2019.210, Apple will amend its response to this Request, to the extent
22          necessary.
23    A.    Plaintiffs’ Position
24          RFPs 226 and 230-235 seek information about Plaintiffs’ former employees
25    maintaining, using, and disclosing Plaintiffs’ trade secrets. In particular, the RFPs seek
26    documents that originated with Plaintiffs, documents that Plaintiffs’ former employees still
27    have regarding Plaintiffs or Plaintiffs’ technology, and publications and other papers
28    authored by the former employee regarding Plaintiffs or Plaintiffs’ technology. The RFPs

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1     also seek equivalent Apple documents that the former employees have regarding the Apple
 2    Watch so that Plaintiffs can compare whether Plaintiffs’ confidential information was
 3    transferred to Apple’s documents.
 4          These requests are directly relevant to Plaintiffs’ trade secret claims. Plaintiffs
 5    allege that Apple “misappropriated Plaintiffs’ Confidential Information by acquisition at
 6    least from Plaintiffs’ former employees who left Plaintiffs to work for Defendant.” Ex. 28
 7    ¶ 228. Plaintiffs allege that Apple “and its employees used and disclosed Plaintiffs’
 8    Confidential Information [they] obtained from Plaintiffs and their former employees
 9    without Plaintiffs’ express or implied consent.” Id. ¶ 233. Plaintiffs discuss O’Reilly and
10    Lamego as examples, but Plaintiffs’ allegations are not limited to O’Reilly and Lamego.
11    See id. ¶¶ 223-267. The RFPs are proportional to the needs of the case for the same reasons
12    discussed above. Among other things, these RFPs seek relevant information, the amount
13    in controversy is high, and Apple cannot claim it lacks resources to search because it is the
14    most valuable public company on earth.
15          Apple’s written responses included pages of boilerplate objections. The Court need
16    not consider such “general or boilerplate objections” that Apple did not maintain and
17    explain. Nguyen, 2019 WL 4579259, at *3. During the meet and confer, Apple appeared
18    to drop all of its objections for RFPs 231-232 except for its objection that “physiological
19    monitoring” was too broad. Ex. 24 at 3. That objection lacks merit for the reasons
20    discussed above. See Section III.A.2.a, supra. As discussed, the protective order, Apple’s
21    proposals to limit Plaintiffs’ RFPs, and Apple’s own RFPs all use the term “physiological
22    monitoring.” Moreover, physiological monitoring parameters not directly at issue in the
23    case are still relevant to damages because they show the value Apple places on performance
24    and accuracy.
25          Apple also appeared to drop all of its objections for RFPs 226 and 230, and 233-235.
26    Ex. 24 at 2, 7, and 9. However, Apple now claims it will produce documents only “to the
27    extent they relate to the alleged trade secrets in Plaintiffs’ Section 2019.210 disclosure . . .
28    .” Id. Because Apple dropped all of its objections, Apple cannot self-limit its commitment

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1     to produce documents. See Kilroy, 2018 WL 6071089, at *1. Apple’s Section 2019.210
 2    limitation also lacks merit for the reasons discussed above. See Section III.A.2.b, supra.
 3          With respect to former employees other than Lamego and O’Reilly, Apple also
 4    refused to produce any documents responsive to RFPs 233-235 on the basis that such
 5    individuals are not relevant. Ex. 21 at 2-4; Ex. 22 at 5. Apple claimed some of the former
 6    employees were not relevant, but for months refused to provide information necessary for
 7    Plaintiffs to narrow this request. Plaintiffs have asked Apple numerous times to explain
 8    what each individual did at Apple so that Plaintiffs could remove any individuals that were
 9    not relevant to this case, but Apple refused. See, e.g., Ex. 34 at 2. On April 1, Apple finally
10    provided some information about what each individual did at Apple. Ex. 35 at 3-5. The
11    individuals fit into three categories:
12          1. Individuals who do not appear to be relevant (Linus Conrad, Megan Eilers, and
13              Shruti Koneru). Ex. 36 at 2.
14          2. Individuals who Apple has not provided enough information to evaluate
15              (Anderson Briglia, Yinghui Lu, Felipe Tonello, Rich Young, Joe Jagenow,
16              Kornelius Raths, John Aguilar, Swapnil Harsule, Ehsan Masoumi, Boris
17              Oreshkin, Mathew Paul, Will Regan, and Vincent Wayne). Id. at 2-3.
18          3. Individuals who are clearly relevant (Johannes Bruinsma, Ottavia Golfetto,
19              Haritha Haridas, and Inje Lee). Id. at 3. Apple represents these individuals
20              worked in its “health technologies division” (Bruinsma), was a “Biomedical
21              Specialist” (Golfetto), was “involved in clinical trials relating to the Apple
22              Watch” (Haridas), and was “involved in the design of studies related to the Apple
23              Watch” (Lee). Ex. 35 at 4-5.
24    Plaintiffs told Apple that they would not to seek information on individuals in category 1.
25    Ex. 36 at 2-3. Plaintiffs asked Apple for more information on individuals in category 2
26    and asked Apple to produce information on individuals in category 3. Id. Apple has so far
27    declined to respond to Plaintiffs’ proposal. The Court should order Apple to produce
28    information on at least the individuals in category 3 because they are relevant for the

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1     reasons discussed above. The Court should also order Apple to produce information for
 2    any individuals in category 2 that had any involvement in developing or marketing the
 3    Apple Watch or any of Apple’s health monitoring technology.
 4          Accordingly, Apple has not shown why discovery should be limited. The Court
 5    should overrule Apple’s objections and order Apple to produce all responsive documents.
 6    B.    Apple’s Position
 7          Plaintiffs’ motion to compel responses to RFPs 226 and 230–235 is unnecessary and
 8    premature, as the parties are actively negotiating the scope of Plaintiffs’ requests for
 9    documents related to Plaintiffs’ former employees who were subsequently employed by
10    Apple. Although Apple has made clear to Plaintiffs that it is willing to provide discovery
11    related to relevant former employees, Plaintiffs’ requests remain plainly overbroad.
12          Plaintiffs’ motion with respect to these RFPs demonstrates a fundamental
13    misunderstanding of the proper scope of discovery, as it asks the Court to compel Apple to
14    produce documents for any former employee who “had any involvement in developing or
15    marketing the Apple Watch or any of Apple’s health monitoring technology.” J.S. 85.
16    That is not the relevance standard, because it has no connection to Plaintiffs’ alleged trade
17    secrets. As explained above, see Section III.B.2 (J.S. 48–54), Section 2019.210 frames the
18    appropriate scope of discovery in a trade secret case. See Albert’s Organics, 2020 WL
19    4368205, at *3; BioD, 2014 WL 3864658, at *5; Advante Int’l, 2006 WL 3371576, at *3
20    n.4; Computer Econ., 50 F. Supp. at 985; Advanced Modular, 132 Cal. App. 4th at 835;
21    Diodes, 260 Cal. App. 2d at 253. Plaintiffs’ requests here vastly exceed the scope of their
22    alleged trade secrets. Their broad request to fish through the documents of any former
23    employee who had “any involvement” in “developing or marketing the Apple Watch”
24    (which has hundreds of features unrelated to any issue in this case) or in “health monitoring
25    technology” generally, see J.S. 85, is antithetical to the letter and spirit of Section 2019.210,
26    which endeavors to prevent Plaintiffs from the worn tactic of “alleg[ing] theft of trade
27    secrets with vagueness, then tak[ing] discovery into the defendants’ files, and then cleverly
28    specify[ing] what ever [sic] happens to be there as having been trade secrets stolen from

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1     plaintiff.” Jobscience, Inc., 2014 WL 852477, at *5. That is what Plaintiffs seek to do
 2    through their broad requests for sweeping discovery from former employees who have no
 3    connection to the allegations in the Complaint and no known knowledge of or access to
 4    any of the identified alleged trade secrets.
 5          The allegations in this case relate to the alleged activity of only two former Masimo
 6    employees: Marcelo Lamego and Michael O’Reilly.           Although Plaintiffs claim that
 7    Lamego and O’Reilly are named “as examples,” the Complaint includes only speculative,
 8    conclusory allegations about other “former employees” that falls well short of alleging any
 9    acts of misappropriation or other wrongdoing by those “former employees.” To be sure,
10    the sum total of the allegations in Plaintiffs’ Fourth Amended Complaint that are even
11    arguably directed at all “former employees” consist of the following:
12        “Plaintiffs are informed and believe, and thereon allege, that Defendant
13          misappropriated Plaintiffs’ Confidential Information by acquisition at least from
14          Plaintiffs’ former employees who left Plaintiffs to work for Defendant.” Plaintiffs’
15          Ex. 28, at 435–36 (Dkt. No. 296-1 ¶ 228).         Plaintiffs then go on to provide
16          “examples,” which are directed only at O’Reilly and Lamego. Id.; see also id. at
17          453, 455 (¶¶ 258, 261) (similar allegations).
18        “At the time of acquisition, Defendant also knew, or had reason to know, that its
19          employees obtained Plaintiffs’ Confidential Information pursuant to a duty or
20          obligation to keep Plaintiffs’ Confidential Information secret.”      Id. at 436–37
21          (¶ 229). Again, that allegation follows with examples directed at only O’Reilly and
22          Lamego. Id.
23        “On information and belief, Apple targeted and recruited Plaintiffs’ employees,
24          including O’Reilly and Lamego, because of their knowledge of Plaintiffs’
25          Confidential Information.” Id.
26        “Nevertheless, on information and belief, Defendant induced its employees,
27          including Lamego and O’Reilly, to use and/or disclose Plaintiffs’ Confidential
28          Information and the employees used and/or disclosed Plaintiffs’ Confidential

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1           Information for the benefit of Defendant while employed by Defendant.” Id. at 437
 2          (¶ 230); see also id. at 438 (¶ 232) (similar inducement allegations).
 3        “After learning more about the capability of Plaintiffs’ technology at the meetings,
 4          Defendant began systematically hiring Plaintiffs’ employees, including Masimo’s
 5          Chief Medical Officer, Michael O’Reilly, and many others.” Id. at 437 (¶ 230).
 6        “On information and belief, Defendant and its employees used and disclosed
 7          Plaintiffs’ Confidential Information it obtained from Plaintiffs and their former
 8          employees without Plaintiffs’ express or implied consent.           Defendant and its
 9          employees used and disclosed Plaintiffs’ Confidential Information at least by
10          incorporating it into Defendant’s products, by filing patent applications containing
11          Plaintiffs’ Confidential Information, and using Plaintiffs’ business and sales
12          strategies without Plaintiffs’ express or implied consent. . . .” Id. at 438 (¶ 233).
13        “Defendant and the former employees also led Plaintiffs to believe they intended to
14          respect Plaintiffs’ intellectual property rights and concealed Defendant’s and its
15          employees’ acquisition, use, and disclosure of Plaintiffs’ Confidential Information.”
16          Id. at 456–57 (¶ 263). Plaintiffs then identify only O’Reilly and Lamego. Id.
17    The only specific allegations related to any of the so-called “former employees” are related
18    to the actions of Lamego and O’Reilly. Plaintiffs’ Complaint never identifies any other
19    “former employee.”
20          Plaintiffs’ conclusory allegations do not justify a demand for discovery from a
21    laundry list of individuals whose resumes include various positions at both Apple and
22    Masimo, without regard to the relevance of the employees’ positions. Indeed, Plaintiffs’
23    list of former employees from whom it has sought ESI discovery (a request the parties are
24    still discussing) include plainly irrelevant individuals, such as: (1) individuals who worked
25    at Masimo after they left Apple; (2) former Apple employees who worked in entry-level
26    customer service positions at retail locations; and (3) individuals whose employment with
27    Apple commenced decades after their employment with Plaintiffs ended. Plaintiffs’ Ex.
28    35, at 638–42 (04.01.2021 Letter from B. Andrea to A. Powell). Plaintiffs complain that

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1     Apple spent months “refus[ing] to provide information necessary for Plaintiffs to narrow
 2    this request,” J.S. 84, but fail to note that Apple has made very clear to Plaintiffs that it is
 3    willing to provide discovery related to “former employees” if Plaintiffs can identify any
 4    basis for their allegations that such employees misappropriated Plaintiffs’ trade secrets,
 5    Plaintiffs’ Ex. 35, at 638–39 (04.01.2021 Letter from B. Andrea to A. Powell at 1–2);
 6    Samplin Decl. Ex. N, at 257–59 (04.14.2021 Letter from B. Andrea to A. Powell at 1–3).
 7    All Plaintiffs have provided to date are repeated demands for more information about each
 8    of the former employees. Plaintiffs’ Ex. 36, at 646–48 (04.07.2021 Letter from A. Powell
 9    to B. Andrea).
10          Although Plaintiffs have endeavored at every turn to shift their discovery burdens
11    onto Apple, it is not Apple’s obligation to dig up information to illustrate the absurdity of
12    Plaintiffs’ overbroad requests. Nonetheless, as Plaintiffs acknowledge, on April 1, Apple
13    sent Plaintiffs a list of information about the former employees’ work at Apple. Plaintiffs’
14    Ex. 35, at 640–42 (04.01.2021 Letter from B. Andrea to A. Powell). This information was
15    pulled from public sources (e.g., LinkedIn profiles) and was just as accessible to Plaintiffs
16    as it was to Apple; nonetheless, Apple incurred the burden of providing it to Plaintiffs in
17    an attempt to move past this dispute and force Plaintiffs to provide a basis for seeking the
18    widespread discovery they have now moved to compel. Instead of providing a basis,
19    however, Plaintiffs responded by asking for even more free discovery while ignoring
20    information demonstrating the irrelevance of many of the identified former employees.
21          For example, Plaintiffs claim that Inje Lee is “clearly relevant,” but the facts belie
22    that assertion: Mr. Lee’s only known work experience with Masimo was an internship a
23    decade ago, before he began pursuing his Bachelor’s degree. Plaintiffs have provided no
24    reason to believe that a pre-college intern was entrusted with Masimo’s trade secrets, held
25    on to them through college, graduate school, and numerous post-graduate jobs, and then
26    disclosed them to Apple when he joined in November 2018. To provide another example,
27    Plaintiffs also claim they “need more information” before they can drop their demand for
28    discovery from Rich Young, but publicly available information shows that Mr. Young left

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1     Masimo in 2003 and worked various jobs for a decade and a half before joining Apple in
 2    2019, where he works on various audio products (e.g., AirPods) that are not at issue in this
 3    case.
 4            Because these RFPs purportedly seek to obtain information regarding whether
 5    Plaintiffs’ former employees “used and disclosed Plaintiffs’ Confidential Information,”
 6    J.S. 83, the individuals listed can only be relevant if they had access to Plaintiffs’
 7    Confidential Information in the first place, and were then in a position to use and disclose
 8    the information in the course of their work at Apple. Plaintiffs have not even attempted to
 9    make such a showing, and instead have demanded that Apple dig up additional
10    biographical information to “narrow this request.” Id. at 84. Plaintiffs are the ones seeking
11    discovery regarding “former employees” who have no connection to this case and who
12    Plaintiffs do not allege to have misappropriated their trade secrets, see Section VII.B (RFPs
13    240 and 241), infra, and thus the burden is on Plaintiffs to demonstrate the relevance of
14    their document requests.
15            While Plaintiffs’ RFPs remain exceedingly overbroad, burdensome, and
16    disproportionate, Apple remains willing to continue discussing how to provide Plaintiffs
17    with the materials they seek for relevant former employees. Plaintiffs’ motion to compel
18    with respect to these RFPs therefore is premature.15
19                            [remainder of page left intentionally blank]
20

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27    15
          Apple has maintained and continues to maintain each of its previously asserted
28    objections. See Section II.B.2, supra.


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1                VII. PLAINTIFFS’ RFPS 236-237, 239-241, 244-246, AND 248
 2          Pursuant to Local Rule 37-2, below is the full text of Plaintiffs’ RFPs 236-237, 239-
 3    241, 244-246, and 248, and Apple’s response to each request. The parties’ respective
 4    points and authorities follow below.
 5          REQUEST FOR PRODUCTION NO. 236:
 6                All communications between Apple and any Former Employee while
            the Former Employee was working for Masimo or Cercacor.
 7
            RESPONSE TO REQUEST FOR PRODUCTION NO. 236:
 8
                  Apple incorporates by reference its General Objections and Objections
 9          to Definitions and Instructions.
10                Apple objects to this Request as overbroad and unduly burdensome to
11          the extent it seeks information neither relevant to the issues in the present
            action nor reasonably calculated to lead to the discovery of admissible
12          evidence. Apple objects to this Request on the grounds that it is overly broad
13          and unduly burdensome, including because it requests “all communications”
            with Former Employees, regardless of the subject matter of those
14          communications. Apple further objects to this Request to the extent it seeks
15          production of ESI in a manner other than that which is to be negotiated
            between the parties pursuant to the ESI Order in this case.
16
                   Because Plaintiffs’ Section 2019.210 Statement, dated November 6,
17          2020, is deficient, including for reasons identified in Apple’s October 16,
18
            2020 letter, and the Court stayed Plaintiffs’ trade secret discovery pending
            compliance with Section 2019.210, Apple declines to respond to this Request
19          at this time. Within thirty days after Apple (or the Court) determines that
20
            Plaintiffs have provided an amended disclosure that complies with Section
            2019.210, Apple will amend its response to this Request, to the extent
21          necessary.
22          REQUEST FOR PRODUCTION NO. 237:
23                All communications between Apple and any Former Employee before
            the Former Employee began working for Apple.
24
            RESPONSE TO REQUEST FOR PRODUCTION NO. 237:
25
                  Apple incorporates by reference its General Objections and Objections
26          to Definitions and Instructions.
27                Apple objects to this Request as overbroad and unduly burdensome to
            the extent it seeks information neither relevant to the issues in the present
28


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1           action nor reasonably calculated to lead to the discovery of admissible
 2
            evidence. Apple objects to this Request on the grounds that it is overly broad
            and unduly burdensome, including because it requests “all communications”
 3          with Former Employees, regardless of the subject matter of those
 4          communications. Apple objects to this Request to the extent it is duplicative
            and/or cumulative of Plaintiffs’ Request for Production No. 236. Apple
 5          further objects to this Request to the extent it seeks production of ESI in a
 6          manner other than that which is to be negotiated between the parties pursuant
            to the ESI Order in this case.
 7
                   Because Plaintiffs’ Section 2019.210 Statement, dated November 6,
 8          2020, is deficient, including for reasons identified in Apple’s October 16,
            2020 letter, and the Court stayed Plaintiffs’ trade secret discovery pending
 9
            compliance with Section 2019.210, Apple declines to respond to this Request
10          at this time. Within thirty days after Apple (or the Court) determines that
11
            Plaintiffs have provided an amended disclosure that complies with Section
            2019.210, Apple will amend its response to this Request, to the extent
12          necessary.
13          REQUEST FOR PRODUCTION NO. 239:
14                All documents and things that refer or relate to any efforts by Apple or
            any FormerEmployee to solicit, recruit, or induce any employee or consultant
15          of Masimo or Cercacor to quit his or her employment or to cease doing
16          business with Masimo or Cercacor.
17          RESPONSE TO REQUEST FOR PRODUCTION NO. 239:

18                Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
19
                   Apple objects to this Request to the extent it seeks documents and
20          things protected from discovery by the attorney-client privilege, the work-
            product doctrine, the common- interest privilege, and/or any other applicable
21
            privilege, immunity, or protection. Appleobjects to this Request as overbroad
22          and unduly burdensome to the extent it seeks information neither relevant to
            the issues in the present action nor reasonably calculated to lead to the
23
            discovery of admissible evidence. Apple objects to this Request as overbroad
24          and unduly burdensome to the extent it seeks documents not within Apple’s
25
            possession, custody, or control. Apple objects to this Request to the extent that
            it seeks information already in Plaintiffs’ possession. In addition, to the extent
26          it seeks trade secret-related discovery, Apple objects to this Request as vague
27
            and ambiguous, including because Plaintiffs have not complied with Section
            2019.210. Apple objects tothis Request to the extent it is duplicative and/or
28          cumulative of Plaintiffs’ Request for Production Nos. 237-38.

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1           REQUEST FOR PRODUCTION NO. 240:
 2                A full and complete copy of Apple’s human resources file for each of
            the Former Employees.
 3
            RESPONSE TO REQUEST FOR PRODUCTION NO. 240:
 4
                  Apple incorporates by reference its General Objections and Objections
 5          to Definitions and Instructions.
 6                 Apple objects to this Request to the extent it seeks documents and
 7          things protected from discovery by the attorney-client privilege, the work-
            product doctrine, the common- interest privilege, and/or any other applicable
 8          privilege, immunity, or protection. Apple objects to this Request as overbroad
 9          and unduly burdensome to the extent it seeks information neither relevant to
            the issues in the present action nor reasonably calculated to lead to the
10          discovery of admissible evidence. Apple objects to this Request to the extent
11          it seeks documents or information that are subject to any privacy interest.
            Apple objects to this Request on the grounds that it is overly broad and unduly
12          burdensome because it requests a “full and complete of Apple’s human
13          resources file for each of the Former Employees.” In addition, to the extent it
            seeks trade secret-related discovery, Apple objects to this Request as vague
14          and ambiguous, including because Plaintiffs havenot complied with Section
15          2019.210.

16
            REQUEST FOR PRODUCTION NO. 241:
                 All documents concerning Apple’s hiring or termination of any of the
17
            Former Employees.
18
            RESPONSE TO REQUEST FOR PRODUCTION NO. 241:
19                Apple incorporates by reference its General Objections and Objections
20          to Definitions and Instructions.
21                 Apple objects to this Request to the extent it seeks documents and
            things protected from discovery by the attorney-client privilege, the work-
22          product doctrine, the common- interest privilege, and/or any other applicable
23          privilege, immunity, or protection. Apple objects to this Request as overbroad
            and unduly burdensome to the extent it seeks information neither relevant to
24          the issues in the present action nor reasonably calculated to lead to the
25          discovery of admissible evidence. Apple further objects to this Request on the
            grounds that it is overly broad and unduly burdensome because it requests “all
26          documents” relating to the subject matter of the Request. In addition, to the
27          extent it seeks trade secret-related discovery, Apple objects to this Request as
            vague and ambiguous, including because Plaintiffs have not complied with
28


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1           Section 2019.210. Apple objects to this Request to the extent it is duplicative
 2
            and/or cumulative of Plaintiffs’ Request for Production No. 240.
            REQUEST FOR PRODUCTION NO. 244:
 3
                  All communications between Michael O’Reilly and any hospital or
 4
            healthcare provider in the first twelve months that Mr. O’Reilly worked at
 5          Apple.
 6          RESPONSE TO REQUEST FOR PRODUCTION NO. 244:
 7                Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
 8
                  Apple objects to this Request as overbroad and unduly burdensome to
 9          the extent it seeks information neither relevant to the issues in the present
            action nor reasonably calculated to lead to the discovery of admissible
10
            evidence. Apple objects to this Request as vague, ambiguous, overly broad,
11          and unduly burdensome, including because it uses the undefined phrase
12
            “healthcare provider.” Apple objects to this Request as overbroad and unduly
            burdensome to the extent it seeks documents not within Apple’s possession,
13          custody, or control. Apple objects to this Request on the grounds that it is
14
            overly broad and unduly burdensome because it requests “all communications
            between Michael O’Reilly and any hospital or healthcare provider,”
15          regardless of the subject matter of that meeting. In addition, to the extent it
16
            seeks trade secret-related discovery, Apple objects to this Request as vague
            and ambiguous, including because Plaintiffs have not complied with Section
17          2019.210. Apple further objects to this Request to the extent it seeks
18          production of ESI in a manner other than that which is to be negotiated
            betweenthe parties pursuant to the ESI Order in this case.
19
            REQUEST FOR PRODUCTION NO. 245:
20
                 Documents sufficient to show the date and reason for any of Michael
21          O’Reilly’s changes in title or job responsibilities at Apple.
22          RESPONSE TO REQUEST FOR PRODUCTION NO. 245:
23                Apple incorporates by reference its General Objections and Objections
            to Definitions and Instructions.
24
                   Apple objects to this Request to the extent it seeks documents and
25          things protected from discovery by the attorney-client privilege, the work-
26
            product doctrine, the common- interest privilege, and/or any other applicable
            privilege, immunity, or protection. Apple objects to this Request as overbroad
27          and unduly burdensome to the extent it seeks information neither relevant to
28
            the issues in the present action nor reasonably calculated to lead to the


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1           discovery of admissible evidence. In addition, to the extent it seeks trade
 2
            secret-related discovery, Apple objects to this Request as vague and
            ambiguous, including because Plaintiffs have not complied with Section
 3          2019.210. Apple objects to this Request to the extent it is duplicative and/or
 4          cumulative of Plaintiffs’ Request for Production No. 240.
            REQUEST FOR PRODUCTION NO. 246:
 5
                  All communications between Marcelo Lamego and any hospital or
 6
            healthcare provider while Mr. Lamego worked at Apple.
 7          RESPONSE TO REQUEST FOR PRODUCTION NO. 246:
 8                Apple incorporates by reference its General Objections and Objections
 9          to Definitions and Instructions.
                   Apple objects to this Request as overbroad and unduly burdensome to
10
            the extent it seeks information neither relevant to the issues in the present
11          action nor reasonably calculated to lead to the discovery of admissible
12
            evidence. Apple objects to this Request as vague, ambiguous, overly broad,
            and unduly burdensome, including because it uses the undefined phrase
13          “healthcare provider.” Apple objects to this Request as overbroadand unduly
14
            burdensome to the extent it seeks documents not within Apple’s possession,
            custody, or control. Apple objects to this Request on the grounds that it is
15          overly broadand unduly burdensome because it requests “all communications
16
            between Marcelo Lamego and any hospital or healthcare provider,” regardless
            of the subject matter of thatmeeting. In addition, to the extent it seeks trade
17          secret-related discovery, Apple objects to this Request as vague and
18          ambiguous, including because Plaintiffs have not complied with Section
            2019.210. Apple further objects to this Request to the extent it seeks
19          production of ESI in a manner other than that which is to be negotiated
20          between the parties pursuant to the ESI Order in this case.
            REQUEST FOR PRODUCTION NO. 248:
21
                 Documents sufficient to show the date and reason for Marcelo
22
            Lamego’s employment at Apple ending.
23          RESPONSE TO REQUEST FOR PRODUCTION NO. 248:
24                Apple incorporates by reference its General Objections and Objections
25          to Definitions and Instructions.

26
                   Apple objects to this Request to the extent it seeks documents and
            things protected from discovery by the attorney-client privilege, the work-
27          product doctrine, the common- interest privilege, and/or any other applicable
28
            privilege, immunity, or protection. Apple objects to this Request as overbroad


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1           and unduly burdensome to the extent it seeks information neither relevant to
 2
            the issues in the present action nor reasonably calculated to lead to the
            discovery of admissible evidence. In addition, to the extent it seeks trade
 3          secret-related discovery, Apple objects to this Request as vague and
 4          ambiguous, including because Plaintiffs have not complied with Section
            2019.210. Apple objects to this Request to the extent it is duplicative and/or
 5          cumulative of Plaintiffs’ Request for Production No. 240.
 6    A.    Plaintiffs’ Position
 7          RFP 236, 237, and 239 seeks documents regarding efforts by Apple or Plaintiffs’
 8    former employees to solicit Plaintiffs’ employees. RFPs 240 and 241 seek the human
 9    resources files for Plaintiffs’ former employees and documents about the hiring and
10    termination of Plaintiffs’ former employees. RFPs 245 seeks documents about changes in
11    O’Reilly’s job titles or responsibilities.    RFP 248 seeks documents about Apple’s
12    termination of Lamego. RFP 244 and 246 seek documents about O’Reilly and Lamego’s
13    contacts with hospitals for the first twelve months that they each worked at Apple.
14          These requests are relevant to Plaintiffs’ trade secret claims, which allege Apple
15    “systematically recruited” Plaintiffs’ employees for purposes of gaining access to
16    Plaintiffs’ trade secrets.   Ex. 28 ¶¶ 20-21.       Apple “targeted and recruited Plaintiffs
17    employees, including O’Reilly and Lamego, because of their knowledge of Plaintiffs’
18    Confidential Information.” Id. ¶ 229; see also id. ¶ 231 (Apple “hired Lamego to lead
19    Apple’s biosensor development work because Apple wanted to obtain from Lamego the
20    specialized knowledge of Plaintiffs’ trade secrets he had obtained from Cercacor, and
21    Apple expected that Lamego would use and/or disclose that knowledge of Plaintiffs’ trade
22    secrets to develop Apple’s products”). Accordingly, Apple’s efforts to recruit Plaintiffs
23    employees are directly at issue.
24          Human resources files, and Apple’s reasons for promoting and terminating
25    employees, are also directly relevant. Such documents could show Apple’s knowledge that
26    it was using Plaintiffs’ technology—an issue that Apple has emphatically contested. See,
27    e.g., Dkt. 237-1 at 15 (Apple arguing Plaintiffs failed to adequately allege “Apple knew or
28    had reason to know” it was acquiring Plaintiffs’ trade secrets from Plaintiffs’ former

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1      employees). For example, individuals may have gotten a promotion shortly after providing
 2     Plaintiffs’ trade secrets to Apple or Apple may have reprimanded an employee for sharing
 3     Plaintiffs’ trade secrets. The requested documents would also be relevant to showing the
 4     importance of Plaintiffs’ technology and Apple’s willful misappropriation of trade secrets,
 5     which are relevant to damages, enhanced damages, and attorneys’ fees. See Cal. Civ. Code
 6     § 3426.3. The RFPs are proportional to the needs of the case for the same reasons discussed
 7     above.   Among other things, these RFPs seek relevant information, the amount in
 8     controversy is high, and Apple cannot claim it lacks resources to search because it is the
 9     most valuable public company on earth.
10           Apple’s written responses included pages of boilerplate objections. The Court need
11     not consider such “general or boilerplate objections” that Apple did not maintain and
12     explain. Nguyen, 2019 WL 4579259, at *3. For RFPs 244 and 246, Apple did not maintain
13     any objections in its letter. See Ex. 24 at 3-4. Instead, Apple limited its document
14     production to Plaintiffs’ Section 2019.210 disclosure. Id. Because Apple appears to have
15     dropped all of its objections, Apple cannot limit its commitment to produce documents.
16     See Kilroy, 2018 WL 6071089, at *1. Apple’s Section 2019.210 limitation also lacks merit
17     for the reasons discussed above. See Section III.A.2.b, supra. Additionally, evidence that
18     Apple knew any of the former employees misappropriated any confidential information
19     (including information not identified in the 2019.210 disclosure) is relevant to showing
20     Apple knew it was obtaining Plaintiffs’ trade secrets.
21           For RFPs 236, 237, 239, 240-241, 245, and 248, Apple refused to provide any
22     documents for former employees other than Lamego and O’Reilly. That is inappropriate
23     for the reasons discussed above. See Section VI.A, supra. As discussed, the Court should
24     order Apple to produce information on at least the individuals in category 3 above
25     (Bruinsma, Golfetto, Haridas, and Lee) because they are relevant for the reasons discussed
26     above. The Court should also order Apple to produce information for any individuals in
27     category 2 (Briglia, Lu, Tonello, Young, Jagenow, Raths, Aguilar, Harsule, Masoumi,
28


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1      Oreshkin, Paul, Regan, and Wayne) that had any involvement in developing or marketing
 2     the Apple Watch or any of Apple’s health monitoring technology.
 3             Apple’s April 11 letter also refused to provide its position on RFPs 236 and 237 by
 4     arguing Plaintiffs failed to disclose whether their list of ESI custodians included all former
 5     employees of which Plaintiffs were aware. Ex. 27 at 7. That is false. On March 25,
 6     Plaintiffs argued such information was not “necessary for Apple to provide its position,”
 7     but explained they had “already told Apple that their list of ESI custodians included all
 8     former employees of which Plaintiffs were aware.” See Ex. 25 at 4; see also id. (Plaintiffs
 9     identifying Devin Stabile as one additional individual who Plaintiffs had learned about
10     since their last correspondence on this issue). Rather than address Plaintiffs’ argument,
11     Apple appears to have simply cut and paste its prior response on these RFPs. See Ex. 42
12     at 4.
13             Apple also argued that Plaintiffs’ request for all documents from the human
14     resources files of former employees was too broad. Ex. 24 at 4. Based on that argument,
15     Apple unilaterally limited its production to documents relating to exit interviews, post-
16     employment communications, and other communications relating to trade secrets and/or
17     breach of contract. Id. Because Apple has no valid objection, however, Apple cannot
18     unilaterally limit its commitment to produce documents. See Kilroy, 2018 WL 6071089,
19     at *1. Moreover, Apple’s attempt to withhold specific documents from this category
20     responsive of documents is improper. Human resource files are not burdensome to produce
21     and Plaintiffs agreed Apple can redact personal information (e.g., social security numbers).
22     Apple’s approach to determining “relevancy” as to specific documents risks withholding
23     documents that Plaintiffs would consider relevant, and may remove important context from
24     the human resources files.
25             Apple argues its limitation on production to exit interviews, post-employment
26     communications, and other communications relating to trade secrets and/or breach of
27     contract is proper because the parties agreed to a similar limitation with respect to a request
28     for production that Apple served on Plaintiffs. Ex. 24 at 4. Apple’s argument is misplaced

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1      for many reasons. First, Apple proposed narrowing the scope of Apple’s similar RFP. Ex.
 2     37 at 5 (“Apple proposes limiting this Request” and “Please let us know if this proposed
 3     modification is acceptable to Plaintiffs.”). While Plaintiffs agreed, Apple cannot use its
 4     own proposal limiting its own RFP to force Plaintiffs to narrow their RFPs. Second, Apple
 5     never identified any relevance to documents beyond its proposed narrowing of its RFP. By
 6     contrast, the information in Apple’s files is relevant to many issues discussed above.
 7           Accordingly, Apple has not shown why discovery should be limited. The Court
 8     should overrule Apple’s objections and order Apple to produce all responsive documents.
 9     B.    Apple’s Position
10           RFPs 236, 237, and 239. In Plaintiffs’ words, these RFPs “seek[] documents
11     regarding efforts by Apple or Plaintiffs’ former employees to solicit Plaintiffs’ employees.”
12     J.S. 95. There is no solicitation claim in this case.
13           In an effort to get around that hurdle, Plaintiffs point to general allegations in the
14     complaint about Apple’s recruitment efforts with respect to former Plaintiff employees and
15     contend that “Apple’s efforts to recruit Plaintiffs employees are directly at issue.” Id. But
16     all of the complaint allegations Plaintiffs point to focus on O’Reilly and Lamego—the only
17     former employees of Plaintiffs alleged to have had access to alleged trade secrets at issue
18     in this case. Accordingly, despite the fact that there is no solicitation claim in this case—
19     and, therefore, Apple struggles to even understand the relevance of the requested
20     documents at all—Apple agreed to produce documents responsive to each of these RFPs
21     to the extent they pertain to O’Reilly or Lamego. The face of the complaint belies any
22     suggestion that former employees other than O’Reilly or Lamego are relevant to these
23     solicitation and recruitment allegations. And, as explained in detail above, Plaintiffs have
24     not justified their request for any discovery related to former employees other than O’Reilly
25     or Lamego. Again, Apple remains willing to continue discussing how to provide Plaintiffs
26     with the materials they seek for relevant former employees. To date, however, Plaintiffs
27     have not met their burden of showing that documents responsive to these RFPs for former
28     employees other than O’Reilly and Lamego have any relevance to the actual claims in this

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1      case.    On the current record, and with Apple’s commitment to produce documents
 2     responsive to RFPs 236, 237, and 239 as they pertain to O’Reilly or Lamego, Plaintiffs’
 3     motion to compel more in response to these RFPs should be denied.
 4             RFPs 240 and 241. These RFPs seek “a full and complete copy of Apple’s human
 5     resources file for each of the Former Employees” (RFP 240) and “all documents
 6     concerning Apple’s hiring or termination of any of the Former Employees” (RFP 241).
 7     Plaintiffs’ request for information pertaining to the “Former Employees” is problematic for
 8     all of the reasons already explained: Plaintiffs have not identified any universe of former
 9     employees of Masimo or Cercacor aside from O’Reilly and Lamego, that are relevant to
10     the claims in this case. Accordingly, the RFPs are impermissibly overbroad on the basis
11     that Plaintiffs seek intrusive discovery—including sensitive human resources documents—
12     about dozens of employees who have no relation to this case.
13             Moreover, Plaintiffs’ asserted justifications for this broad discovery amount to
14     nothing more than speculation. J.S. 95–96. For example, Plaintiffs argue that “individuals
15     may have gotten a promotion shortly after providing Plaintiffs’ trade secrets to Apple or
16     Apple may have reprimanded an employee for sharing Plaintiffs’ trade secrets.” Id.
17     (emphasis added). Plaintiffs further argue that the documents “could show Apple’s
18     knowledge that it was using Plaintiffs’ technology.” Id. (emphasis added). Plaintiffs have
19     put forth no basis for these assertions—particularly as to former employees other than
20     O’Reilly and Lamego.
21             With respect to O’Reilly and Lamego, Apple did agree to produce certain documents
22     responsive to these RFPs. Specifically, Apple agreed to produce “documents from the
23     human resources files of Marcelo Lamego and Michael O’Reilly that relate to the
24     acquisition, use, or disclosure of confidential or proprietary information, to the extent such
25     documents exist and can be located following a reasonable search.” Plaintiffs’ Ex. 24, at
26     321 (3.9.2021 Samplin Ltr. at 4). Plaintiffs suggest that this was an effort by Apple to draw
27     lines around what relates to “trade secrets” or “breach of contract.” J.S. 97. Plaintiffs are
28     wrong—because Apple’s proposal demonstrably was not limited to information which

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1      Apple first determined was “trade secret” or constituted a “breach of contract.” Apple’s
 2     proposal was broader, to pick up anything in the human resources files of O’Reilly or
 3     Lamego that relate in any way to the subject matter of the trade secret misappropriation
 4     claim against Apple in this case—which, indeed, is Plaintiffs’ asserted justification for this
 5     information in the first place. See J.S. 95–96 (putting forth only their trade secret
 6     misappropriation claim as the purported basis for this discovery).
 7           Notably, when Apple served an RFP on Plaintiffs for these types of documents
 8     (Apple’s RFP 62, for “All Documents and Communications relating to Your personnel
 9     files, including but not limited to, all Documents and Communications relating to any exit
10     interviews, for all of Your former employees who You believe were subsequently
11     employed by Apple, including but not limited to, Marcelo Lamego and Michael O’Reilly,”
12     Samplin Decl. Ex. A, at 25 (Apple’s First Set of Requests for Production)), Plaintiffs
13     refused and “explained that many documents in personnel files are not relevant to this
14     case,” id. Ex. B, at 34 (5.22.2020 Kachner Ltr. at 4). That is precisely the opposite of what
15     Plaintiffs are now arguing in this Joint Stipulation. Apple ultimately agreed with Plaintiffs
16     that human resources files invariably contain many documents of no relevance to this case,
17     and proposed a narrowing of Apple’s RFP 62 based on the subject matter of this case—for
18     “All Documents and Communications relating to any exit interviews, post-employment
19     communications, and other communications relating to trade secrets and/or any alleged
20     breach of contract, for all of Your former employees who You believe were subsequently
21     employed by Apple, including but not limited to, Marcelo Lamego and Michael O’Reilly.”
22     Id. Ex. C, at 43 (05.26.2020 Samplin Ltr. at 5); id. Ex. D, at 50 (06.02.2020 Kachner Ltr.
23     at 3). Plaintiffs agreed to the narrowing with respect to their own human resources files,
24     but are resisting that narrowing for Apple’s files. And Plaintiffs have provided no
25     explanation for the disparate treatment—other than to point out that Apple was the party
26     who proposed the narrowing, which Apple does not dispute, and which Apple was forced
27     to do based on Plaintiffs’ (now hypocritical) position that many documents in personnel
28     files are not relevant to this case. There is no reason why Apple should be required to

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1      produce to Plaintiffs full personnel files when Plaintiffs themselves have resisted discovery
 2     based on the admitted irrelevance of the same.
 3           RFPs 245 and 248. These RFPs seek “documents sufficient to show the date and
 4     reason for any of Michael O’Reilly’s changes in title or job responsibilities at Apple” (RFP
 5     245) and “documents sufficient to show the date and reason for Marcelo Lamego’s
 6     employment at Apple ending” (RFP 248). Plaintiffs have failed to show that the documents
 7     requested by RFPs 245 and 248 are relevant. Plaintiffs purportedly have some speculative
 8     theories that Apple made changes to O’Reilly’s title or job responsibilities because he stole
 9     Plaintiffs’ alleged trade secrets (neither is true) and that Lamego’s employment at Apple
10     ended because he stole Plaintiffs’ alleged trade secrets (this is not true either). See J.S. 95–
11     96. But this is mere speculation—Plaintiffs have not alleged that either of these individuals
12     were promoted or received additional duties, or provided any basis to suggest that their
13     alleged secrets had anything to do with Lamego’s termination. In other words, because
14     Plaintiffs have not put forth any argument to support these speculative theories, such
15     theories cannot serve as a basis for an order of production. Moreover, to the extent any
16     documents exist to support Plaintiffs’ speculative theories (none do), they would be
17     responsive to Apple’s proposal above with respect to RFPs 240 and 241. Accordingly,
18     Plaintiffs’ RFPs 245 and 248 are duplicative in any event, and Plaintiffs’ motion with
19     respect to these RFPs should be denied for that reason alone.
20           RFPs 244 and 246. RFPs 244 and 246 seek documents about O’Reilly and
21     Lamego’s contacts with hospitals for the first twelve months that they each worked at
22     Apple. Apple did not refuse to produce responsive documents. To the contrary, Apple
23     agreed to produce documents responsive to both RFPs, to the extent they relate to the
24     alleged trade secrets in Plaintiffs’ Section 2019.210 disclosure, see Plaintiffs’ Ex. 24, at
25     320–21—which is all that could be relevant to the claims in this case. Indeed, in their
26     portion of this Joint Stipulation, Plaintiffs did not even attempt to justify their request for
27     documents responsive to RFPs 244 and 246 that go beyond their alleged trade secrets. Nor
28     could they, because O’Reilly’s and Lamego’s communications with hospitals are only

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1      relevant in this trade secret case to extent they implicate alleged hospital interaction trade
 2     secrets.
 3           Since Plaintiffs served their portion of this Joint Stipulation, the Court dismissed
 4     with prejudice all but one of Plaintiffs’ hospital interaction “secrets.” Samplin Decl. Ex.
 5     H, at 145–46, 148 (Order at 5–6, 8). The only one of Plaintiffs’ purported hospital
 6     interaction secrets that survived dismissal was “
 7

 8                                 ” Id. at 146 (Order at 6); Plaintiffs’ Ex. 28, at 374 (¶ 44.5).
 9     Thus, the only surviving alleged hospital interaction trade secret specifically requires
10     “
11

12

13

14

15                                                                                     ” Plaintiffs’
16     Ex. 28, at 374 (¶ 44.4–44.5). Apple will produce responsive documents that relate to this
17     surviving alleged trade secret. But, to the extent O’Reilly or Lamego communicated with
18     hospitals about matters unrelated to this alleged secret, those communications are not
19     relevant or proportional to the needs of this trade secret misappropriation case in view of
20     the Court’s dismissal of the other purported “secrets” in this category. Accordingly,
21     Plaintiffs’ RFPs 244 and 246 should be limited to the one remaining alleged hospital
22     interaction secret.
23                             [remainder of page left intentionally blank]
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1                          VIII. PLAINTIFFS’ INTERROGATORY 10
 2           Pursuant to Local Rule 37-2, below is the full text of Plaintiffs’ Interrogatory 10,
 3     and Apple’s response. The parties’ respective points and authorities follow below.
 4           INTERROGATORY NO. 10:
 5                 Describe in detail any test, analysis, comparison, or competitive
             analysis that You performed concerning any non-Apple physiological
 6
             monitor. To the extent that such test, analysis, comparison, or competitive
 7           analysis was based on any scientific or experimental tests or investigations,
             Your response should identify at least the date of each such investigation, the
 8
             individuals who conducted the test or investigation, what test or investigation
 9           was conducted, the results or conclusions therefrom, to whom the results were
             communicated, and all documents concerning such test or investigation.
10
             RESPONSE TO INTERROGATORY NO. 10 (AUGUST 17, 2020):
11
                    Apple hereby restates and incorporates the General Objections above
12           as though fully set forth herein. Apple objects to this Interrogatory to the
13           extent it seeks information or things protected by the attorney-client privilege,
             attorney work product doctrine, or any other applicable privilege, immunity,
14           or protection. Apple objects to this Interrogatory as overbroad and unduly
15           burdensome as it is not limited to any relevant time period. Apple objects to
             this Interrogatory as overly broad, unduly burdensome and irrelevant because
16           it seeks information related to “any non-Apple physiological monitor.”
17           Apple’s inspection of “any non-Apple physiological monitor” is irrelevant to
             the issues presented in this case. Apple objects to this Interrogatory as overly
18           broad and unduly burdensome because it is not reasonably limited to the scope
19           of infringement allegations in this litigation.
20                 Subject to and without waiving the foregoing General and Specific
             Objections, Apple responds as follows:
21
                   Apple is willing to meet and confer to discuss the relevance of the
22           information sought by Plaintiffs.
23                  Apple reserves the right to supplement and/or amend its response to this
             Interrogatory as it continues its investigation and as discovery progresses.
24
       A.    Plaintiffs’ Position
25
             Interrogatory 10 seeks a description of any test, analysis, comparison, or competitive
26
       analysis that Apple performed concerning non-Apple physiological monitors. Analysis of
27
       competitive physiological monitoring products is directly at issue to Plaintiffs’ damages
28


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1      and trade secret misappropriation.         Evidence showing Apple desired improved
 2     physiological monitoring is relevant to the undue benefit Apple received based on
 3     Plaintiffs’ trade secrets. Responsive information will show the significance Apple placed
 4     on improved physiological monitoring performance. It would also support Apple’s motive
 5     to misappropriate Plaintiffs’ trade secrets. This interrogatory is proportional to the needs
 6     of the case for the same reasons discussed above. Among other things, this interrogatory
 7     seeks relevant information, the amount in controversy is high, and Apple cannot claim it
 8     lacks resources to respond because it is the most valuable public company on earth.
 9           Apple argued this interrogatory is “not relevant to the claims or defenses in this
10     case.” Ex. 27 at 7. As discussed above, Apple’s relevance argument is misplaced. Apple
11     argues it should not have to respond to this interrogatory unless Plaintiffs confirm that the
12     information in a single document identified by Apple “reflects the type of information
13     Plaintiffs seek.” Id. But Plaintiffs responded to Apple’s assertions about that document
14     two months ago. As Plaintiffs explained, that document does not provide much of the
15     information sought by this interrogatory, including “the date of Apple’s investigation, the
16     individuals who conducted the test or investigation, and to whom the results were
17     communicated.” Ex. 23 at 3. Plaintiffs asked Apple if it was representing that the devices
18     analyzed in that document are “the only non-Apple physiological monitors for which Apple
19     has conducted any test, analysis, comparison, or competitive analysis” and if it has any
20     “other documents or knowledge” regarding such tests. Id. Apple ignored Plaintiffs’
21     position regarding that document and Plaintiffs’ follow up questions. Ex. 24 at 5. Plaintiffs
22     reiterated their position and questions again, but Apple again simply ignored Plaintiffs’
23     position and questions. Ex. 25 at 5; Ex. 27 at 7; Ex. 42 at 5. Apple should not be permitted
24     to stall discovery for months by refusing to respond to Plaintiffs’ letters in good faith.
25           Accordingly, Apple has not shown why discovery should be limited. The Court
26     should overrule Apple’s objections and order Apple to provide a full and complete
27     response.
28


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1      B.    Apple’s Position
 2           There is nothing for the Court to compel with regard to Interrogatory No. 10, as
 3     Apple never refused to respond to this Interrogatory. To the contrary, Apple conducted a
 4     reasonable investigation to identify responsive information. This investigation yielded few
 5     results, because the Apple Watch was developed in-house by Apple’s own engineers.
 6     Nonetheless, Apple did identify a document containing analysis of various wrist-worn
 7     monitors, APL-MAS_00065312, and asked Plaintiffs whether the information in this
 8     comparison was of the type sought by Interrogatory No. 10. Plaintiffs’ Ex. 24, at 322. The
 9     reason for Apple’s inquiry was that the document was essentially a comparison of the
10     publicly known features of various wrist-worn physiological monitors available on the
11     market, and did not include any comparison to Plaintiffs’ devices, which is what it appeared
12     Plaintiffs were seeking through Interrogatory No. 10.
13           Instead of responding to Apple’s inquiry, Plaintiffs responded with a list of
14     additional requests for information about Apple’s analysis of third-party devices that went
15     well beyond what Interrogatory No. 10 requested. See Plaintiffs’ Ex. 23, at 312. As
16     recently as April 11, Apple continued to ask Plaintiffs to confirm whether “the document
17     in fact reflects the type of information Plaintiffs seek” and if not, to “provide a better
18     description of the information Plaintiffs are looking for so that we can evaluate the
19     request.” Plaintiffs’ Ex. 27, at 353. In sum, Apple has engaged in the meet-and-confer
20     process in a good faith effort to ascertain the type of information Plaintiffs seek so that it
21     can provide a satisfactory response to Interrogatory No. 10, thereby “eliminat[ing] the
22     necessity for hearing the motion” with respect to this Interrogatory. L.R. 37-1. Plaintiffs
23     have rejected all of Apple’s efforts to do so, and refused to provide additional clarity.
24     Instead, Plaintiffs have attempted to inject new questions into this Interrogatory in an
25     attempt to gather free discovery not requested through the formal written discovery
26     process.
27           While Apple has made clear that it is willing to provide certain information about
28     Apple’s consideration of third-party devices, it maintains that Plaintiffs’ Interrogatory No.

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1      10 is overbroad. Indeed, as Apple has expressed to Plaintiffs, Apple’s consideration of
 2     third-party devices other than Plaintiffs’ devices have no relevance to the issues in this
 3     litigation, as there are no allegations that Apple misappropriated trade secrets from anyone
 4     other than Plaintiffs, and Plaintiffs are not entitled to discovery regarding products
 5     developed by other companies not at issue in this case.
 6           Moreover, Apple agreed to produce documents responsive to Plaintiffs’ RFPs 97
 7     and 100—which seek documents related to any comparison between any Masimo or
 8     Cercacor product or technology and any of the Apple Watch Products—to the extent they
 9     relate to Plaintiffs’ alleged trade secrets. If relevant documents responsive to RFPs 97 and
10     100 exist, they will be produced and may help inform the answer to Interrogatory No. 10.
11     To the extent Plaintiffs seek additional information regarding devices from third parties,
12     Plaintiffs should provide Apple with clarity regarding what exactly it is seeking so that
13     Apple can evaluate Plaintiffs’ request. Apple has made its position clear, and instead of
14     providing the information Apple requested, Plaintiffs moved to compel. Accordingly,
15     Plaintiffs’ motion with respect to Interrogatory No. 10 is premature and should be denied.
16                            [remainder of page left intentionally blank]
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1                      IX. PLAINTIFFS’ RFPS 180, 187, 191, 192, 197-206
 2           Pursuant to Local Rule 37-2, below is the full text of Plaintiffs’ RFPs 180, 187, 191,
 3     192, and 197-206, and Apple’s response to each request. The parties’ respective points
 4     and authorities follow below.
 5           REQUEST FOR PRODUCTION NO. 180:
 6                 All documents and things that refer or relate to the
                                       described under heading “A” of Plaintiffs’ Section
 7
             2019.210 Statement, including any amendments.
 8
             RESPONSE TO REQUEST FOR PRODUCTION NO. 180:
 9                 Apple incorporates by reference its General Objections and Objections
10           to Definitions and Instructions.
11                   Apple objects to this Request to the extent it seeks documents and
             things protected from discovery by the attorney-client privilege, the work-
12           product doctrine, the common-interest privilege, and/or any other applicable
13           privilege, immunity, or protection. Apple objects to this Request as overbroad
             and unduly burdensome to the extent it seeks information neither relevant to
14           the issues in the present action nor reasonably calculated to lead to the
15           discovery of admissible evidence. Apple objects to this Request as vague and
             ambiguous, including because Plaintiffs have not complied with Section
16           2019.210, including with respect to their so-called
17                                          Apple objects to this Request on the grounds that
             it is overly broad and unduly burdensome because it requests “all documents
18           and things” relating to the subject matter of the Request. Apple objects to this
19           Request to the extent it is duplicative and/or cumulative of Plaintiffs’ Request
             for Production Nos. 178-79.
20
                    Because Plaintiffs’ Section 2019.210 Statement, dated November 6,
21           2020, is deficient, including for reasons identified in Apple’s October 16,
22           2020 letter, and the Court stayed Plaintiffs’ trade secret discovery pending
             compliance with Section 2019.210, Apple declines to respond to this Request
23           at this time. Within thirty days after Apple (or the Court) determines that
24           Plaintiffs have provided an amended disclosure that complies with Section
             2019.210, Apple will amend its response to this Request, to the extent
25           necessary.
26           REQUEST FOR PRODUCTION NO. 187:
27                  All documents and things that refer or relate to the
                                                         described under heading “B” of
28
             Plaintiffs’ Section 2019.210 Statement, including any amendments.

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1            RESPONSE TO REQUEST FOR PRODUCTION NO. 187:
 2                 Apple incorporates by reference its General Objections and Objections
             to Definitions and Instructions.
 3
                    Apple objects to this Request to the extent it seeks documents and
 4
             things protected from discovery by the attorney-client privilege, the work-
 5           product doctrine, the common- interest privilege, and/or any other applicable
             privilege, immunity, or protection. Apple objects to this Request as overbroad
 6
             and unduly burdensome to the extent it seeks information neither relevant to
 7           the issues in the present action nor reasonably calculated to lead to the
             discovery of admissible evidence. Apple objects to this Request as vague and
 8
             ambiguous, including because Plaintiffs have not complied with Section
 9           2019.210, including with respect to their so-called
                                                      Apple objects to this Request on the
10
             grounds that it is overly broad and unduly burdensome because it requests “all
11           documents and things” relating to the subject matter of the Request. Apple
             objects to this Request to the extent it is duplicative and/or cumulative of
12
             Plaintiffs’ Request for Production Nos. 178-79.
13                  Because Plaintiffs’ Section 2019.210 Statement, dated November 6,
14           2020, is deficient, including for reasons identified in Apple’s October 16,
             2020 letter, and the Court stayed Plaintiffs’ trade secret discovery pending
15           compliance with Section 2019.210, Apple declines to respond to this Request
16           at this time. Within thirty days after Apple (or the Court) determines that
             Plaintiffs have provided an amended disclosure that complies with Section
17
             2019.210, Apple will amend its response to this Request, to the extent
18           necessary.
19           REQUEST FOR PRODUCTION NO. 191:
20                 Documents sufficient to identify Your
                          in any of the Accused Products.
21
             RESPONSE TO REQUEST FOR PRODUCTION NO. 191:
22
                   Apple incorporates by reference its General Objections and Objections
23           to Definitions and Instructions.
24                  Apple objects to this Request to the extent it seeks documents and
             things protected from discovery by the attorney-client privilege, the work-
25           product doctrine, the common interest privilege, and/or any other applicable
26           privilege, immunity, or protection. Apple objects to this Request as overbroad
             and unduly burdensome to the extent it seeks information neither relevant to
27           the issues in the present action nor reasonably calculate to lead to the
28           discovery of admissible evidence. In addition, Apple objects to this Request

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1            as vague and ambiguous, including because Plaintiffs have not complied with
 2
             Section 2019.210 and thus have not adequately identified what “
                                           ” techniques they are claiming as trade secrets.
 3           Apple objects to this Request to the extent it is duplicative and/or cumulative
 4           of Plaintiffs’ Request for Production Nos. 189-90.
                    Subject to and without waiver of the foregoing General and Specific
 5
             Objections and under the provisions of the Protective Order and ESI
 6           Stipulation entered in this case, to the extent this Request is even relevant to
             Plaintiffs’ patent infringement allegations, in view of the Court’s October 14,
 7
             2020 Order (Dkt. No. 220) granting Apple’s Motion to Stay, the issues related
 8           to Plaintiffs’ patent infringement allegations are moot and thus Apple declines
             to respond to this Request. Additionally, to the extent this Request seeks
 9
             documents related to trade secret discovery, because Plaintiffs’ Section
10           2019.210 Statement, dated November 6, 2020, is deficient, including for
11
             reasons identified in Apple’s October 16, 2020 letter, and the Court stayed
             Plaintiffs’ trade secret discovery pending compliance with Section 2019.210,
12           Apple declines to respond to this Request at this time.
13           REQUEST FOR PRODUCTION NO. 192:
14                 All documents and things that refer or relate to the
                         described under heading “C” of Plaintiffs’ Section 2019.210
15           Statement, including any amendments.
16           RESPONSE TO REQUEST FOR PRODUCTION NO. 192:
17                 Apple incorporates by reference its General Objections and Objections
18           to Definitions and Instructions.
                    Apple objects to this Request to the extent it seeks documents and
19
             things protected from discovery by the attorney-client privilege, the work-
20           product doctrine, the common- interest privilege, and/or any other applicable
             privilege, immunity, or protection. Apple objects to this Request as overbroad
21
             and unduly burdensome to the extent it seeks information neither relevant to
22           the issues in the present action nor reasonably calculated to lead to the
             discovery of admissible evidence. Apple objects to this Request as vague and
23
             ambiguous, including because Plaintiffs have not complied with Section
24           2019.210, including with respect to their so-called
25
                           Apple objects to this Request on the grounds that it is overly
             broad and unduly burdensome because it requests “all documents and things”
26           relating to the subject matter of the Request. Apple objects to this Request to
27
             the extent it is duplicative and/or cumulative of Plaintiffs’ Request for
             Production Nos. 178-79.
28


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1                   Because Plaintiffs’ Section 2019.210 Statement, dated November 6,
 2
             2020, is deficient, including for reasons identified in Apple’s October 16,
             2020 letter, and the Court stayed Plaintiffs’ trade secret discovery pending
 3           compliance with Section 2019.210, Apple declines to respond to this Request
 4           at this time. Within thirty days after Apple (or the Court) determines that
             Plaintiffs have provided an amended disclosure that complies with Section
 5           2019.210, Apple will amend its response to this Request, to the extent
 6           necessary.
             REQUEST FOR PRODUCTION NO. 197:
 7
                  Documents sufficient to identify any                       that
 8
             You have implemented or ever considered implementing in the Accused
 9           Products.
10           RESPONSE TO REQUEST FOR PRODUCTION NO. 197:
11                 Apple incorporates by reference its General Objections and Objections
             to Definitions and Instructions.
12
                    Apple objects to this Request to the extent it seeks documents and
13           things protected from discovery by the attorney-client privilege, the work-
14
             product doctrine, the common interest privilege, and/or any other applicable
             privilege, immunity, or protection. Apple objects to this Request as overbroad
15           and unduly burdensome to the extent it seeks information neither relevant to
16
             the issues in the present action nor reasonably calculate to lead to the
             discovery of admissible evidence. In addition, Apple objects to this Request
17           as vague and ambiguous, including because Plaintiffs have not complied with
18           Section 2019.210 and thus have not adequately identified what
                                      they are claiming as trade secrets. Apple objects to this
19           Request to the extent it is duplicative and/or cumulative of Plaintiffs’ Request
20           for Production Nos. 194-95.
                    Subject to and without waiver of the foregoing General and Specific
21
             Objections and under the provisions of the Protective Order and ESI
22           Stipulation entered in this case, to the extent this Request is even relevant to
             Plaintiffs’ patent infringement allegations, in view of the Court’s October 14,
23
             2020 Order (Dkt. No. 220) granting Apple’s Motion to Stay, the issues related
24           to Plaintiffs’ patent infringement allegations are moot and thus Apple declines
25
             to respond to this Request. Additionally, to the extent this Request seeks
             documents related to trade secret discovery, because Plaintiffs’ Section
26           2019.210 Statement, dated November 6, 2020, is deficient, including for
27
             reasons identified in Apple’s October 16, 2020 letter, and the Court stayed
             Plaintiffs’ trade secret discovery pending compliance with Section 2019.210,
28           Apple declines to respond to this Request at this time.

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1            REQUEST FOR PRODUCTION NO. 198:
 2                 All documents and things that refer or relate to Plaintiffs’ Business and
             Marketing Plans and Strategies described under heading “D” of Plaintiffs’
 3
             Section 2019.210 Statement, including any amendments.
 4
             RESPONSE TO REQUEST FOR PRODUCTION NO. 198:
 5                 Apple incorporates by reference its General Objections and Objections
 6           to Definitions and Instructions.
 7                  Apple objects to this Request to the extent it seeks documents and
             things protected from discovery by the attorney-client privilege, the work-
 8           product doctrine, the common- interest privilege, and/or any other applicable
 9           privilege, immunity, or protection. Apple objects to this Request as overbroad
             and unduly burdensome to the extent it seeks information neither relevant to
10           the issues in the present action nor reasonably calculated to lead to the
11           discovery of admissible evidence. Apple objects to this Request as vague and
             ambiguous, including because Plaintiffs have not complied with Section
12           2019.210, including with respect to their so-called “Business and Marketing
13           Plans and Strategies.” Apple objects to this Request on the grounds that it is
             overly broad and unduly burdensome because it requests “all documents and
14           things” relating to the subject matter of the Request. Apple objects to this
15           Request to the extent it is duplicative and/or cumulative of Plaintiffs’ Request
             for Production No. 178-79.
16
                    Because Plaintiffs’ Section 2019.210 Statement, dated November 6,
17           2020, is deficient, including for reasons identified in Apple’s October 16,
18           2020 letter, and the Court stayed Plaintiffs’ trade secret discovery pending
             compliance with Section 2019.210, Apple declines to respond to this Request
19           at this time. Within thirty days after Apple (or the Court) determines that
20           Plaintiffs have provided an amended disclosure that complies with Section
             2019.210, Apple will amend its response to this Request, to the extent
21           necessary.
22           REQUEST FOR PRODUCTION NO. 199:
23                 All documents and things that refer or relate to Apple implementing or
             considering any of the Business and Marketing Plans and Strategies described
24
             under heading “D” of Plaintiffs’ Section 2019.210 Statement, including any
25           amendments.
26           RESPONSE TO REQUEST FOR PRODUCTION NO. 199:
27                 Apple incorporates by reference its General Objections and Objections
             to Definitions and Instructions.
28


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1                   Apple objects to this Request to the extent it seeks documents and
 2
             things protected from discovery by the attorney-client privilege, the work-
             product doctrine, the common- interest privilege, and/or any other applicable
 3           privilege, immunity, or protection. Apple objects to this Request as overbroad
 4           and unduly burdensome to the extent it seeks information neither relevant to
             the issues in the present action nor reasonably calculated to lead to the
 5           discovery of admissible evidence. Apple objects to this Request as vague and
 6           ambiguous, including because Plaintiffs have not complied with Section
             2019.210, including with respect to their so-called “Business and Marketing
 7           Plans and Strategies,” and because it uses the undefined phrase “considering.”
 8           Apple objects to this Request on the grounds that it is overly broad and unduly
             burdensome because it requests “all documents and things” relating to the
 9           subject matter of the Request. Apple objects to this Request to the extent it is
10           duplicative and/or cumulative of Plaintiffs’ Request for Production Nos. 178-
             79, and 198.
11
                    Because Plaintiffs’ Section 2019.210 Statement, dated November 6,
12           2020, is deficient, including for reasons identified in Apple’s October 16,
13
             2020 letter, and the Court stayed Plaintiffs’ trade secret discovery pending
             compliance with Section 2019.210, Apple declines to respond to this Request
14           at this time. Within thirty days after Apple (or the Court) determines that
15
             Plaintiffs have provided an amended disclosure that complies with Section
             2019.210, Apple will amend its response to this Request, to the extent
16           necessary.
17           REQUEST FOR PRODUCTION NO. 200:
18                All documents and things that refer or relate to Apple’s business and
             marketing plans for products that calculate one or more physiological
19
             parameters.
20           RESPONSE TO REQUEST FOR PRODUCTION NO. 200:
21                 Apple incorporates by reference its General Objections and Objections
22           to Definitions and Instructions.
                    Apple objects to this Request to the extent it seeks documents and
23
             things protected from discovery by the attorney-client privilege, the work-
24           product doctrine, the common- interest privilege, and/or any other applicable
25
             privilege, immunity, or protection. Apple objects to this Request as overbroad
             and unduly burdensome to the extent it seeks information neither relevant to
26           the issues in the present action nor reasonably calculated to lead to the
27
             discovery of admissible evidence and is not limited to any relevant time
             period. In addition, Apple objects to this Request as vague and ambiguous,
28           including because Plaintiffs have not complied with Section 2019.210 and

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1            thus have not adequately identified what “business and marketing plans” they
 2
             are claiming as trade secrets. Apple objects to this Request on the grounds that
             it is overly broad and unduly burdensome because it requests “all documents
 3           and things” relating to the subject matter of the Request. Apple objects to this
 4           Request because it is seeks discovery related to Plaintiffs’ patent infringement
             allegations, which have been stayed by the Court.
 5
                    Subject to and without waiver of the foregoing General and Specific
 6           Objections and under the provisions of the Protective Order and ESI
             Stipulation entered in this case, in view of the Court’s October 14, 2020 Order
 7
             (Dkt. No. 220) granting Apple’s Motion to Stay, the issues related to
 8           Plaintiffs’ patent infringement allegations are moot and thus Apple declines
             to respond to this Request. Additionally, to the extent this Request seeks
 9
             documents related to trade secret discovery, because Plaintiffs’ Section
10           2019.210 Statement, dated November 6, 2020, is deficient, including for
11
             reasons identified in Apple’s October 16, 2020 letter, and the Court stayed
             Plaintiffs’ trade secret discovery pending compliance with Section 2019.210,
12           Apple declines to respond to this Request at this time.
13           REQUEST FOR PRODUCTION NO. 201:
14                 All documents and things that refer or relate to the value and
             importance of Apple’s business or marketing plans for products that calculate
15           one or more physiological parameters.
16           RESPONSE TO REQUEST FOR PRODUCTION NO. 201:
17                 Apple incorporates by reference its General Objections and Objections
18           to Definitions and Instructions.
                    Apple objects to this Request to the extent it seeks documents and
19
             things protected from discovery by the attorney-client privilege, the work-
20           product doctrine, the common- interest privilege, and/or any other applicable
             privilege, immunity, or protection. Apple objects to this Request as overbroad
21
             and unduly burdensome to the extent it seeks information neither relevant to
22           the issues in the present action nor reasonably calculated to lead to the
             discovery of admissible evidence and is not limited to any relevant time
23
             period. Apple objects to this Request as vague, ambiguous, overly broad, and
24           unduly burdensome, including because it uses the undefined phrase “value
25
             and importance.” In addition, Apple objects to this Request as vague and
             ambiguous, including because Plaintiffs have not complied with Section
26           2019.210 and thus have not adequately identified what “business and
27
             marketing plans” they are claiming as trade secrets. Apple objects to this
             Request on the grounds that it is overly broad and unduly burdensome because
28           it requests “all documents and things” relating to the subject matter of the

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1            Request. Apple objects to this Request as premature and unduly burdensome
 2
             because it calls for information that is appropriately the subject of expert
             discovery and subject to separate timing requirements per the Court’s
 3           Scheduling Order. Apple objects to this Request to the extent it is duplicative
 4           and/or cumulative of Plaintiffs’ Request for Production Nos. 199-200. Apple
             objects to this Request because it is seeks discovery related to Plaintiffs’
 5           patent infringement allegations, which have been stayed by the Court.
 6                  Subject to and without waiver of the foregoing General and Specific
             Objections and under the provisions of the Protective Order and ESI
 7
             Stipulation entered in this case,in view of the Court’s October 14, 2020 Order
 8           (Dkt. No. 220) granting Apple’s Motionto Stay, the issues related to Plaintiffs’
             patent infringement allegations are moot and thusApple declines to respond to
 9
             this Request. Additionally, to the extent this Request seeksdocuments related
10           to trade secret discovery, because Plaintiffs’ Section 2019.210 Statement,
11
             dated November 6, 2020, is deficient, including for reasons identified in
             Apple’s October 16, 2020 letter, and the Court stayed Plaintiffs’ trade secret
12           discovery pending compliance with Section 2019.210, Apple declines to
13
             respond to this Request at this time.
             REQUEST FOR PRODUCTION NO. 202:
14
                  Your past, present, and future business and marketing plans for the
15           Accused Products.
16           RESPONSE TO REQUEST FOR PRODUCTION NO. 202:
17                 Apple incorporates by reference its General Objections and Objections
18           to Definitions and Instructions.
                    Apple objects to this Request as overbroad and unduly burdensome to
19
             the extent it seeks information neither relevant to the issues in the present
20           action nor reasonably calculated to lead to the discovery of admissible
             evidence and is not limited to any relevant time period. Apple objects to this
21
             Request as vague, ambiguous, overly broad, and unduly burdensome because
22           it uses the undefined phrase “business and marketing plans.” Apple objects to
             this Request because it is seeks discovery related to Plaintiffs’ patent
23
             infringement allegations, which have been stayed by the Court.
24
                    Subject to and without waiver of the foregoing General and Specific
25           Objections and under the provisions of the Protective Order and ESI
             Stipulation entered in this case, in view of the Court’s October 14, 2020 Order
26
             (Dkt. No. 220) granting Apple’s Motion to Stay, the issues related to
27           Plaintiffs’ patent infringement allegations are moot and thus Apple declines
             to respond to this Request. Additionally, to the extent this Request seeks
28


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1            documents related to trade secret discovery, because Plaintiffs’ Section
 2
             2019.210 Statement, dated November 6, 2020, is deficient, including for
             reasons identified in Apple’s October 16, 2020 letter, and the Court stayed
 3           Plaintiffs’ trade secret discovery pending compliance with Section 2019.210,
 4           Apple declines to respond to this Request at this time.
             REQUEST FOR PRODUCTION NO. 203:
 5
                    All documents and things that refer or relate to Plaintiffs’ Strategies For
 6
             Interacting With Hospitals described under heading “E” of Plaintiffs’ Section
 7           2019.210 Statement, including any amendments.
 8           RESPONSE TO REQUEST FOR PRODUCTION NO. 203:
 9                 Apple incorporates by reference its General Objections and Objections
             to Definitions and Instructions.
10
                    Apple objects to this Request to the extent it seeks documents and
11           things protected from discovery by the attorney-client privilege, the work-
12
             product doctrine, the common- interest privilege, and/or any other applicable
             privilege, immunity, or protection. Apple objects to this Request as overbroad
13           and unduly burdensome to the extent it seeks information neither relevant to
14
             the issues in the present action nor reasonably calculated to lead to the
             discovery of admissible evidence. Apple objects to this Request as vague and
15           ambiguous, including because Plaintiffs have not complied with Section
16
             2019.210, including with respect to their so-called “Strategies For Interacting
             With Hospitals.” Apple objects to this Request on the grounds that it is overly
17           broad and unduly burdensome because it requests “all documents and things”
18           relating to the subject matter of the Request. Apple objects to this Request to
             the extent it is duplicative and/or cumulative of Plaintiffs’ Request for
19           Production Nos. 178-79.
20                  Because Plaintiffs’ Section 2019.210 Statement, dated November 6,
             2020, is deficient, including for reasons identified in Apple’s October 16,
21
             2020 letter, and the Court stayed Plaintiffs’ trade secret discovery pending
22           compliance with Section 2019.210, Apple declines to respond to this Request
             at this time. Within thirty days after Apple (or the Court) determines that
23
             Plaintiffs have provided an amended disclosure that complies with Section
24           2019.210, Apple will amend its response to this Request, to the extent
25
             necessary.
             REQUEST FOR PRODUCTION NO. 204:
26
                   All documents and things that refer or relate to Apple implementing or
27           considering any of the Strategies For Interacting With Hospitals described
28


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1            under heading“E” of Plaintiffs’ Section 2019.210 Statement, including any
 2
             amendments.
             RESPONSE TO REQUEST FOR PRODUCTION NO. 204:
 3
                   Apple incorporates by reference its General Objections and Objections
 4
             to Definitions and Instructions.
 5                  Apple objects to this Request to the extent it seeks documents and
 6           things protected from discovery by the attorney-client privilege, the work-
             product doctrine, the common- interest privilege, and/or any other applicable
 7           privilege, immunity, or protection. Apple objects to this Request as overbroad
 8           and unduly burdensome to the extent it seeks information neither relevant to
             the issues in the present action nor reasonably calculated to lead to the
 9           discovery of admissible evidence. Apple objects to this Request as vague and
10           ambiguous, including because Plaintiffs have not complied with Section
             2019.210, including with respect to their so-called “Strategies For Interacting
11           With Hospitals,” and because it uses the undefined phrase “considering.”
12           Apple objects to this Request on the grounds that it is overly broad and unduly
             burdensome because it requests “all documents and things” relating to the
13           subject matter of the Request. Apple objects to this Request to the extent it is
14           duplicative and/or cumulative of Plaintiffs’ Request for Production Nos. 178-
             79, and 203.
15
                    Because Plaintiffs’ Section 2019.210 Statement, dated November 6,
16           2020, is deficient, including for reasons identified in Apple’s October 16,
17           2020 letter, and the Court stayed Plaintiffs’ trade secret discovery pending
             compliance with Section 2019.210, Apple declines to respond to this Request
18           at this time. Within thirty days after Apple (or the Court) determines that
19           Plaintiffs have provided an amended disclosure that complies with Section
             2019.210, Apple will amend its response to this Request, to the extent
20           necessary.
21           REQUEST FOR PRODUCTION NO. 205:
22                 All documents and things that refer or relate to Apple implementing or
             considering any strategy for
23
             RESPONSE TO REQUEST FOR PRODUCTION NO. 205:
24
                   Apple incorporates by reference its General Objections and Objections
25           to Definitions and Instructions.
26                  Apple objects to this Request to the extent it seeks documents and
27           things protected from discovery by the attorney-client privilege, the work-
             product doctrine, the common- interest privilege, and/or any other applicable
28           privilege, immunity, or protection. Apple objects to this Request as overbroad

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1            and unduly burdensome to the extent it seeks information neither relevant to
 2
             the issues in the present action nor reasonably calculated to lead to the
             discovery of admissible evidence and is not limited to any relevant time
 3           period. Apple objects to this Request as vague, ambiguous, overly broad, and
 4           unduly burdensome, including because it uses the undefined phrase
             “considering.” In addition, Apple objects to this Request as vague and
 5           ambiguous, including because Plaintiffs have not complied with Section
 6           2019.210 and thus have not adequately identified what
                                                         they are claiming as trade secrets.
 7           Apple objects to this Request on the grounds that it is overly broad and unduly
 8           burdensome because it requests “all documents and things” relating to the
             subject matter of the Request.
 9
                    Because Plaintiffs’ Section 2019.210 Statement, dated November 6,
10           2020, is deficient, including for reasons identified in Apple’s October 16,
11
             2020 letter, and the Court stayed Plaintiffs’ trade secret discovery pending
             compliance with Section 2019.210, Apple declines to respond to this Request
12           at this time. Within thirty days after Apple (or the Court) determines that
13
             Plaintiffs have provided an amended disclosure that complies with Section
             2019.210, Apple will amend its response to this Request, to the extent
14           necessary.
15           REQUEST FOR PRODUCTION NO. 206:
16                 All documents and things that refer or relate to the value and
             importance of any
17
             RESPONSE TO REQUEST FOR PRODUCTION NO. 206:
18
                   Apple incorporates by reference its General Objections and Objections
19           to Definitions and Instructions.
20                  Apple objects to this Request to the extent it seeks documents and
             things protected from discovery by the attorney-client privilege, the work-
21
             product doctrine, the common- interest privilege, and/or any other applicable
22           privilege, immunity, or protection. Apple objects to this Request as overbroad
             and unduly burdensome to the extent it seeks information neither relevant to
23
             the issues in the present action nor reasonably calculated to lead to the
24           discovery of admissible evidence and is not limited to any relevant time
25
             period. Apple objects to this Request as vague, ambiguous, overly broad, and
             unduly burdensome, including because it uses the undefined phrase “value
26           and importance.” In addition, Apple objects to this Request as vague and
27
             ambiguous, including because Plaintiffs have not complied with Section
             2019.210 and thus have not adequately identified what
28                                                       they are claiming as trade secrets.

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1            Apple objects to this Request on the grounds that it is overly broad and unduly
 2
             burdensome because it requests “all documents and things” relating to the
             subject matter of the Request. Apple objects to this Request as premature and
 3           unduly burdensome because it calls for information that is appropriately the
 4           subject of expert discovery and subject to separate timing requirements per
             the Court’s Scheduling Order. Apple objects to this Request to the extent it is
 5           duplicative and/or cumulative of Plaintiffs’ Request for Production Nos. 204-
 6           05.
                    Because Plaintiffs’ Section 2019.210 Statement, dated November 6,
 7
             2020, is deficient, including for reasons identified in Apple’s October 16,
 8           2020 letter, and the Court stayed Plaintiffs’ trade secret discovery pending
             compliance with Section 2019.210, Apple declines to respond to this Request
 9
             at this time. Within thirty days after Apple (or the Court) determines that
10           Plaintiffs have provided an amended disclosure that complies with Section
11
             2019.210, Apple will amend its response to this Request, to the extent
             necessary.
12
       A.    Plaintiffs’ Position
13
             These requests seek technical information similar to the information at issue in
14
       Plaintiffs’ first motion to compel. RFPs 180, 187, 192, 198, 199, 203, and 204, seek
15
       documents about the specific trade secrets identified in Plaintiffs’ Section 2019.210
16
       statement. RFPs 200-202 and 205-206 seek similar information without referring to the
17
       Section 2019.210 disclosure. The requested documents are thus directly relevant to
18
       Plaintiffs’ trade secrets at issue in this case. The RFPs are proportional to the needs of the
19
       case for the same reasons discussed above. Among other things, these RFPs seek relevant
20
       information, the amount in controversy is high, and Apple cannot claim it lacks resources
21
       to search because it is the most valuable public company on earth.
22
             Plaintiffs did not include these RFPs in the first motion to compel because Apple
23
       appeared to have agreed to produce responsive documents. See Ex. 25 at 3. Because Apple
24
       “use[d] different language than the RFP,” Plaintiffs asked Apple to confirm it was agreeing
25
       to produce responsive documents. Id. On April 11 (after Plaintiffs served the first motion
26
       to compel and followed up on April 7), Apple responded by stating it “does not agree to
27
       produce all documents responsive to [these RFPs].” Ex. 27 at 5-6. Apple newly argued
28


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1      the RFPs were “over[ly]broad and unduly burdensome to the extent it seeks documents
 2     that are not relevant to the claims or defenses in this case nor proportional to the needs of
 3     this case.” Id. Apple then repeated its prior limitation for each RFP without explaining
 4     what exactly it was withholding. Id.
 5           As discussed, the Court need not consider Apple’s “general or boilerplate
 6     objections.” Nguyen, 2019 WL 4579259, at *3. Because Apple has not identified any
 7     valid objection, it cannot limit its commitment to produce documents. See Kilroy, 2018
 8     WL 6071089, at *1. Apple’s specific limitations also each lack merit. For RFPs 180, 187,
 9     191, 192, and 197 Apple limits its production to documents that “relate” (instead of “refer
10     or relate”) to the “development and implementation” of the each trade secret “in connection
11     with the Apple products accused of incorporating Plaintiffs’ alleged trade secrets . . . .”
12     Ex. 27 at 5-6. Apple does not attempt to justify those limitations. As discussed, Apple
13     may be liable for trade secret misappropriation if it considered using Plaintiffs’ trade
14     secrets but did not implement them in any product. See PMC, 78 Cal. App. 4th at 1383;
15     SkinMedica, 869 F. Supp. 2d at 1197. Likewise, Apple is liable even if it incorporated
16     Plaintiffs’ trade secrets in other products not currently accused of misappropriating
17     Plaintiffs’ trade secrets.   Apple should not be permitted to conceal evidence of its
18     misappropriation just because Plaintiffs do not yet know of a particular act of
19     misappropriation. See Perlan Therapeutics, 178 Cal. App. 4th at 1333.
20           Moreover, Apple again appears to be limiting its commitment to only documents
21     that Apple believes would show misappropriation. For example, Apple appears to be
22     suggesting it will produce no documents responsive to RFP 180 if Apple believes it has not
23     implemented Plaintiffs’                                         trade secrets in the Apple
24     Watch. Apple cannot refuse to produce responsive documents just because it disagrees
25     with Plaintiffs’ claims on the merits. See Carrizosa, 2006 WL 1581953, at *2 (explaining
26     “the propriety of discovery does not turn on one party’s belief that the claims are without
27     merit”); Manzo, 2019 WL 2866047, at *2; Elkin, 2017 WL 4047235, at *2. Indeed, Apple
28


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1      can still be liable if it “unlawfully acquired and then built upon or modified [the trade
 2     secret] before being disclosed or benefit derived.” SkinMedica, 869 F. Supp. 2d at 1197.
 3           For RFPs 198-206, Apple agrees to produce documents that (1) “relate to the Apple
 4     products accused of incorporating Plaintiffs’ alleged trade secrets” and (2) “with a date
 5     limitation of July 22, 2013, the date on which Apple hired Michael O’Reilly.” Ex. 27 at 6.
 6     The first limitation makes no sense because the trade secrets at issue in RFPs 198-206 are
 7     a business and marketing trade secrets—not a technical trade secret that can be
 8     “incorporated” into a product. Apple cannot withhold responsive documents about the
 9     business and marketing trade secrets merely because Apple’s use of those trade secrets
10     does not relate to the Apple Watch. The second limitation is also inappropriate because
11     discovery prior to O’Reilly’s arrival is important to show changes that Apple made when
12     O’Reilly arrived. Indeed, Plaintiffs allege “after O’Reilly arrived at Apple, Apple has
13     shifted its business to pursue the same business and marketing plans and strategies that
14     O’Reilly discussed and was exposed to at Plaintiffs.” Ex. 28 ¶ 247; see also id. ¶ 253 (same
15     for the strategies for interacting with hospitals).
16           Accordingly, Apple has not shown why discovery should be limited. The Court
17     should overrule Apple’s objections and order Apple to produce all responsive documents.
18     B.    Apple’s Position16
19           1.     RFPs 180, 187, 192, 198–201, and 203-206 Are Not Relevant or
20                  Proportional Because They Are Not Limited to the Apple Watch
21           Plaintiffs argue that these RFPs “seek technical information similar to the
22     information at issue in Plaintiffs’ first motion to compel,” asserting that all of this
23     information is relevant to their trade secrets. J.S. 118. But Plaintiffs’ requests must relate
24

25     16
          Plaintiffs served Apple with their portion of this Joint Stipulation before Apple had an
26     opportunity to finalize its position with respect to certain of the RFPs now at issue in this
       Joint Stipulation. Accordingly, on further reflection after Plaintiffs served their portion of
27     this Joint Stipulation, Apple agreed to produce documents responsive to RFPs 191, 197,
28     and 202, and therefore RFPs 191, 197, and 202 are not at issue on this motion.


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1      not to their alleged trade secrets in a vacuum, but instead must be relevant in the context
 2     of the specific trade secret misappropriation allegations in their complaint against Apple.17
 3     See, e.g., Valenzuela v. City of Calexico, 2015 WL 926149, at *4 (S.D. Cal. Mar. 4, 2015)
 4     (in a false arrest case, “limit[ing] the scope of discovery to the allegations, claims, and
 5     defenses present in the complaint”); cf. Star Envirotech, Inc. v. Redline Detection, LLC,
 6     2015 WL 12745086, at *6 (C.D. Cal. Feb. 27, 2015) (in a patent case, granting discovery
 7     into products that plaintiff alleged infringed its patent because “those allegations frame the
 8     scope of discovery”); Soc. Apps, LLC v. Zynga, Inc., 2012 WL 2203063, at *2 (N.D. Cal.
 9     June 14, 2012) (“[S]ection 2019.210 . . . limits the scope of discovery in much the same
10     way as the allegations of a complaint limit discovery in other types of civil actions”
11     (emphasis added) (quoting Advanced Modular Sputtering, Inc. v. Superior Ct., 132 Cal.
12     App. 4th 826, 835 (2005))). Plaintiffs’ RFPs fail this requirement because Plaintiffs’
13     allegations for each of their categories of alleged trade secrets are directed solely against
14     the Apple Watch, but their RFPs are not so limited.
15           For example, Plaintiffs’ RFPs 180, 187, 192, 198, 199, 203, and 204 seek all
16     “documents and things that refer or relate to” the
17                                                                         Plaintiffs’ Business and
18     Marketing Plans and Strategies, and Plaintiffs’ Strategies For Interacting With Hospitals
19     categories of alleged trade secrets, respectively. J.S. 107–11, 115.18 RFPs 200 and 201 are
20     not even tied to Plaintiffs’ alleged trade secrets, but instead seek broad discovery into any
21     “products that calculate one or more physiological parameters,” id. at 112–13, a term that
22     is so broad that it would encompass functionality that has no connection to this case, see
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         RFPs 198–206 do not even seek technical information; instead, these requests seek
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       business and marketing information.
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         RFP 199 appears to be seeking a subset of documents that would be responsive to RFP
27     198, and is thus duplicative. Accordingly, Plaintiffs’ motion with respect to RFP 199
28     should be denied for this independent reason.


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1      Section III.B.1, supra, & Section IX.B.2, infra. Finally, RFPs 205 and 206 are not limited
 2     to any products or any alleged trade secrets at issue in this case. J.S. 116–17. Thus, none
 3     of these RFPs are limited to the Apple Watch, which is the sole focus of Plaintiffs’
 4     allegations in the Fourth Amended Complaint concerning each of their categories of
 5     alleged trade secrets:
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 9                                     Apple had Lamego work on the Apple Watch project
10           and tasked him with producing key intellectual property related to bio-sensing,
11           defining required resources for current and future bio-sensing functionalities,
12           proposing and reviewing hardware and algorithm architectures, and advising
13           Apple’s team regarding bio-sensing functionalities.
14     Plaintiffs’ Ex. 28, at 439–40 (¶ 236) (emphasis added).
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26     Id. at 441 (¶ 238) (emphasis added); see also id. at 441–43 (¶¶ 239–240) (including pictures
27     of and allegations directed to the Apple Watch); id. at 443 (¶ 241) (alleging that “
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1      discovery into non-accused products, are instructive.          For example, in MedImpact
 2     Healthcare Sys., Inc. v. IQVIA Inc., the Southern District refused to compel production
 3     where “Plaintiffs’ RFPs would require Defendants to produce documents on products not
 4     at issue in this case” because Plaintiffs’ complaint “confirm[ed] that this case is about . . .
 5     ‘PBM’[] products offered by IQVIA,” but “Plaintiffs’ RFPs, however, are not limited to
 6     PBM products.” 2021 WL 719649, at *2 (S.D. Cal. Feb. 24, 2021). Other courts have
 7     reached the same conclusion in similar circumstances. See, e.g., Outlaw Labs., 2020 WL
 8     4436364, at *5 (holding RFP overbroad where it “include[ed], but [was] not limited to”
 9     accused products); cf. Mediatek, Inc. v. Freescale Semiconductor, Inc., 2013 WL 588760
10     (N.D. Cal. Feb. 13, 2013) (denying motion to compel discovery related to products that
11     were not specifically identified as accused products in the plaintiff’s preliminary
12     infringement contentions); Icon-IP Pty Ltd. v. Specialized Bike Components, Inc., 2014
13     WL 4593338, at *3 (N.D. Cal. Sept. 15, 2014) (denying discovery on “all” saddles and
14     holding that “if Icon seeks discovery as to the unaccused saddles, it must first amend its
15     infringement contentions to include such models before it is entitled to discovery of
16     them.”). The same principles apply here, where the only product accused by Plaintiffs of
17     incorporating their alleged trade secrets is the Apple Watch.
18           Because all of Plaintiffs’ accusations of trade secret misappropriation are solely
19     directed at the Apple Watch, Plaintiffs’ RFPs 180, 187, 192, 198–201, and 203–206 should
20     be limited to the Apple Watch.
21           2.     RFPs 200–201 and 203–206 Are Not Relevant or Proportional Because
22                  They Are Not Limited to Plaintiffs’ Alleged Trade Secrets
23           Plaintiffs’ RFPs 200 and 201 are also overbroad for the related reason that they seek
24     “marketing and business” information on all products that “calculate[e] one or more
25     physiological parameters”—a term that, as Plaintiffs are using it, goes far beyond the issues
26     in this case. This term would, for example, include the Apple Watch’s electrocardiogram
27     (ECG) functionality because the timing and strength of a person’s heartbeat plainly
28     qualifies as a “physiological parameter,” even though, as explained above, see Section

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1      III.B.2, this functionality is unrelated to any of Plaintiffs’ alleged trade secrets. As another
 2     example, Plaintiffs’ use of the term “physiological parameter” would encompass the
 3     accelerometer functionality in the Apple Watch that is used to determine whether a person
 4     is moving (a physiological parameter), even though that functionality also has nothing to
 5     do with any issues in this case (as Plaintiffs themselves have conceded during meet and
 6     confers). This broad term would even cover the iPhone’s Face ID functionality, which has
 7     absolutely no connection to anything in this case. Rule 26 does not permit Plaintiffs such
 8     expansive discovery into every unrelated facet of Apple’s technology.
 9           RFPs 201 and 202. RFP 201 seeks “[a]ll documents and things that refer or relate
10     to the value and importance of Apple’s business or marketing plans.” J.S. 113 (emphasis
11     added). RFP 202 seeks all “past, present, and future business and marketing plans for the
12     Accused Products.” id. at 114 (emphasis added). But Plaintiffs’ alleged business and
13     marketing trade secrets concern “the value and importance” of Plaintiffs’ allegedly secret
14     business and marketing plans—not “the value and importance” of Apple’s plans—and
15     discovery into Apple’s plans that are not in any way related to Plaintiffs alleged trade
16     secrets therefore is irrelevant. Indeed, RFP 202 is so broad that it would cover Apple’s
17     marketing partnerships with Nike and various gyms in connection with the fitness app on
18     the Apple Watch, as well as marketing related to the iPhone, which is included in Plaintiffs’
19     definition of “Accused Products.” None of these business and marketing plans have
20     anything to do with “
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22                                     ,” Plaintiffs’ Ex. 28, 372 (¶ 43.1), which is the focus of
23     Plaintiffs’ alleged business and marketing trade secrets.
24           RFPs 203-206. Plaintiffs’ RFPs 203–206 also are unrelated to the alleged trade
25     secrets in this case because they concern hospital interaction “secrets” that this Court just
26     dismissed with prejudice because they were “legally incapable of constituting trade
27     secrets.” Samplin Decl. Ex. H, at 151 (Order at 11). In fact, the only one of Plaintiffs’
28     purported hospital interaction strategies that survived dismissal was “

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 2                                                             ” Id. at 146 (Order at 6); Plaintiffs’
 3     Ex. 28, at 374 (¶ 44.5). The Court noted that this alleged trade secret survived dismissal
 4     in part because it incorporates the now-dismissed “secret” 44.4. Samplin Decl. Ex. H, at
 5     146 (Order at 6 n.1). Thus, the only surviving alleged hospital interaction trade secret
 6     specifically requires “
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12     Plaintiffs’ Ex. 28, at 374 (¶ 44.4–44.5). Yet, none of these RFPs are limited to this alleged
13     trade secret. Indeed, RFPs 205–206 seek information on “any
14                                    ” J.S. 116–17 (emphasis added), which is facially far broader
15     than the single alleged hospital interaction trade secret that remains in this case.
16           These RFPs go far beyond the boundaries of Plaintiffs’ alleged trade secrets, and are
17     thus not relevant or proportional to the issues in this case. Accordingly, Plaintiffs’ motion
18     with respect to these RFPs should be denied.
19           3.     Plaintiffs’ Arguments to the Contrary Lack Merit
20           Plaintiffs assert that these RFPs “seek technical information” that is “relevant to
21     Plaintiffs’ [alleged] trade secrets at issue in this case.” J.S. 118. But, as explained above,
22     many of these RFPs are untethered to Plaintiffs’ alleged trade secrets (and many of these
23     RFPs seek marketing information, not technical information).
24           Plaintiffs accuse Apple of responding with “general or boilerplate objections” and
25     “repeat[ing] its prior limitation for each RFP without explaining what exactly it was
26     withholding.” Id. at 118–19 (citing Plaintiffs’ Ex. 27, at 5–6 (351–52)). But Plaintiffs’
27     own exhibit contradicts that accusation, because Apple expressly informed Plaintiffs’ that
28     it “agrees to produce all documents and things that relate” to their alleged trade secrets “in

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1      connection with the Apple products accused of incorporating Plaintiffs’ alleged trade
 2     secrets.” Plaintiffs’ Ex. 27, at 351–52; see also Plaintiffs’ Ex. 24, at 329–31. In other
 3     words, Apple was clear that it objected to producing documents that were unrelated to
 4     Plaintiffs’ alleged trade secrets or unrelated to the Apple Watch. There is nothing general
 5     or boilerplate about that objection.
 6           Plaintiffs next argue that “Apple may be liable for trade secret misappropriation if it
 7     considered using Plaintiffs’ trade secrets but did not implement them in any product.” J.S.
 8     119. But this argument is a straw man—Apple’s objection to these RFPs is not about the
 9     difference between actual implementation and consideration of implementation. Instead,
10     Apple is objecting because Plaintiffs’ requests are not limited to their alleged trade secrets
11     and the product (the Apple Watch) that Plaintiffs have alleged incorporates those alleged
12     trade secrets.
13           Unable to refute that their RFPs should be limited to the sole accused product in this
14     case, Plaintiffs again argue that Apple’s objections concern the merits of their allegations.
15     Id. at 119. As explained above, however, Apple’s objection is not about the merits of
16     Plaintiffs’ claim, but the overbreadth of their discovery requests that go beyond their
17     alleged trade secrets and their accusations directed at the Apple Watch. And, as likewise
18     explained above, Plaintiffs’ reliance on SkinMedica, Inc. v. Histogen Inc. to argue that
19     Apple may be liable for “unlawfully acquir[ing] and then buil[ding] upon or modif[ying]”
20     their alleged trade secrets, J.S. 119–20 (quoting 869 F. Supp. 2d 1176, 1197 (S.D. Cal. Apr.
21     23, 2012)), is misplaced. SkinMedica merely rejected an argument that a defendant must
22     use every element of a trade secret before being liable for misappropriation. 869 F. Supp.
23     2d at 1197. Nothing in SkinMedica suggests that Plaintiffs’ requests could go completely
24     beyond their alleged trade secrets and the accused Apple Watch and obtain broad discovery
25     into unrelated functionality and products not at issue in this case.
26           Plaintiffs’ last argument is that RFPs 198–201 and 203-206 should not be limited to
27     the Apple Watch “because the trade secrets at issue in [those RFPs] are a [sic] business and
28     marketing trade secrets—not a technical trade secret that can be ‘incorporated’ into a

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1      product.” J.S. 120. But, as explained above, Plaintiffs’ allegations in the Fourth Amended
 2     Complaint concerning each of Plaintiffs’ alleged “business and marketing” trade secrets
 3     are directed solely at the Apple Watch. See Section IX.B.1. Thus, Plaintiffs’ argument
 4     lack merit.
 5           In sum, these RFPs are not relevant or proportional to the issued in this case, and
 6     Plaintiffs’ motion with respect to these RFPs should be denied.
 7                            [remainder of page left intentionally blank]
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